                                                                       EXHIBIT B
                              1
                                                 (Redline Comparison of May 22 Plan and Draft June 3 Plan)
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15

16                                    UNITED STATES BANKRUPTCY COURT
                                      NORTHERN DISTRICT OF CALIFORNIA
17                                         SAN FRANCISCO DIVISION

18
                                                             Bankruptcy Case
19   In re:                                                  No. 19-30088 (DM)

20   PG&E CORPORATION,                                       Chapter 11

21            - and -                                        (Lead Case)
                                                             (Jointly Administered)
22   PACIFIC GAS AND ELECTRIC COMPANY,
                                                             DEBTORS’ AND SHAREHOLDER
23                                    Debtors.               PROPONENTS’ DRAFT JOINT CHAPTER 11
                                                             PLAN OF REORGANIZATION DATED MAY
24    Affects PG&E Corporation                              22JUNE 3, 2020
      Affects Pacific Gas and Electric Company
25    Affects both Debtors
     * All papers shall be filed in the Lead Case, No. 19-
26   30088 (DM).

27

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1           PG&E Corporation and Pacific Gas and Electric Company, the above-captioned debtors and
     debtors in possession, certain funds and accounts managed or advised by Abrams Capital
2    Management, L.P., and certain funds and accounts managed or advised by Knighthead Capital
     Management, LLC (together, the “Shareholder Proponents,” and, collectively with the Debtors,
3    the “Plan Proponents”), as plan proponents within the meaning of section 1129 of the Bankruptcy
4    Code, propose the following joint chapter 11 plan of reorganization pursuant to section 1121(a) of
     the Bankruptcy Code.1 Capitalized terms used but not defined herein shall have the meanings
5    ascribed to such terms in Article I of the Plan.

6                                               ARTICLE I.

7                       DEFINITIONS, INTERPRETATION AND CONSENTS
8           DEFINITIONS. The following terms used herein shall have the respective meanings defined
9    below (such meanings to be equally applicable to both the singular and plural):

10                  1.1    2001 Utility Exchange Claim means any Claim against the Utility arising
            solely from (a) amounts due to the CAISO, PX, and/or various market participants based on
11          purchases or sales of electricity, capacity, or ancillary services by the Utility and other
            market participants in markets operated by the CAISO and the PX that are subject to
12          determination by FERC in refund proceedings bearing FERC Docket Nos. EL00-95-000 and
13          EL00-98-000 and related subdockets, and (b) amounts due under any settlement agreements,
            allocation agreements, escrow agreements, letter agreements, other written agreements, or
14          court orders (including orders entered in the chapter 11 case styled In re California Power
            Exchange Corporation, Case No. LA 01-16577 ES) that expressly relate thereto.
15
                    1.2    503(b)(9) Claim means a Claim against a Debtor or any portion thereof
16          entitled to administrative expense priority pursuant to section 503(b)(9) of the Bankruptcy
            Code, which Claim was timely filed and Allowed pursuant to the 503(b)(9) Procedures
17
            Order.
18
                    1.3     503(b)(9) Procedures Order means the Amended Order Pursuant to 11
19          U.S.C. §§ 503(b)(9) and 105(a) Establishing Procedures for the Assertion, Resolution, and
            Satisfaction of Claims Asserted Pursuant to 11 U.S.C. § 503(b)(9) [Docket No. 725].
20
                   1.4     Administrative Expense Claim means any cost or expense of administration
21          of any of the Chapter 11 Cases arising on or before the Effective Date that is allowable under
22          section 503(b) of the Bankruptcy Code and entitled to priority under sections 364(c)(1),
            503(b) (including 503(b)(9) Claims), 503(c), 507(a)(2), 507(b), or 1114(e)(2) of the
23          Bankruptcy Code that has not already been paid, including, (a) any actual and necessary
            costs and expenses of preserving the Debtors’ estates, any actual and necessary costs and
24
     1
       The Plan and the Plan Supplement may be amended or supplemented, as necessary, to include
25   relevant information contained in the submissions made by the Utility in connection with the
26   proceeding regarding the Plan currently pending before the CPUC (Investigation (I).19-09-016),
     including but not limited to certain governance-related commitments.
27

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1        expenses of operating the Debtors’ businesses, any indebtedness or obligations incurred or
         assumed by one or more of the Debtors, as a debtor in possession, during the Chapter 11
2        Cases, including, for the acquisition or lease of property or an interest in property or the
         performance of services, or any fees or charges assessed against the estates of the Debtors
3        under section 1930 of chapter 123 of title 28 of the United States Code, (b) any DIP Facility
4        Claim, (c) any Professional Fee Claim, and (d) any Intercompany Claim authorized pursuant
         to the Cash Management Order.
5
                 1.5     Aggregate Backstop Commitment Amount means the aggregate amount of
6        all backstop commitments, if any, under all Backstop Commitment Letters; provided,
         however, that if the backstop commitments under all Backstop Commitment Letters shall be
7        $0, then all consent and other rights hereunder shall no longer apply.
8                1.6     Aggregate Fire Victim Consideration means the aggregate consideration
9        used to fund the Fire Victim Trust of (a) $5.4 billion in cash to be contributed on the
         Effective Date, (b) $1.35 billion consisting of (i) $650 million to be paid in cash on or before
10       January 15, 2021 pursuant to the Tax Benefits Payment Agreement, and (ii) $700 million to
         be paid in cash on or before January 15, 2022 pursuant to the Tax Benefits Payment
11       Agreement; (c) $6.75 billion in New HoldCo Common Stock (issued at Fire Victim Equity
         Value), which shall not be less than 20.9% of the New HoldCo Common Stock based on the
12       number of fully diluted shares of Reorganized HoldCo (calculated using the treasury stock
13       method (using an Effective Date equity value equal to Fire Victim Equity Value)) that will
         be outstanding as of the Effective Date (assuming all equity offerings and all other equity
14       transactions specified in the Plan, including without limitation, equity issuable upon the
         exercise of any rights or the conversion or exchange of or for any other securities, are
15       consummated and settled on the Effective Date, but excluding any future equity issuance not
         specified by the Plan) assuming the Utility’s allowed return on equity as of the date of the
16
         Tort Claimants RSA and reasonable registration rights consistent with the recommendations
17       of the Debtors’ equity underwriter and tax rules and regulations; (d) the assignment by the
         Debtors and Reorganized Debtors to the Fire Victim Trust of the Assigned Rights and
18       Causes of Action; and (e) assignment of rights, other than the rights of the Debtors to be
         reimbursed under the 2015 Insurance Policies for claims submitted to and paid by the
19       Debtors prior to the Petition Date, under the 2015 Insurance Policies to resolve any claims
         related to Fires in those policy years. For the avoidance of doubt, the Aggregate Fire Victim
20
         Consideration shall not include any amounts for the Public Entities Settlement which shall be
21       satisfied from other Plan financing sources but not from the Aggregate Fire Victim
         Consideration.
22
                 1.7    Allowed means, with reference to any Claim against a Debtor or Interest: (a)
23       any Claim listed in the Debtors’ Schedules, as such Schedules may be amended from time to
         time in accordance with Bankruptcy Rule 1009, as liquidated, non-contingent, and
24       undisputed, and for which no contrary proof of Claim has been filed; (b) any Claim or
25       Interest expressly allowed hereunder; (c) any Claim (other than a Subrogation Wildfire
         Claim) or Interest to which a Debtor and the holder of such Claim or Interest agree to the
26       amount and priority of the Claim or Interest, which agreement is approved by a Final Order;

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1        (d) any individual Subrogation Wildfire Claim (not held by a Consenting Creditor or a party
         to the Subrogation Wildfire Claim Allocation Agreement) to which the Subrogation Wildfire
2        Trustee and the holder of such Claim agree to the amount of such Claim; (e) any Claim or
         Interest that is compromised, settled or otherwise resolved or Allowed pursuant to a Final
3        Order (including any omnibus or procedural Final Order relating to the compromise,
4        settlement, resolution, or allowance of any Claims) or under the Plan; or (f) any Claim or
         Interest arising on or before the Effective Date as to which no objection to allowance has
5        been interposed within the time period set forth in the Plan; provided, that notwithstanding
         the foregoing, unless expressly waived by the Plan, the Allowed amount of Claims or
6        Interests shall be subject to, and shall not exceed the limitations or maximum amounts
         permitted by, the Bankruptcy Code, including sections 502 or 503 of the Bankruptcy Code,
7        to the extent applicable. The Reorganized Debtors shall retain all Claims and defenses with
8        respect to Allowed Claims that are Reinstated or otherwise Unimpaired under the Plan.

9                1.8     Assigned Rights and Causes of Action means any and all rights, claims,
         causes of action, and defenses related thereto relating directly or indirectly to any of the Fires
10       that the Debtors may have against vendors, suppliers, third party contractors and consultants
         (including those who provided services regarding the Debtors’ electrical system, system
11       equipment, inspection and maintenance of the system, and vegetation management), former
         directors and officers of the Debtors solely to the extent of any directors and officers’ Side B
12
         Insurance Coverage, and others as mutually agreed upon by the Plan Proponents and
13       identified in the Schedule of Assigned Rights and Causes of Action.

14              1.9     Avoidance Action means any action commenced, or that may be commenced,
         before or after the Effective Date pursuant to chapter 5 of the Bankruptcy Code including
15       sections 544, 545, 547, 548, 549, 550, or 551 of the Bankruptcy Code.
16               1.10 Backstop Approval Order means an order of the Bankruptcy Court,
17       approving the Backstop Commitment Letters, which order shall be in form and substance
         satisfactory to the Debtors and the Backstop Parties.
18
                1.11 Backstop Commitment Letters means those certain letter agreements, as
19       may be amended or modified from time to time in accordance with the terms thereof and the
         Backstop Approval Order, pursuant to which the Backstop Parties have agreed to purchase
20       shares of New HoldCo Common Stock on the terms and subject to the conditions thereof.
21            1.12 Backstop Parties means the parties that have agreed to purchase shares of
22       New HoldCo Common Stock on the terms and subject to the conditions of the Backstop
         Commitment Letters and the Backstop Approval Order.
23
                 1.13 Ballot means the form(s) distributed to holders of impaired Claims or
24       Interests on which the acceptance or rejection of the Plan is to be indicated.
25              1.14 Bankruptcy Code means title 11 of the United States Code, as applicable to
         the Chapter 11 Cases.
26
27

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1                1.15 Bankruptcy Court means the United States Bankruptcy Court for the
         Northern District of California, having subject matter jurisdiction over the Chapter 11 Cases
2        and, to the extent of any reference withdrawal made under section 157(d) of title 28 of the
         United States Code, the District Court.
3
                1.16 Bankruptcy Rules means the Federal Rules of Bankruptcy Procedure as
4
         promulgated by the United States Supreme Court under section 2075 of title 28 of the United
5        States Code, applicable to the Chapter 11 Cases, and any Local Rules of the Bankruptcy
         Court.
6
                1.17 Business Day means any day other than a Saturday, a Sunday, or any other
7        day on which banking institutions in New York, New York are required or authorized to
         close by law or executive order.
8
                 1.18   CAISO means the California Independent System Operator Corporation.
9

10               1.19   Cash means legal tender of the United States of America.

11              1.20 Cash Management Order means the Final Order Pursuant to 11 U.S.C. §§
         105(a), 345(b), 363(b), and 363(c), and Fed. R. Bankr. P.6003 and 6004 (i) Authorizing
12       Debtors to (a) Continue Their Existing Cash Management System, (b) Honor Certain
         Prepetition Obligations Related to the Use Thereof, (c) Continue Intercompany
13       Arrangements, (d) Continue to Honor Obligations Related to Joint Infrastructure Projects,
         and (e) Maintain Existing Bank Accounts and Business Forms; and (ii) Waiving the
14
         Requirements of 11 U.S.C. § 345(b), dated March 13, 2019 [Docket No. 881].
15
                 1.21 Cause of Action means, without limitation, any and all actions, class actions,
16       proceedings, causes of action, controversies, liabilities, obligations, rights, rights of setoff,
         recoupment rights, suits, damages, judgments, accounts, defenses, offsets, powers,
17       privileges, licenses, franchises, Claims, Avoidance Actions, counterclaims, cross-claims,
         affirmative defenses, third-party claims, Liens, indemnity, contribution, guaranty, and
18
         demands of any kind or character whatsoever, whether known or unknown, asserted or
19       unasserted, reduced to judgment or otherwise, liquidated or unliquidated, fixed or contingent,
         matured or unmatured, disputed or undisputed, suspected or unsuspected, foreseen or
20       unforeseen, direct or indirect, choate or inchoate, secured or unsecured, assertable directly or
         derivatively, existing or hereafter arising, in contract or in tort, in law, in equity, or
21       otherwise, whether arising under the Bankruptcy Code or any applicable nonbankruptcy law,
         based in whole or in part upon any act or omission or other event occurring on or prior to the
22
         Petition Date or during the course of the Chapter 11 Cases, including through the Effective
23       Date. Without limiting the generality of the foregoing, when referring to Causes of Action of
         the Debtors or their estates, Causes of Action shall include (a) all rights of setoff,
24       counterclaim, or recoupment and Claims for breach of contracts or for breaches of duties
         imposed by law or equity; (b) the right to object to any Claim or Interest; (c) Claims
25       (including Avoidance Actions) pursuant to section 362 and chapter 5 of the Bankruptcy
         Code, including sections 510, 542, 543, 544 through 550, or 553; (d) Claims and defenses
26
         such as fraud, mistake, duress, usury, and any other defenses set forth in section 558 of the
27

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1        Bankruptcy Code; and (e) any Claims under any state or foreign law, including any
         fraudulent transfer or similar claims.
2
                1.22 Channeling Injunction means the permanent injunction provided for in
3        Section 10.7 of the Plan with respect to Fire Claims to be issued pursuant to, and included in,
         the Confirmation Order.
4
5               1.23 Chapter 11 Cases means the jointly administered cases under chapter 11 of
         the Bankruptcy Code commenced by the Debtors on the Petition Date in the Bankruptcy
6        Court and currently styled In re PG&E Corporation and Pacific Gas and Electric Company,
         Ch. 11 Case No. 19-30088 (DM) (Jointly Administered).
7
                1.24 Charging Lien means any Lien or other priority in payment to which a
8        Funded Debt Trustee is entitled pursuant to the applicable Funded Debt Documents or any
         equivalent indemnification or reimbursement rights arising under the applicable Funded Debt
9
         Documents.
10
                 1.25   Claim has the meaning set forth in section 101(5) of the Bankruptcy Code.
11
                1.26 Claims Resolution Procedures means, collectively, the Fire Victim Claims
12       Resolution Procedures and the Subrogation Wildfire Claim Allocation Agreement.
13              1.27 Class means any group of Claims or Interests classified herein pursuant to
         sections 1122 and 1123(a)(1) of the Bankruptcy Code.
14
                 1.28 Collateral means any property or interest in property of the estate of any
15
         Debtor subject to a Lien, charge, or other encumbrance to secure the payment or performance
16       of a Claim, which Lien, charge, or other encumbrance is not subject to a Final Order ordering
         the remedy of avoidance on any such lien, charge, or other encumbrance under the
17       Bankruptcy Code.
18              1.29 Collective Bargaining Agreements means, collectively, (a) the IBEW
         Collective Bargaining Agreements, (b) the Collective Bargaining Agreement currently in
19
         place between the Utility and the Engineers and Scientists of California Local 20, IFPTE,
20       and (c) the Collective Bargaining Agreement currently in place between the Utility and the
         Service Employees International Union.
21
                1.30 Confirmation Date means the date on which the Clerk of the Bankruptcy
22       Court enters the Confirmation Order.
23              1.31 Confirmation Hearing means the hearing to be held by the Bankruptcy
         Court regarding confirmation of the Plan, as such hearing may be adjourned or continued
24
         from time to time.
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1               1.32 Confirmation Order means the order of the Bankruptcy Court confirming
         the Plan pursuant to section 1129 of the Bankruptcy Code and approving the transactions
2        contemplated thereby, which shall be in form and substance acceptable to the Debtors.
3                1.33   Consenting Creditors has the meaning set forth in Subrogation Claims RSA.
4               1.34 Consenting Fire Claimant Professionals has the meaning set forth in the
5        Tort Claimants RSA.

6                1.35   Consenting Noteholders has the meaning set forth in the Noteholder RSA.

7                1.36   CPUC means the California Public Utilities Commission.

8                1.37 CPUC Approval means all necessary approvals, authorizations and final
         orders from the CPUC to implement the Plan, and to participate in the Go-Forward Wildfire
9        Fund, including: (a) satisfactory provisions pertaining to authorized return on equity and
         regulated capital structure (it being acknowledged that the provisions included in the
10
         CPUC’s final decision dated December 19, 2019 in the 2020 Cost of Capital Proceeding are
11       satisfactory for purposes of this provision); (b) a disposition of proposals for certain potential
         changes to the Utility’s corporate structure and authorizations to operate as a utility; (c)
12       satisfactory resolution of claims for monetary fines or penalties under the California Public
         Utilities Code for prepetition conduct; (d) approval (or exemption from approval) of the
13       financing structure and securities to be issued under Article VI of the Plan; and (e) any
         approvals or determinations with respect to the Plan and related documents that may be
14
         required by the Wildfire Legislation (A.B. 1054).
15
                1.38 Creditors Committee means the statutory committee of unsecured creditors
16       appointed by the U.S. Trustee in the Chapter 11 Cases pursuant to section 1102 of the
         Bankruptcy Code.
17
                1.39 Cure Amount means the payment of Cash or the distribution of other
18       property (as the parties may agree or the Bankruptcy Court may order) as necessary to (a)
19       cure a monetary default, as required by section 365(a) of the Bankruptcy Code by the
         Debtors in accordance with the terms of an executory contract or unexpired lease of the
20       Debtors, and (b) permit the Debtors to assume or assume and assign such executory contract
         or unexpired lease under section 365(a) of the Bankruptcy Code. Such Cure Amount will
21       include interest at the applicable contract rate, or in the event no contract rate exists, at the
         applicable statutory rate from the Petition Date through the date of distribution.
22
                 1.40 D&O Liability Insurance Policies means all directors’, managers’, and
23
         officers’ liability insurance policies (including any “tail policy”) of either of the Debtors.
24
                 1.41   Debtors means, collectively, HoldCo and the Utility.
25
                1.42 DIP Facilities means the senior secured postpetition credit facilities approved
26       pursuant to the DIP Facility Order, as the same may be amended, modified, or supplemented
27

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1        from time to time through the Effective Date in accordance with the terms of the DIP Facility
         Documents and the DIP Facility Order.
2
                 1.43 DIP Facility Agents means JPMorgan Chase Bank, N.A., solely in its
3        capacity as administrative agent under the DIP Facility Documents, and Citibank, N.A.,
         solely in its capacity as collateral agent under the DIP Facility Documents, and their
4
         respective successors, assigns, or any replacement agents appointed pursuant to the terms of
5        the DIP Facility Documents.

6                1.44 DIP Facility Claim means any Claim arising under, or related to, the DIP
         Facility Documents.
7
                 1.45 DIP Facility Credit Agreement means that certain Senior Secured
8        Superpriority Debtor-In-Possession Credit, Guaranty and Security Agreement, dated as of
         February 1, 2019, by and among the Utility as borrower, HoldCo as guarantor, the DIP
9
         Facility Agents, and the DIP Facility Lenders, as the same has been or may be further
10       amended, modified, or supplemented from time to time.

11              1.46 DIP Facility Documents means, collectively, the DIP Facility Credit
         Agreement and all other “Loan Documents” (as defined therein), and all other agreements,
12       documents, and instruments delivered or entered into pursuant thereto or entered into in
         connection therewith (including any collateral documentation) (in each case, as amended,
13       supplemented, restated, or otherwise modified from time to time).
14
                1.47 DIP Facility Lenders means the lenders under the DIP Facility Credit
15       Agreement and each other party that becomes a lender thereunder from time to time in
         accordance with the terms of the DIP Facility Credit Agreement.
16
                1.48 DIP Facility Order means the Final Order Pursuant to 11 U.S.C. §§ 105,
17       362, 363, 503 and 507, Fed. R. Bankr. P. 2002, 4001, 6004 and 9014 and (i) Authorizing the
         Debtors to Obtain Senior Secured, Superpriority, Postpetition Financing, (ii) Granting Liens
18
         and Superpriority Claims, (iii) Modifying the Automatic Stay, and (iv) Granting Related
19       Relief [Docket No. 1091], dated March 27, 2019, as may be amended, modified, or
         supplemented from time to time through the Effective Date.
20
                1.49 DIP Letters of Credit means any letters of credit issued by a DIP Facility
21       Lender pursuant to the DIP Facility Credit Agreement.
22              1.50 Disallowed means a Claim, or any portion thereof, (a) that has been
         disallowed by a Final Order, agreement between the holder of such Claim and the applicable
23
         Debtor, or the Plan; (b) that is listed in the Debtors’ Schedules, as such Schedules may be
24       amended, modified, or supplemented from time to time in accordance with Bankruptcy Rule
         1009, at zero ($0) dollars or as contingent, disputed, or unliquidated and as to which no proof
25       of Claim has been filed by the applicable deadline or deemed timely filed with the
         Bankruptcy Court pursuant to either the Bankruptcy Code or any Final Order of the
26       Bankruptcy Court or applicable law; or (c) that is not listed in the Debtors’ Schedules and as
27

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1        to which no proof of Claim has been timely filed by the applicable deadline or deemed
         timely filed with the Bankruptcy Court pursuant to either the Bankruptcy Code or any Final
2        Order of the Bankruptcy Court or under applicable law.
3                1.51 Disbursing Agent means the Utility (or such Entity designated by the
         Debtors and without the need for any further order of the Bankruptcy Court) in its capacity
4
         as a disbursing agent pursuant to Section 5.6 hereof.
5
                1.52 Disclosure Statement means the disclosure statement relating to the Plan,
6        including, all schedules, supplements, and exhibits thereto, as approved by the Bankruptcy
         Court pursuant to section 1125 of the Bankruptcy Code.
7
                1.53 Disclosure Statement Order means a Final Order finding that the Disclosure
8        Statement contains adequate information pursuant to section 1125 of the Bankruptcy Code.
9                1.54 Disputed means with respect to a Claim against a Debtor or any portion
10       thereof (a) that is neither Allowed nor Disallowed under the Plan or a Final Order, nor
         deemed Allowed under sections 502, 503, or 1111 of the Bankruptcy Code; (b) that has not
11       been Allowed and is listed as unliquidated, contingent, or disputed in the Schedules; (c) that
         is a Subrogation Wildfire Claim not held by a Consenting Creditor that is also a party to the
12       Subrogation Wildfire Claim Allocation Agreement; or (d) for which a proof of Claim has
         been filed and related to which the Debtors or any other party in interest has interposed a
13       timely objection or request for estimation, and such objection or request for estimation has
14       not been withdrawn or determined by a Final Order.

15               1.55 Distribution Record Date means the Effective Date, unless otherwise
         provided in the Plan or designated by the Bankruptcy Court. The Distribution Record Date
16       shall not apply to Securities of the Debtors deposited with DTC, the holders of which shall
         receive a distribution in accordance with Article V of this Plan and, as applicable, the
17       customary procedures of DTC.
18
                 1.56 District Court means the United States District Court for the Northern
19       District of California having subject matter jurisdiction over the Chapter 11 Cases.

20               1.57   DTC means the Depository Trust Company.

21               1.58 Effective Date means a Business Day on or after the Confirmation Date
         selected by the Debtors, on which the conditions to the effectiveness of the Plan specified in
22       Section 9.2 hereof have been satisfied or effectively waived in accordance with the terms
         hereof.
23
24               1.59 Eligible Offeree has the meaning set forth in the Rights Offering Procedures,
         if applicable.
25
                1.60 Employee Benefit Plans means any written contracts, agreements, policies,
26       programs, and plans (including any related trust or other funding vehicle) governing any
27

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1        obligations relating to compensation, reimbursement, indemnity, health care benefits,
         disability benefits, deferred compensation benefits, travel benefits, vacation and sick leave
2        benefits, savings, severance benefits, retirement benefits, welfare benefits, relocation
         programs, life insurance, and accidental death and dismemberment insurance, including
3        written contracts, agreements, policies, programs, and plans for bonuses and other incentives
4        or compensation for the current and former directors, officers, and employees, as applicable,
         of any of the Debtors.
5
                 1.61   Entity has the meaning set forth in section 101(15) of the Bankruptcy Code.
6
                 1.62 Environmental Claim means any Claim under any Environmental Law;
7        provided, however, that Environmental Claims shall not include (x) any Claim for personal
         injury (including, but not limited to, sickness, disease or death) or (y) any Fire Claim.
8
                1.63 Environmental Law means all federal, state and local statutes, regulations,
9
         ordinances and similar provisions having the force or effect of law, all judicial and
10       administrative judgments, orders, agreements, permits, licenses, tariffs, determinations, and
         all common law, in each case concerning, in whole or in part, pollution, hazardous
11       substances or waste, water quality, conservation or other protection of the environment,
         human health, safety, and welfare.
12
                1.64 Environmental Performance Obligation means an obligation or
13       requirement arising from any consent decree, permit, license, tariff, Cause of Action,
14       agreement, injunction, cleanup and abatement order, cease and desist order, or any other
         administrative or judicial judgment, order or decree under any Environmental Law that is not
15       a Claim and does not arise from any Fire.

16                1.65 Exculpated Parties means collectively, and, in each case, in their capacities
         as such: (a) the Debtors and Reorganized Debtors; (b) the DIP Facility Agents; (c) the DIP
17       Facility Lenders; (d) the Exit Financing Agents; (e) the Exit Financing Lenders; (f) the
18       Funded Debt Trustees; (g) the HoldCo Revolver Lenders; (h) the HoldCo Term Loan
         Lenders; (i) the Utility Revolver Lenders; (j) the Utility Term Loan Lenders; (k) the
19       underwriters, initial purchasers, and any agents under or in connection with any underwritten
         primary or secondary offering of, or private placement of, or direct investment in, any equity
20       securities, equity forward contracts or other equity-linked securities issued or entered into in
         connection with the Plan Funding; (l) the Public Entities Releasing Parties; (m) the Statutory
21       Committees; (n) the Backstop Parties; (o) the Consenting Creditors; (p) the Shareholder
22       Proponents; (q) the Consenting Noteholders; and (r) with respect to each of the foregoing
         entities (a) through (q), such entities’ predecessors, successors, assigns, subsidiaries,
23       affiliates, managed accounts and funds, current and former officers and directors, principals,
         equity holders, members, partners, managers, employees, subcontractors, agents, advisory
24       board members, restructuring advisors, financial advisors, attorneys, accountants, investment
         bankers, consultants, representatives, management companies, fund advisors (and employees
25       thereof), and other professionals, and such entities’ respective heirs, executors, estates,
26       servants, and nominees, in each case in their capacity as such.

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1                1.66 Exit Financing means, collectively, the Exit Revolver Facility, and all other
         indebtedness to be incurred by the Reorganized Debtors on or about the Effective Date as
2        part of the Plan Funding.
3               1.67 Exit Financing Agents means, collectively, the Exit Revolver Facility Agent
         and any other facility agent or indenture trustee acting in such capacity under the Exit
4
         Financing Documents.
5
                 1.68 Exit Financing Documents means, collectively, the Exit Revolver Facility
6        Documents and all other agreements, indentures, documents, and instruments delivered or
         entered into pursuant to or in connection with the Exit Financing (including any guarantee
7        agreements and collateral documentation) (in each case, as amended, supplemented, restated,
         or otherwise modified from time to time).
8
               1.69 Exit Financing Lenders means, collectively, the Exit Revolver Facility
9
         Lenders and all other lenders or holders (as applicable) under the Exit Financing Documents.
10
                1.70 Exit Financing Term Sheets means those certain term sheets that shall be
11       included in the Plan Supplement that set forth the principal terms of the Exit Financing.

12              1.71 Exit Revolver Facility means any revolving loan facility provided to the
         Reorganized Utility or Reorganized HoldCo, pursuant to the Exit Revolver Facility
13       Documents, including the Exit Revolver Facility Credit Agreement, as contemplated by, and
         which shall be consistent with, the Exit Financing Term Sheets.
14

15               1.72 Exit Revolver Facility Agent means the administrative agent or collateral
         agent (if applicable) under the Exit Revolver Facility Credit Agreement, its successors,
16       assigns, or any replacement agent appointed pursuant to the terms of the Exit Revolver
         Facility Documents.
17
                1.73 Exit Revolver Facility Credit Agreement means the credit agreement
18       providing for the Exit Revolver Facility, including all agreements, notes, instruments, and
19       any other documents delivered pursuant thereto or in connection therewith (in each case, as
         amended, supplemented, restated, or otherwise modified from time to time), as contemplated
20       by, and which shall be consistent with, the Exit Financing Term Sheets.

21               1.74 Exit Revolver Facility Documents means, collectively, the Exit Revolver
         Facility Credit Agreement and all other agreements, documents, and instruments delivered or
22       entered into pursuant thereto or in connection therewith (including any guarantee agreements
         and collateral documentation) (in each case, as amended, supplemented, restated, or
23
         otherwise modified from time to time), each of which shall be, to the extent applicable,
24       consistent with the Exit Financing Term Sheets.

25              1.75 Exit Revolver Facility Lenders means each person who on the Effective
         Date shall become a lender under the Exit Revolver Facility Documents.
26
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1               1.76 Federal Judgment Rate means the interest rate of 2.59% as provided under
         28 U.S.C. § 1961(a), calculated as of the Petition Date.
2
                 1.77 Final Order means an order or judgment of the Bankruptcy Court entered by
3        the Clerk of the Bankruptcy Court on the docket in the Chapter 11 Cases which has not been
         reversed, vacated, or stayed and as to which (a) the time to appeal, petition for certiorari, or
4
         move for a new trial, reargument, or rehearing has expired and as to which no appeal,
5        petition for certiorari, or other proceeding for a new trial, reargument, or rehearing shall then
         be pending, or (b) if an appeal, writ of certiorari, new trial, reargument, or rehearing thereof
6        has been sought, such order or judgment of the Bankruptcy Court shall have been affirmed
         by the highest court to which such order was appealed, or certiorari shall have been denied,
7        or a new trial, reargument, or rehearing shall have been denied or resulted in no modification
         of such order, and the time to take any further appeal, petition for certiorari, or move for a
8
         new trial, reargument, or rehearing shall have expired; provided, that no order or judgment
9        shall fail to be a Final Order solely because of the possibility that a motion under Rule 60 of
         the Federal Rules of Civil Procedure has been or may be filed with respect to such order or
10       judgment. The susceptibility of a Claim to a challenge under section 502(j) of the
         Bankruptcy Code shall not render a Final Order not a Final Order.
11
                 1.78 Fire Claim means any Claim against the Debtors in any way arising out of
12       the Fires, including, but not limited to, any Claim resulting from the Fires for (a) general
13       and/or specific damages, including any Claim for personal injury, wrongful death, emotional
         distress and similar claims, pavement fatigue, damage to culverts, ecosystem service losses,
14       municipal budget adjustments/reallocation, lost revenue and tax impacts, local share of
         reimbursed fire clean-up costs, future estimated infrastructure costs, water service losses, lost
15       landfill capacity, costs related to unmet housing (e.g., housing market impact due to the Fires
         and adjustments for increased homeless population), and/or hazard mitigation costs
16
         (including, watershed restoration and hazardous tree removal expenses); (b) damages for
17       repair, depreciation and/or replacement of damaged, destroyed, and/or lost personal and/or
         real property; (c) damages for loss of the use, benefit, goodwill, and enjoyment of real and/or
18       personal property; (d) damages for loss of wages, earning capacity and/or business profits
         and/or any related displacement expenses; (e) economic losses; (f) damages for wrongful
19       injuries to timber, trees, or underwood under California Civil Code § 3346; (g) damages for
         injuries to trees under California Code of Civil Procedure § 733; (h) punitive and exemplary
20
         damages under California Civil Code §§ 733 and 3294, California Public Utilities Code §
21       2106, or otherwise, (i) restitution; (j) fines or penalties; (k) any and all costs of suit,
         including all attorneys’ fees and expenses, expert fees, and related costs, including all
22       attorneys and other fees under any theory of inverse condemnation; (l) for prejudgment
         and/or postpetition interest; (m) other litigation costs stemming from the Fires; and (n)
23       declaratory and/or injunctive relief. For avoidance of doubt and without prejudice to the
         Debtors’ right to object to any such Claim, “Fire Claim” shall not include any (x) Claim for
24
         substantial contribution under section 503(b) of the Bankruptcy Code, (y) Subordinated Debt
25       Claim, HoldCo Common Interest or HoldCo Rescission or Damage Claim, or (z) Ghost Ship
         Fire Claim. The Fire Claims shall not include claims arising from any fire other than the
26
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1        Fires (including, without limitation, the Kincade Fire or any postpetition fire) or any
         Administrative Expense Claims.
2
                1.79 Fire Victim Claim means any Fire Claim that is not a Public Entities
3        Wildfire Claim, Subrogation Wildfire Claim, or a Subrogation Butte Fire Claim.
4                1.80 Fire Victim Claims Resolution Procedures means the procedures for the
5        resolution, liquidation, and payment of Fire Victim Claims by the Fire Victim Trust,
         substantially in the form included in the Plan Supplement, which shall comply with Section
6        4.25(f)(ii) hereof.

7               1.81 Fire Victim Equity Value means 14.9 multiplied by the Normalized
         Estimated Net Income as of a date to be agreed upon among the parties to the Tort Claimants
8        RSA.
9               1.82 Fire Victim Trust means one or more trusts established on the Effective
10       Date, in accordance with Section 6.7 of the Plan to, among other purposes, administer,
         process, settle, resolve, satisfy, and pay Fire Victim Claims, and prosecute or settle the
11       Assigned Rights and Causes of Action.

12              1.83 Fire Victim Trust Agreement means that certain trust agreement or
         agreements by and among the Debtors, the Fire Victim Trust, and the Fire Victim Trustee,
13       substantially in the form included in the Plan Supplement.
14              1.84 Fire Victim Trustee means the Person or Persons selected by the Consenting
15       Fire Claimant Professionals and the Tort Claimants Committee, subject to the approval of the
         Bankruptcy Court, and identified in the Plan Supplement, to serve as the trustee(s) of the Fire
16       Victim Trust, and any successor thereto, appointed pursuant to the Fire Victim Trust
         Agreement.
17
                1.85 Fire Victim Trust Oversight Committee means the oversight committee
18       appointed by the Consenting Fire Claimant Professionals and the Tort Claimants Committee
19       to oversee the Fire Victim Trust in accordance with the Plan and the Fire Victim Trust
         Agreement.
20
               1.86 Fires means the fires that occurred in Northern California, listed on Exhibit
21       A annexed hereto.

22              1.87 Funded Debt Claims means, collectively, the HoldCo Funded Debt Claims
         and the Utility Funded Debt Claims.
23
               1.88 Funded Debt Documents means, collectively, the HoldCo Revolver
24
         Documents, the HoldCo Term Loan Documents, the PC Bond Loan Documents, the PC
25       Bond LOC Documents, the PC Bond (2008 F and 2010 E) Documents, the Utility Revolver
         Documents, the Utility Term Loan Documents, and the Utility Senior Notes Documents.
26
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1                1.89 Funded Debt Trustees means, collectively, the HoldCo Revolver Agent, the
         HoldCo Term Loan Agent, the Utility Revolver Agent, the Utility Term Loan Agent, the
2        Utility Senior Notes Trustee, the PC Bond Trustee, and each Utility Issuing Lender.
3               1.90 General Unsecured Claim means any Claim against a Debtor, other than a
         DIP Facility Claim, Administrative Expense Claim, Professional Fee Claim, Priority Tax
4
         Claim, Other Secured Claim, Priority Non-Tax Claim, Funded Debt Claim, Workers’
5        Compensation Claim, 2001 Utility Exchange Claim, Fire Claim, Ghost Ship Fire Claim,
         Intercompany Claim, Utility Senior Note Claim, Utility PC Bond (2008 F and 2010 E)
6        Claim, Environmental Claim or Subordinated Debt Claim, that is not entitled to priority
         under the Bankruptcy Code or any Final Order. General Unsecured Claims shall include any
7        (a) Prepetition Executed Settlement Claim, including but not limited to settlements relating
         to Subrogation Butte Fire Claims; and (b) Claim for damages resulting from or otherwise
8
         based on the Debtors’ rejection of an executory contract or unexpired lease.
9
                1.91 Ghost Ship Fire means the fire known as the “Ghost Ship Fire” which
10       occurred in Oakland, California on December 2, 2016.

11              1.92    Ghost Ship Fire Claim means any Claim related to or arising from the Ghost
         Ship Fire.
12
                 1.93 Go-Forward Wildfire Fund means a long-term, state-wide fund established,
13       pursuant to section 3292(a) of the California Public Utilities Code and the Wildfire
14       Legislation (A.B. 1054), to pay for certain future wildfire obligations, the terms of which are
         set forth in the Wildfire Legislation (A.B. 1054).
15
               1.94 Governmental Unit has the meaning set forth in section 101(27) of the
16       Bankruptcy Code.
17               1.95   HoldCo means Debtor PG&E Corporation, a California corporation.
18               1.96 HoldCo Common Interest means any HoldCo Interest which results or
19       arises from the existing common stock of HoldCo.

20               1.97   HoldCo Fire Victim Claim means any Fire Victim Claim against HoldCo.

21             1.98     HoldCo Environmental Claim means any Environmental Claim against
         HoldCo.
22
                1.99 HoldCo Funded Debt Claims means, collectively, the HoldCo Revolver
23       Claims and the HoldCo Term Loan Claims.
24               1.100 HoldCo General Unsecured Claim means any General Unsecured Claim
25       against HoldCo.

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1              1.101 HoldCo Ghost Ship Fire Claim means any Ghost Ship Fire Claim against
         HoldCo.
2
               1.102 HoldCo Intercompany Claim means any Intercompany Claim against
3        HoldCo.
4                1.103 HoldCo Interest means any Interest in HoldCo immediately prior to the
5        Effective Date.

6             1.104 HoldCo Other Interest means any HoldCo Interest that is not a HoldCo
         Common Interest.
7
               1.105 HoldCo Other Secured Claim means any Other Secured Claim against
8        HoldCo.
9              1.106 HoldCo Priority Non-Tax Claim means any Priority Non-Tax Claim against
         HoldCo.
10

11              1.107 HoldCo Public Entities Wildfire Claim means any Public Entities Wildfire
         Claim against HoldCo.
12
                 1.108 HoldCo Rescission or Damage Claim means any Claim against HoldCo
13       subject to subordination pursuant to section 510(b) of the Bankruptcy Code arising from or
         related to the common stock of HoldCo.
14
                 1.109 HoldCo Rescission or Damage Claim Share means a percentage equal to (a)
15       the dollar amount of a holder’s Allowed HoldCo Rescission or Damage Claim less any cash
16       payments received from an Insurance Policy, divided by (b) $35,905,153,932.

17              1.110 HoldCo Revolver Agent means such entity or entities acting as
         administrative agent under the HoldCo Revolver Documents, and any of their respective
18       successors, assigns, or replacement agents appointed pursuant to the terms of the HoldCo
         Revolver Documents.
19
               1.111 HoldCo Revolver Claim means any Claim arising under, or related to, the
20
         HoldCo Revolver Documents.
21
                 1.112 HoldCo Revolver Credit Agreement means that certain Second Amended
22       and Restated Credit Agreement, dated as of April 27, 2015, by and among HoldCo, the
         HoldCo Revolver Agent, and the HoldCo Revolver Lenders, as amended, supplemented,
23       restated, or otherwise modified from time to time.
24              1.113 HoldCo Revolver Documents means, collectively, the HoldCo Revolver
         Credit Agreement and all other “Loan Documents” (as defined therein), and all other
25
         agreements, documents, and instruments delivered or entered into pursuant thereto or entered
26
27

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1        into in connection therewith (in each case, as amended, supplemented, restated, or otherwise
         modified from time to time).
2
                1.114 HoldCo Revolver Lenders means the lenders under the HoldCo Revolver
3        Credit Agreement and each other party that becomes a lender thereunder from time to time in
         accordance with the terms of the HoldCo Revolver Credit Agreement.
4
5                1.115 HoldCo Subordinated Debt Claim means any Claim against HoldCo that is
         subject to subordination under section 510(b) of the Bankruptcy Code, including any Claim
6        for reimbursement, indemnification or contribution, but excluding any HoldCo Rescission or
         Damage Claims.
7
                1.116 HoldCo Subrogation Wildfire Claim means any Subrogation Wildfire
8        Claim against HoldCo.
9               1.117 HoldCo Term Loan Agent means Mizuho Bank, Ltd. solely in its capacity as
10       administrative agent under the HoldCo Term Loan Documents, its successors, assigns, or any
         replacement agent appointed pursuant to the terms of the HoldCo Term Loan Documents.
11
               1.118 HoldCo Term Loan Claim means any Claim arising under, or related to, the
12       HoldCo Term Loan Documents.
13               1.119 HoldCo Term Loan Credit Agreement means that certain Term Loan
         Agreement, dated as of April 16, 2018, by and among HoldCo, as borrower, the HoldCo
14       Term Loan Agent, and the HoldCo Term Loan Lenders, as amended, supplemented, restated,
15       or otherwise modified from time to time.

16               1.120 HoldCo Term Loan Documents means, collectively, the HoldCo Term Loan
         Credit Agreement and all other “Loan Documents” (as defined therein), including all other
17       agreements, documents, and instruments delivered or entered into pursuant thereto or entered
         into in connection therewith (in each case, as amended, supplemented, restated, or otherwise
18       modified from time to time).
19
                 1.121 HoldCo Term Loan Lenders means the lenders under the HoldCo Term
20       Loan Credit Agreement and each other party that becomes a lender thereunder from time to
         time in accordance with the terms of the HoldCo Term Loan Credit Agreement.
21
              1.122 HoldCo Workers’ Compensation                  Claim    means     any   Workers’
22       Compensation Claim against HoldCo.
23              1.123 IBEW Agreement means the agreements between the Debtors and IBEW
         Local 1245 contained in Exhibit B annexed hereto.
24

25              1.124 IBEW Collective Bargaining Agreements means, collectively, the two (2)
         Collective Bargaining Agreements currently in place between the Utility and IBEW Local
26       1245: (i) the IBEW Physical Agreement, and (ii) the IBEW Clerical Agreement, as such

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1        agreements will, subject to the occurrence of the Effective Date, be further amended,
         supplemented or modified in a manner consistent with the IBEW Agreement.
2
                1.125 IBEW Local 1245 means Local Union No. 1245 of the International
3        Brotherhood of Electrical Workers.
4                1.126 Impaired means, with respect to a Claim, Interest, or Class of Claims or
5        Interests, “impaired” within the meaning of sections 1123(a)(4) and 1124 of the Bankruptcy
         Code.
6
                 1.127 Indemnification Obligation means each of the Debtors’ indemnification
7        obligations existing or outstanding prior to the Effective Date, whether arising by statute,
         agreement, in the bylaws, certificates of incorporation or formation, limited liability
8        company agreements, other organizational or formation documents, board resolutions,
         management or indemnification agreements, or employment or other contracts, for their
9
         current and former directors, officers, managers, employees, attorneys, accountants,
10       restructuring advisors, financial advisors, investment bankers, and other professionals and
         agents of the Debtors, as applicable.
11
                1.128 Insurance Policies means any insurance policies issued prior to the Effective
12       Date to any of the Debtors or under which the Debtors have sought or may seek coverage,
         including the D&O Liability Insurance Policies.
13
                1.129 Intercompany Claim means any Claim against a Debtor held by either
14
         another Debtor or by a non-Debtor affiliate which is controlled by a Debtor (excluding any
15       Claims of an individual).

16               1.130 Interest means (a) any equity security (as defined in section 101(16) of the
         Bankruptcy Code) of a Debtor, including all units, shares, common stock, preferred stock,
17       partnership interests, or other instrument evidencing any fixed or contingent ownership
         interest in any Debtor, including any option, warrant, or other right, contractual or otherwise,
18
         to acquire any such interest in a Debtor, whether or not transferable and whether fully vested
19       or vesting in the future, that existed immediately before the Effective Date and (b) any Claim
         against any Debtor subject to subordination pursuant to section 510(b) of the Bankruptcy
20       Code arising from or related to any of the foregoing.

21              1.131 Interim Compensation Order means the Order Pursuant to 11 U.S.C. §§
         331 and 105(a) and Fed. R. Bankr. P. 2016 for Authority to Establish Procedures for Interim
22       Compensation and Reimbursement of Expenses of Professionals [Docket No. 701].
23
                1.132 Kincade Fire means the wildfire which started on October 23, 2019 in the
24       area northeast of Geyserville, in Sonoma County, California.

25               1.133 Lien has the meaning set forth in section 101(37) of the Bankruptcy Code.

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1                1.134 Management Incentive Plan means the post-emergence management
         incentive plan for certain of the Reorganized Debtors’ employees on the terms set forth in the
2        Management Incentive Plan Term Sheet that may be established and implemented at the
         discretion of the New Board on or after the Effective Date.
3
                 1.135 Management Incentive Plan Term Sheet means that certain term sheet that
4
         sets forth the principal terms of the Management Incentive Plan.
5
               1.136 New Board means, on and as of the Effective Date, the board of directors of
6        Reorganized HoldCo, and the board of directors of the Reorganized Utility, as applicable.

7              1.137 New HoldCo Common Stock means the common stock of Reorganized
         HoldCo issued in connection with the implementation of the Plan.
8
                 1.138 New Organizational Documents means, if applicable, the forms of articles
9        of incorporation or other forms of organizational documents and bylaws, as applicable, of the
10       Reorganized Debtors, substantially in the form included in the Plan Supplement and which
         shall be in form and substance acceptable to the Debtors.
11
                 1.139 New Utility Funded Debt Exchange Notes means, collectively, (i) $1,949
12       million in new senior secured notes to be issued by the Reorganized Utility on the Effective
         Date that shall bear interest at the rate of 3.15%, mature on the 66 month anniversary of the
13       Effective Date, and otherwise have the same terms and conditions of the Reference Short-
         Term Senior Note Documents; and (ii) $1,949 million in new senior secured notes to be
14
         issued by the Reorganized Utility on the Effective Date that shall bear interest at the rate of
15       4.50%, mature on the anniversary of the Effective Date in 2040, and otherwise have the same
         terms and conditions of the Reference Long-Term Senior Note Documents.
16
                 1.140 New Utility Long-Term Notes means, collectively, (i) $3.1 billion in new
17       senior secured notes to be issued by the Reorganized Utility on the Effective Date that shall
         bear interest at the rate of 4.55%, mature on the anniversary of the Effective Date in 2030,
18
         and otherwise have the same terms and conditions of the Reference Long-Term Senior Note
19       Documents; and (ii) $3.1 billion in new senior secured notes to be issued by the Reorganized
         Utility on the Effective Date that shall bear interest at the rate of 4.95%, mature on the
20       anniversary of the Effective Date in 2050, and otherwise have the same terms and conditions
         of the Reference Long-Term Senior Note Documents.
21
                 1.141 New Utility Short-Term Notes means, collectively, (i) $875 million in new
22       senior secured notes to be issued by the Reorganized Utility on the Effective Date that shall
23       bear interest at the rate of 3.45%, mature on the anniversary of the Effective Date in 2025,
         and otherwise have the same terms and conditions as the Reference Short-Term Senior Note
24       Documents; and (ii) $875 million in new senior secured notes to be issued by the
         Reorganized Utility on the Effective Date that shall bear interest at the rate of 3.75%, mature
25       on the anniversary of the Effective Date in 2028 and otherwise have substantially similar
         terms and conditions as the Reference Short-Term Senior Notes Documents.
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1                1.142 Non-cash Recovery has the meaning set forth in the Subrogation Claims
         RSA.
2
                 1.143 Normalized Estimated Net Income shall mean, in each case with respect to
3        the estimated year 2021, (a) on a component-by-component basis (e.g., distribution,
         generation, gas transmission and storage, and electrical transmission), the sum of (i) the
4
         Utility’s estimated earning rate base for such component, times (ii) the equity percentage of
5        the Utility’s authorized capital structure, times (iii) the Utility’s authorized rate of return on
         equity for such component, less (b) the projected post-tax difference in interest expense or
6        preferred dividends for the entire company and the authorized interest expense or preferred
         dividends expected to be collected in rates based on the capital structure in the approved
7        Plan, if any, less (c) the amount of the Utility’s post-tax annual contribution to the Go-
         Forward Wildfire Fund.
8

9                1.144 North Bay Public Entities means, collectively, (a) the City of Clearlake, a
         California municipal corporation duly organized and existing by virtue of the laws of the
10       State of California; (b) the City of Napa, a California municipal corporation duly organized
         and existing by virtue of the laws of the State of California; (c) the City of Santa Rosa, a
11       California municipal corporation duly organized and existing by virtue of the laws of the
         State of California; (d) the County of Lake, a general law county and political subdivision of
12       the State of California duly organized and existing by virtue of the laws of the State of
13       California; (e) Lake County Sanitation District, a sanitary district organized under the laws
         of the State of California; (f) the County of Mendocino, a general law county and political
14       subdivision of the State of California, duly organized and existing by virtue of the laws of the
         State of California; (g) Napa County, a general law county and political subdivision of the
15       State of California, duly organized and existing by virtue of the laws of the State of
         California; (h) the County of Nevada, a general law county and political subdivision of the
16
         State of California, duly organized and existing by virtue of the laws of the State of
17       California; (i) the County of Sonoma, a general law county and political subdivision of the
         State of California, duly organized and existing by virtue of the laws of the State of
18       California; (j) the Sonoma County Agricultural Preservation and Open Space District, a
         public agency formed pursuant to the Public Resources code sections 5500, et seq.; (k)
19       Sonoma County Community Development Commission, a public and corporate entity
         pursuant to section 34110 of the California Health & Safety Code; (l) Sonoma County Water
20
         Agency, a public agency of the State of California; (m) Sonoma Valley County Sanitation
21       District, a sanitary district organized under the laws of the State of California; and (n) the
         County of Yuba, a general law county and political subdivision of the State of California,
22       duly organized and existing by virtue of the laws of the State of California.
23              1.145 Noteholder RSA means that certain Restructuring Support Agreement, dated
         as of January 22, 2020, and as approved by the Order of the Bankruptcy Court dated
24       February 5, 2020 [Docket No. 5637], by and among the Debtors, the Shareholder
25       Proponents, and the Consenting Noteholders, as amended, supplemented, restated, or
         otherwise modified from time to time, in accordance with its terms.
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1                1.146 Ordinary Course Professionals Order means the Order Pursuant to 11
         U.S.C. §§ 105(a), 327, 328, and 330 Authorizing the Debtors to Employ Professionals Used
2        in the Ordinary Course of Business Nunc Pro Tunc to the Petition Date, dated February 28,
         2019 [Docket No. 707].
3
                1.147 Other Secured Claim means a Secured Claim that is not a DIP Facility
4
         Claim or Priority Tax Claim.
5
                1.148 PC Bond Documents means, collectively, the PC Bond Loan Documents and
6        the PC Bond LOC Documents.

7                 1.149 PC Bond (2008 F and 2010 E) Documents means each of the following loan
         agreements, as amended, supplemented, restated, or otherwise modified from time to time,
8        (a) Amended and Restated Loan Agreement between California Infrastructure and Economic
         Development Bank and the Utility, dated September 1, 2010 (Series 2008F); and (b) Loan
9
         Agreement between the California Infrastructure and Economic Development Bank and the
10       Utility, dated April 1, 2010 (Series 2010 E).

11                1.150 PC Bond Loan Documents means each of the following loan agreements, as
         amended, supplemented, restated, or otherwise modified from time to time, (a) Loan
12       Agreement between the California Infrastructure and Economic Development Bank and the
         Utility, dated August 1, 2009 (Series 2009 A); (b) Loan Agreement between the California
13       Infrastructure and Economic Development Bank and the Utility, dated August 1, 2009
14       (Series 2009 B); (c) Loan Agreement between the California Pollution Control Financing
         Authority and the Utility, dated September 1, 1997 (1997 Series B-C); (d) First Supplemental
15       Loan Agreement between the California Pollution Control Financing Authority and the
         Utility, dated December 1, 2003 (1997 Series B); (e) Loan Agreement between the California
16       Pollution Control Financing Authority and the Utility, dated May 1, 1996 (1996 Series A-G);
         (f) First Supplemental Loan Agreement between the California Pollution Control Financing
17
         Authority and the Utility, dated July 1, 1998 (1996 Series A-G); and (g) Third Supplemental
18       Loan Agreement between the California Pollution Control Financing Authority and the
         Utility, dated December 1, 2003 (1996 Series C, E, F).
19
                 1.151 PC Bond LOC Documents means each of the following reimbursement
20       agreements, as assigned, amended, supplemented, restated, or otherwise modified from time
         to time: (a) Reimbursement Agreement (Series 2009A) between the Utility and Union Bank,
21       N.A., dated June 5, 2014; (b) Reimbursement Agreement (Series 2009B) between the Utility
22       and Union Bank, N.A., dated June 5, 2014; (c) Reimbursement Agreement between the
         Utility and Canadian Imperial Bank of Commerce, New York Branch relating to California
23       Pollution Control Financing Authority Pollution Control Refunding Revenue Bonds (Pacific
         Gas and Electric Company) 1997 Series B, dated December 1, 2015; (d) Reimbursement
24       Agreement between the Utility and Mizuho Bank Ltd. relating to California Pollution
         Control Financing Authority Pollution Control Refunding Revenue Bonds (Pacific Gas and
25       Electric Company) 1996 Series C, dated December 1, 2015; (e) Reimbursement Agreement
26       between the Utility and Sumitomo Mitsui Banking Corporation relating to California
         Pollution Control Financing Authority Pollution Control Refunding Revenue Bonds (Pacific
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1        Gas and Electric Company) 1996 Series E, dated December 1, 2015; and (f) Reimbursement
         Agreement between the Utility and TD Bank N.A. relating to California Pollution Control
2        Financing Authority Pollution Control Refunding Revenue Bonds (Pacific Gas and Electric
         Company) 1996 Series F, dated December 1, 2015.
3
                 1.152 PC Bond Trustee means, as applicable, Deutsche Bank National Trust
4
         Company or Deutsche Bank Trust Company Americas, solely in their capacity as indenture
5        trustee or successor indenture trustee under Indentures for pollution control bonds issued in
         connection with the PC Bond Loan Documents or the PC Bond (2008 F and 2010 E)
6        Documents.

7                1.153 Person has the meaning set forth in section 101(41) of the Bankruptcy Code.
8             1.154 Petition Date means January 29, 2019, the date on which the Debtors
         commenced the Chapter 11 Cases.
9

10               1.155 Plan means this chapter 11 plan, as the same may be amended, supplemented,
         or modified from time to time in accordance with the provisions of the Bankruptcy Code and
11       the terms hereof.

12               1.156 Plan Document means any of the documents, other than this Plan, to be
         executed, delivered, assumed, or performed in connection with the occurrence of the
13       Effective Date, including the documents to be included in the Plan Supplement, all of which
         shall be in form and substance as provided herein and acceptable to the Plan Proponents.
14

15               1.157 Plan Funding means, collectively, (a) the proceeds from the incurrence of the
         Exit Financing, (b) the proceeds of any Rights Offering, if implemented, (c) any other
16       sources of funding used for distributions under the Plan, including from any underwritten
         primary or secondary equity offering, a direct equity investment, and/or other equity-linked
17       securities, and (d) Cash on hand. For the avoidance of doubt, Plan Funding does not include
         any Claim that has been Reinstated pursuant to the Plan.
18

19               1.158 Plan Supplement means the forms of certain documents effectuating the
         transactions contemplated herein, which documents shall be filed with the Clerk of the
20       Bankruptcy Court no later than fourteen (14) days prior to the deadline set to file objections
         to the confirmation of the Plan, including, but not limited to: (a) the Schedule of Rejected
21       Contracts; (b) the Wildfire Trust Agreements; (c) the New Organizational Documents (to the
         extent such New Organizational Documents reflect material changes from the Debtors’
22       existing articles of incorporation and bylaws); (d) to the extent known, information required
23       to be disclosed in accordance with section 1129(a)(5) of the Bankruptcy Code; (e) the Exit
         Financing Term Sheets; (f) the Fire Victim Claims Resolution Procedures; and (g) the
24       Schedule of Assigned Rights and Causes of Action. Such documents shall be consistent with
         the terms hereof, provided, that, through the Effective Date, the Plan Proponents shall have
25       the right to amend, modify, or supplement documents contained in, and exhibits to, the Plan
         Supplement in accordance with the terms of the Plan.
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1               1.159 Prepetition Executed Settlement Claim means any liquidated Claim against
         a Debtor, other than a 2001 Utility Exchange Claim, arising from a binding award,
2        agreement, or settlement fully effective prior to the Petition Date, which for the purposes of
         the Plan shall be Allowed in the amount set forth in the applicable award, agreement or
3        settlement.
4
                 1.160 Priority Non-Tax Claim means any Claim against a Debtor, other than an
5        Administrative Expense Claim or a Priority Tax Claim, entitled to priority in payment as
         specified in section 507(a)(3), (4), (5), (6), (7), or (9) of the Bankruptcy Code.
6
                1.161 Priority Tax Claim means any Claim of a Governmental Unit against a
7        Debtor of the kind entitled to priority in payment as specified in sections 502(i) and
         507(a)(8) of the Bankruptcy Code.
8
                1.162 Professional means an Entity, excluding those Entities entitled to
9
         compensation pursuant to the Ordinary Course Professionals Order that is retained in the
10       Chapter 11 Cases pursuant to an order of the Bankruptcy Court in accordance with sections
         327, 363, or 1103 of the Bankruptcy Code and that is entitled to be compensated for services
11       rendered and expenses incurred pursuant to sections 327, 328, 329, 330, 331, and 363 of the
         Bankruptcy Code.
12
                 1.163 Professional Fee Claim means any Administrative Expense Claim for the
13       compensation of a Professional and the reimbursement of expenses incurred by such
14       Professional through and including the Effective Date to the extent such fees and expenses
         have not been paid pursuant to any Final Order (including, but not limited to, any fees of a
15       Professional held back in accordance with the Interim Compensation Order or otherwise).
         To the extent the Bankruptcy Court denies or reduces by a Final Order any amount of a
16       Professional’s requested fees and expenses (whether or not paid pursuant to an order granting
         interim allowance), then the amount by which such fees or expenses are reduced or denied
17
         shall reduce the applicable Professional Fee Claim.
18
                 1.164 Professional Fee Escrow Account means an interest-bearing account in an
19       amount equal to the Professional Fee Reserve Amount and funded by the Debtors in Cash on
         the Effective Date, pursuant to Section 2.2(b) of the Plan.
20
                1.165 Professional Fee Reserve Amount means the total amount of Professional
21       Fee Claims estimated in accordance with Section 2.2(c) of the Plan.
22              1.166 Public Entities means, collectively, (a) the North Bay Public Entities; (b) the
23       Town of Paradise; (c) the County of Butte; (d) the Paradise Park and Recreation District; (e)
         the County of Yuba; and (f) the Calaveras County Water District.
24
                1.167 Public Entities Operative Complaints means all complaints filed by the
25       Public Entities in relation to the Fires, including the complaints filed in Calaveras County
         Water District v. PG&E, No. 34-2018-00238630 (Cal. Super. Ct. Sacramento Cty), the
26       Public Entity Master Complaint filed in Judicial Council Coordination Proceeding No. 4853,
27

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1        Butte Fire Cases, No. JCCP 4853 (Cal. Super. Ct. Sacramento Cty.), City of Clearlake v.
         PG&E Corp. et al., No. CV419398 (Cal. Super. Ct. Lake Cty.), City of Napa v. PG&E Corp.
2        et al., No. 19CV000148 (Cal. Super. Ct. Napa Cty.), City of Santa Rosa v. Pacific Gas and
         Electric Company, et al., No. SCV-262772 (Cal. Super. Ct. Sonoma Cty.), County of Lake v.
3        PG&E Corp. et al., No. CV-419417 (Cal. Super. Ct. Lake Cty.), Mendocino County v.
4        PG&E Corporation et al., No. SCUK-CVPO-18-70440 (Cal. Super. Ct. Mendocino Cty.),
         Napa County v. PG&E Corporation et al., No. 18CV000238 (Cal. Super. Ct. Napa Cty.),
5        County of Nevada v. PG&E Corp. et al., No. CU19-083418 (Cal. Super. Ct. Nevada Cty.),
         County of Sonoma v. PG&E Corporation et al., No. SCV-262045 (Cal. Super. Ct. Sonoma
6        Cty.), County of Yuba v. PG&E Corp. et al., No. CVCV19-00045 (Cal. Super. Ct. Yuba
         Cty.), the Public Entity Master Complaint filed in Judicial Council Coordination Proceeding
7        No. 4955 (California North Bay Fire Cases, No. JCCP 4955 (Cal. Super. Ct. San Francisco
8        Cty.), Butte County v. PG&E Corp et al., No. 19CV00151 (Cal. Super. Ct. Butte Cty.) and
         Town of Paradise v. PG&E Corporation et al., No. 19CV00259 (Cal. Super. Ct. Butte Cty.).
9
                1.168 Public Entities Plan Support Agreements means the Plan Support
10       Agreements as to Plan Treatment of Public Entities’ Wildfire Claims, each dated June 18,
         2019, by and between the Debtors and the Public Entities.
11
                1.169 Public Entities Releasing Parties means the Public Entities and any
12       subsidiary, affiliate, department, agency, political subdivision, or instrumentality thereof.
13
                 1.170 Public Entities Segregated Defense Fund means a segregated fund
14       established for the benefit of the Public Entities in the amount of $10 million, which funds
         shall be used by the Reorganized Debtors solely to reimburse the Public Entities for any and
15       all legal fees and costs associated with the defense or resolution of any Public Entities Third
         Party Claims against a Public Entity, in accordance with the Public Entities Plan Support
16       Agreements.
17
                 1.171 Public Entities Settlement means the settlement of the Public Entities
18       Wildfire Claims pursuant to the terms of the Public Entities Plan Support Agreements and
         this Plan.
19
                1.172 Public Entities Settlement Distribution Protocol means the $1.0 billion in
20       Cash, to be deposited in a trust account and distributed in accordance with the Plan and the
         Public Entities Plan Support Agreements, to satisfy the Public Entities Wildfire Claims.
21
                 1.173 Public Entities Third Party Claims means any past, present, or future Claim
22
         held by entities or individuals other than the Debtors or the Public Entities against the Public
23       Entities that in any way arises out of or relates to the Fires, including but not limited to any
         Claim held by individual plaintiffs or subrogated insurance carriers against the Public
24       Entities for personal injuries, property damage, reimbursement of insurance payments, and/or
         wrongful death that in any way arises out of or relates to the Fires.
25
                1.174 Public Entities Wildfire Claim means any Fire Claim against the Debtors,
26       including any Claim pleaded or asserted or that could have been pleaded or asserted based on
27

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1        the factual allegations set forth in the Public Entities Operative Complaints or that were filed
         or could be filed by the Public Entities in connection with the Chapter 11 Cases whether
2        arising under California law or any other applicable law of the United States (state or federal)
         or any other jurisdiction, in each case whether such claims are absolute or contingent, direct
3        or indirect, known or unknown, foreseen or unforeseen, in contract, tort or in equity, under
4        any theory of law.

5                1.175 PX means the California Power Exchange Corporation.

6                1.176 Reference Long-Term Senior Note Documents means the Indenture
         governing the 3.95% Senior Notes due December 1, 2047 referred to in clause (jj) in the
7        definition of Utility Senior Notes, including all agreements, notes, instruments, and any other
         documents delivered pursuant thereto or in connection therewith (in each case, as amended,
8        supplemented, restated, or otherwise modified from time to time solely with respect to the
9        3.95% Senior Notes due December 1, 2047).

10               1.177 Reference Short-Term Senior Note Documents means the Indenture
         governing the 6.05% Senior Notes due March 1, 2034 referred to in clause (q) in the
11       definition of Utility Senior Notes, including all agreements, notes, instruments, and any other
         documents delivered pursuant thereto or in connection therewith (in each case, as amended,
12       supplemented, restated, or otherwise modified from time to time solely with respect to the
         6.05% Senior Notes due March 1, 2034).
13

14               1.178 Reinstatement means (a) leaving unaltered the legal, equitable, and
         contractual rights to which a Claim or Interest entitles the holder of such Claim or Interest in
15       accordance with section 1124 of the Bankruptcy Code, or (b) if applicable under section
         1124 of the Bankruptcy Code, with respect to any class of Claims or Interests, (i) curing all
16       prepetition and postpetition defaults other than defaults specified in section 365(b)(2) of the
         Bankruptcy Code; (ii) reinstating the maturity date of the Claim or Interest as such maturity
17
         existed before the default; (iii) compensating the holder of such Claim or Interest for
18       damages incurred as a result of its reasonable reliance on a contractual provision or such
         applicable law allowing the Claim’s acceleration; (iv) compensating the holder of such
19       Claim or Interest (other than the Debtors or insiders of the Debtors) for actual pecuniary
         losses incurred by such holder arising from the failure to perform a nonmonetary obligation;
20       and (v) not otherwise altering the legal, equitable or contractual rights to which the Claim or
         Interest entitles the holder thereof. For the avoidance of doubt, such Claims or Interests are
21
         Reinstated when the requirements for Reinstatement have been met by the Debtors in
22       accordance with section 1124 of the Bankruptcy Code.

23              1.179 Released Parties means, collectively, and in each case in their capacities as
         such: (a) the Debtors and Reorganized Debtors; (b) the Tort Claimants Committee; (c) the
24       DIP Facility Agents; (d) the DIP Facility Lenders; (e) the Exit Financing Agents; (f) the Exit
         Financing Lenders; (g) the Backstop Parties; (h) the Public Entities Releasing Parties; (i) the
25       Consenting Creditors (solely in their capacity as holders of Subrogation Wildfire Claims); (j)
26       the Shareholder Proponents; (k) the Consenting Noteholders; (l) the Funded Debt Trustees;
         and (m) with respect to each of the foregoing entities (a) through (l), such entities’
27

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1        predecessors, successors, assigns, subsidiaries, affiliates, managed accounts and funds,
         current and former officers and directors, principals, equity holders, members, partners,
2        managers, employees, subcontractors, agents, advisory board members, restructuring
         advisors, financial advisors, attorneys, accountants, investment bankers, consultants,
3        representatives, management companies, fund advisors (and employees thereof), and other
4        professionals, and such entities’ respective heirs, executors, estates, servants, and nominees,
         in each case in their capacity as such.
5
                 1.180 Releasing Parties means, collectively, and, in each case, in their capacities as
6        such: (a) the Debtors; (b) the Reorganized Debtors, (c) any holder of a Claim or Interest that
         is solicited and voluntarily indicates on a duly completed Ballot submitted on or before the
7        Voting Deadline that such holder opts into granting the releases set forth in Section 10.9(b)
         of the Plan to the extent permitted by applicable law, provided that for the avoidance of
8
         doubt any such a holder who does not indicate on their Ballot that they opt into granting such
9        releases shall not be a Releasing Party, provided further that such holder’s decision to opt-in
         or not to the releases shall not in any way affect the classification or treatment of such Claim
10       or Interest; (d) the DIP Facility Agents; (e) the DIP Facility Lenders; (f) the Exit Financing
         Agents; (g) the Exit Financing Lenders; (h) the Funded Debt Trustees; (i) the HoldCo
11       Revolver Lenders; (j) the HoldCo Term Loan Lenders; (k) the Utility Revolver Lenders; (l)
         the Utility Term Loan Lenders; (m) the holders of Utility Senior Note Claims; (n) the Public
12
         Entities Releasing Parties; (o) the Tort Claimants Committee; (p) the Backstop Parties; (q)
13       the Consenting Creditors; (r) the Consenting Noteholders; and (s) with respect to each of the
         foregoing entities (a) through (r), such entities’ predecessors, successors, assigns,
14       subsidiaries, affiliates, managed accounts and funds, current and former officers and
         directors, principals, equity holders, members, partners, managers, employees,
15       subcontractors, agents, advisory board members, restructuring advisors, financial advisors,
16       attorneys, accountants, investment bankers, consultants, representatives, management
         companies, fund advisors (and employees thereof), and other professionals, and such
17       entities’ respective heirs, executors, estates, servants, and nominees, in each case in their
         capacity as such.
18
                1.181 Reorganized Debtors means each of the Debtors, or any successor thereto, as
19       reorganized, pursuant to and under the Plan, on and after the Effective Date.
20              1.182 Reorganized HoldCo means HoldCo as reorganized, pursuant to and under
21       the Plan, on and after the Effective Date.

22              1.183 Reorganized Utility means the Utility as reorganized, pursuant to and under
         the Plan, on and after the Effective Date.
23
                1.184 Restructuring means the restructuring of the Debtors, the principal terms of
24       which are set forth in the Plan, the Plan Documents and the Plan Supplement.
25              1.185 Restructuring Transactions has the meaning set forth in Section 6.2(a) of
         the Plan.
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1                1.186 Rights Offering means, if implemented, an offering pursuant to which each
         Eligible Offeree is entitled to receive subscription rights to acquire shares of New HoldCo
2        Common Stock in accordance with the Plan, the Rights Offering Procedures, and the
         Backstop Commitment Letters.
3
                1.187 Requisite Consenting Creditors has the meaning set forth in Subrogation
4
         Claims RSA.
5
                 1.188 Rights Offering Procedures means, if applicable, the procedures governing
6        and for the implementation of the Rights Offering, as approved by the Bankruptcy Court.

7               1.189 Schedule of Assigned Rights and Causes of Action means the schedule to
         be included in the Plan Supplement that is consistent in all respects with the definition of
8        Assigned Rights and Causes of Action.
9               1.190 Schedule of Rejected Contracts means the schedule of executory contracts
10       and unexpired leases to be rejected by the Debtors pursuant to the Plan, to be filed as part of
         the Plan Supplement.
11
                 1.191 Schedules means the schedules of assets and liabilities and the statements of
12       financial affairs filed by the Debtors under section 521 of the Bankruptcy Code, Bankruptcy
         Rule 1007, and the Official Bankruptcy Forms of the Bankruptcy Rules as such schedules
13       and statements have been or may be amended, supplemented, or modified from time to time.
14               1.192 Secured Claim means any Claim against a Debtor secured by a Lien on
15       property in which a Debtor’s estate has an interest or that is subject to setoff under section
         553 of the Bankruptcy Code, to the extent of the value of the Claim holder’s interest in such
16       estate’s interest in such property or to the extent of the amount subject to setoff, as
         applicable, as determined pursuant to sections 506(a) and, if applicable, 1129(b) of the
17       Bankruptcy Code.
18               1.193 Securities Act means the Securities Act of 1933, as amended from time to
19       time.

20               1.194 Security has the meaning set forth in section 101(49) of the Bankruptcy
         Code.
21
                 1.195 Side B Insurance Coverage means all director and officer insurance policy
22       proceeds paid by any insurance carrier to reimburse the Debtors for amounts paid pursuant to
         their indemnification obligations to their former directors and officers in connection with any
23       Assigned Rights or Causes of Action under Section 1.8 hereof.
24
                1.196 Statutory Committees means collectively, the Creditors Committee and the
25       Tort Claimants Committee.

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1               1.197 Subordinated Debt Claim means any HoldCo Subordinated Debt Claim and
         any Utility Subordinated Debt Claim.
2
                 1.198 Subrogation Butte Fire Claim means any Fire Claim arising from the Butte
3        Fire (2015) that arises from subrogation (whether such subrogation is contractual, equitable,
         or statutory), assignment (whether such assignment is contractual, equitable, or statutory), or
4
         otherwise in connection with payments made or to be made by the applicable insurer to
5        insured tort victims, and whether arising as a matter of state or federal law, including,
         without limitation, under section 509 of the Bankruptcy Code, including attorneys’ fees and
6        interest. Subrogation Butte Fire Claims shall not include the claims of any Governmental
         Unit (as defined in section 101(27) of the Bankruptcy Code).
7
                1.199 Subrogation Claims RSA means that certain Restructuring Support
8        Agreement, dated as of September 22, 2019, by and among the Debtors and the Consenting
9        Creditors, as amended, supplemented, restated, or otherwise modified from time to time, in
         accordance with its terms.
10
                1.200 Subrogation Claims RSA Approval Order means the order of the
11       Bankruptcy Court, dated December 19, 2019, approving the Subrogation Claims RSA and
         the Allowance of the Utility Subrogation Wildfire Claims as provided therein [Docket No.
12       5173].
13               1.201 Subrogation Wildfire Claim means any Fire Claim (other than a Fire Claim
14       arising from the Butte Fire (2015)) that arises from subrogation (whether such subrogation is
         contractual, equitable, or statutory), assignment (whether such assignment is contractual,
15       equitable, or statutory), or otherwise in connection with payments made or to be made by the
         applicable insurer to insured tort victims, and whether arising as a matter of state or federal
16       law, including, without limitation, under section 509 of the Bankruptcy Code, including
         attorneys’ fees and interest. For the avoidance of doubt, Subrogation Wildfire Claims shall
17
         include both “Paid” and “Reserved” claims, each as defined in the Subrogation Claims RSA.
18       Subrogation Wildfire Claims shall not include (a) the claims of any Governmental Unit
         (as defined in section 101(27) of the Bankruptcy Code) or (b) any Fire Claim asserting direct
19       injury to a fire victim, regardless of whether the claimant is an insured and has received or
         will receive a recovery from their insurer, and any such claims are not the subject of, or
20       compromised under, the Subrogation Claims RSA.
21              1.202 Subrogation Wildfire Claim Allocation Agreement means the agreement
22       entered into by and among certain holders of Subrogation Wildfire Claims, and which
         describes the procedures for the payment of Subrogation Wildfire Claims by the Subrogation
23       Wildfire Trust, consistent with the terms of the Subrogation Claims RSA.

24               1.203 Subrogation Wildfire Trust means one or more trusts established on the
         Effective Date, in accordance with Section 6.4 of the Plan, to administer, process, settle,
25       resolve, liquidate, satisfy and pay all Subrogation Wildfire Claims.
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1               1.204 Subrogation Wildfire Trust Advisory Board means the advisory board
         appointed by the holders of Subrogation Wildfire Claims in accordance with the Subrogation
2        Wildfire Claim Allocation Agreement to oversee the Subrogation Wildfire Trust in
         accordance with the Plan, the Subrogation Wildfire Trust Agreement, and the Subrogation
3        Wildfire Claim Allocation Agreement.
4
                1.205 Subrogation Wildfire Trust Agreement means that certain trust agreement
5        or agreements substantially in the form included in the Plan Supplement, which shall be in
         form and substance satisfactory to the Ad Hoc Subrogation Group (as defined in the
6        Subrogation Claims RSA) in accordance with the Subrogation Wildfire Claim Allocation
         Agreement, and the Debtors (whose consent will not be unreasonably withheld).
7
                 1.206 Subrogation Wildfire Trustee means the Person selected by the holders of
8        Subrogation Wildfire Claims in accordance with the Subrogation Wildfire Claim Allocation
9        Agreement to serve as the trustee or trustees of the Subrogation Wildfire Trust, and any
         successor thereto, in each case, appointed pursuant to the Subrogation Wildfire Trust
10       Agreement; provided that, in the event the Debtors intend that a Subrogation Wildfire Trust
         will be funded (at least in part) through the issuance of tax-exempt bonds, the identity of the
11       Person or Persons to be selected to serve as the trustee of such Subrogation Wildfire Trust
         shall not impair the use of tax-exempt financing.
12
                 1.207 Tax Benefits mean the difference between the income taxes actually paid by
13
         the Reorganized Utility and the income taxes that the Reorganized Utility would have paid to
14       the taxing authorities for such taxable year absent the net operating losses of the Utility and
         any deductions arising from the payment of Fire Victim Claims and Subrogation Wildfire
15       Claims.
16               1.208 Tax Benefits Payment Agreement means an agreement between the
         Reorganized Utility and the Fire Victim Trust pursuant to which the Reorganized Utility
17
         agrees (a) to pay to the Fire Victim Trust an amount of cash equal to (i) up to $650 million of
18       Tax Benefits for fiscal year 2020 to be paid on or before January 15, 2021 (the “First
         Payment Date”); and (ii) up to $700 million of Tax Benefits for fiscal year 2021 to be paid
19       on or before January 15, 2022 (the “Final Payment Date”) plus the amount of any shortfall
         of the payments owed on the First Payment Date and the Final Payment Date so that on the
20       Final Payment Date, the Fire Victim Trust shall have received payments under the Tax
         Benefits Payment Agreement in an aggregate cash amount of $1.350 billion from Tax
21
         Benefits or draws upon letters of credit under the terms of this definition or otherwise; (b) in
22       the event that Tax Benefits in fiscal year 2020 exceed $650 million, the Reorganized Utility
         shall use such excess Tax Benefits to prepay, on or before the First Payment Date the amount
23       of Tax Benefits to be paid for fiscal year 2021; (c) in the event that payments from the Tax
         Benefits Payment Agreement received on or before the First Payment Date are less than $650
24       million for any reason (a “First Payment Shortfall”), the Reorganized Utility shall deliver
         to the Fire Victim Trust an unconditional, standby letter of credit, payable at sight (with no
25
         approval or confirmation from the Reorganized Utility or other drawing conditions) and
26       otherwise in form and substance satisfactory to the Fire Victim Trustee, naming the Fire

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1        Victim Trust as beneficiary the (“LOC”), from an institution acceptable to the Fire Victim
         Trust within fifteen (15) business days of the First Payment Date (the “LOC Issuance
2        Date”) in an amount to cover such First Payment Shortfall, which may be presented to the
         issuing bank for payment to the Fire Victim Trust on February 9, 2022 to the extent that any
3        amounts remain owing to the Fire Victim Trust under the Tax Benefits Payment Agreement
4        on that date; (d) if the Reorganized Utility has not delivered such letter of credit within ten
         (10) days of the LOC Issuance Date, then the Fire Victim Trust shall have the right to file a
5        stipulated judgment against the Reorganized Utility, which executed stipulated judgment
         shall be an exhibit to the Tax Benefits Payment Agreement, in the amount of the First
6        Payment Shortfall based on a declaration by the Fire Victim Trustee of the Reorganized
         Utility’s failure to comply with this requirement of the Tax Benefits Payment Agreement; (e)
7        in the event that payments from the Tax Benefits Payment Agreement and LOC received on
8        or before the Final Payment Date are less than $1.350 billion for any reason (a “Final
         Payment Shortfall”) then on February 9, 2022, the Fire Victim Trust shall have the right to
9        file a stipulated judgment against the Reorganized Utility, which executed stipulated
         judgment shall be an exhibit to the Tax Benefits Payment Agreement, in the amount of the
10       Final Payment Shortfall based on a declaration by the Fire Victim Trustee of the
         Reorganized Utility’s failure to comply with this requirement of the Tax Benefits Payment
11       Agreement; (f) in the event there is a change of control as defined within the meaning of
12       Section of 382 of the Internal Revenue Code after and other than as a result of the occurrence
         of the Effective Date, if any, all such payments provided for in (a)(i) and (ii) shall become
13       automatically due and payable within fifteen days of such change in control (and the letter of
         credit, if issued, may be drawn); and (g) in the event that the Reorganized Utility obtains
14       financing that monetizes or is otherwise secured by any Tax Benefits, the Reorganized
         Utility shall use the first $1.350 billion in proceeds of such financing to make all payments in
15
         (a)(i) and (ii) above to the Fire Victim Trust on January 15, 2021.
16
                 1.209 Tax Code means title 26 of the United States Code, as amended from time to
17       time.

18              1.210 Tort Claimants Committee means the official committee of tort claimants
         appointed by the U.S. Trustee in the Chapter 11 Cases pursuant to section 1102 of the
19       Bankruptcy Code.
20              1.211 Tort Claimants RSA means that certain Restructuring Support Agreement,
21       dated December 6, 2019, by and among the Debtors, the Tort Claimants Committee, the
         Consenting Fire Claimant Professionals, and the Shareholder Proponents, as amended,
22       supplemented, restated, or otherwise modified from time to time, in accordance with its
         terms.
23
                1.212 Trading Order means the Final Order Pursuant to Sections 105(a) and 362
24       of the Bankruptcy Code Establishing (1) Notification Procedures and Certain Restrictions
         Regarding Ownership and Acquisitions of Stock of the Debtors and (2) a Record Date
25
         Regarding the Ownership of Claims Against the Debtors with Respect to Certain Notification
26       and Sell-Down Procedures and Requirements, dated March 27, 2019 [Docket No. 1094].

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1                1.213 U.S. Trustee means Andrew S. Vara, Acting United States Trustee for
         Regions 3 and 9, or such other person appointed to serve as the United States Trustee in
2        respect of the Chapter 11 Cases.
3                1.214 Unimpaired means, with respect to a Claim, Interest, or Class of Claims or
         Interests, not “impaired” within the meaning of section 1124 of the Bankruptcy Code.
4
5               1.215 Utility means Debtor Pacific Gas and Electric Company, a California
         corporation.
6
                1.216 Utility Common Interest means any Interest in the Utility that is not a Utility
7        Preferred Interest.

8                   1.217 Utility Environmental Claim means any Environmental Claim against the
         Utility.
9
                    1.218 Utility Fire Victim Claim means any Fire Victim Claim against the Utility.
10

11               1.219 Utility Funded Debt Claim means any Claim arising under, or related to, the
         Utility Funded Debt Documents.
12
                 1.220 Utility Funded Debt Claim Interest and Charges Amount means the sum
13       of (i) interest on the applicable Utility Funded Debt Claim Principal Amount that was
         accrued and unpaid prior to the Petition Date calculated using the applicable non-default
14       contract rate, (ii) reasonable fees and charges and other obligations owed as of the Petition
         Date to the extent provided in the applicable Utility Funded Debt Document, (iii) reasonable
15
         attorneys’ fees and expenses of counsel to the agents and certain lenders under the Utility
16       Revolver Documents and Utility Term Loan Documents and certain holders of claims under
         PC Bond LOC Documents solely to the extent provided in the applicable Utility Funded
17       Debt Document, not to exceed $7 million in the aggregate; and (iv) interest calculated using
         the Federal Judgment Rate on the sum of the applicable Utility Funded Debt Claim Principal
18       Amount plus the amounts in clauses (i) and (ii) of this definition for the period commencing
19       on the day after the Petition Date (or with respect to a Utility Funded Debt Claim based upon
         a PC Bond LOC Document, the later of the day after the Petition Date and the date on which
20       such reimbursement obligation was actually paid) and ending on the Effective Date.

21               1.221 Utility Funded Debt Claim Principal Amount means the portion of an
         Utility Funded Debt Claim consisting of principal outstanding as of the Petition Date, or,
22       with respect to claims under a PC Bond LOC Document, the reimbursement obligation,
         actually paid under such PC Bond LOC Document.
23
24            1.222 Utility Funded Debt Documents means, collectively, the (i) Utility Revolver
         Documents, (ii) Utility Term Loan Documents, and (iii) PC Bond Documents.
25

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1                1.223 Utility General Unsecured Claim means any General Unsecured Claim
         against the Utility.
2
                    1.224 Utility Ghost Ship Fire Claim means any Ghost Ship Fire Claim against the
3        Utility.
4                 1.225 Utility Impaired Senior Note Claim Interest Amount means the sum of
5        (i) interest on the applicable Utility Impaired Senior Note Claim Principal Amount that was
         accrued and unpaid prior to the Petition Date calculated using the applicable non-default
6        contract rate plus (ii) interest calculated using the Federal Judgment Rate on the sum of the
         applicable principal of an Utility Impaired Senior Note Claim plus the amount in clause (i) of
7        this definition for the period commencing on the day after the Petition Date and ending on
         the Effective Date.
8
                 1.226 Utility Impaired Senior Note Claim Principal Amount means the portion
9
         of an Utility Impaired Senior Note Claim consisting of principal outstanding as of the
10       Petition Date.

11               1.227 Utility Impaired Senior Note Claims means any Claim arising under, or
         related to, the Utility Impaired Senior Note Documents.
12
                1.228 Utility Impaired Senior Note Documents means, collectively, the Utility
13       Senior Notes Indentures governing the Utility Impaired Senior Notes, including all
         agreements, notes, instruments, and any other documents delivered pursuant thereto or in
14
         connection therewith (in each case, as amended, supplemented, restated, or otherwise
15       modified from time to time).

16               1.229 Utility Impaired Senior Notes means, collectively, the following series of
         notes issued by the Utility pursuant to the Utility Senior Notes Indentures: (a) 6.05% Senior
17       Notes due 2034; (b) 5.80% Senior Notes due March 1, 2037; (c) 6.35% Senior Notes due
         February 15, 2038; (d) 6.25% Senior Notes due March 1, 2039; (e) 5.40% Senior Notes due
18
         January 15, 2040; and (f) 5.125% Senior Notes due November 15, 2043.
19
                    1.230 Utility Intercompany Claim means any Intercompany Claim against the
20       Utility.

21             1.231 Utility Issuing Lender means an Issuing Lender (as defined in the Utility
         Revolver Credit Agreement).
22
               1.232 Utility Letters of Credit means any letters of credit issued by a Utility
23       Revolver Lender pursuant to the Utility Revolver Documents.
24
                    1.233 Utility Other Secured Claim means any Other Secured Claim against the
25       Utility.

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1                1.234 Utility PC Bond (2008 F and 2010 E) Claim means any Claim arising under,
         or related to, the PC Bond (2008 F and 2010 E) Documents.
2
                 1.235 Utility Preferred Interest means any Interest in the Utility which results or
3        arises from preferred stock issued by the Utility.
4                1.236 Utility Priority Non-Tax Claim means any Priority Non-Tax Claim against
5        the Utility.

6               1.237 Utility Public Entities Wildfire Claim means any Public Entities Wildfire
         Claim against the Utility.
7
                 1.238 Utility Reinstated Senior Note Claims means any Claim arising under, or
8        related to, the Utility Reinstated Senior Note Documents.
9               1.239 Utility Reinstated Senior Note Documents means, collectively, the Utility
         Senior Notes Indentures governing the Utility Reinstated Senior Notes, including all
10
         agreements, notes, instruments, and any other documents delivered pursuant thereto or in
11       connection therewith (in each case, as amended, supplemented, restated, or otherwise
         modified from time to time).
12
                 1.240 Utility Reinstated Senior Notes means, collectively, all notes issued by the
13       Utility under the Utility Senior Notes Indentures that (a) will not have matured in accordance
         with their terms as of September 30, 2020; and (b) are not (x) Utility Impaired Senior Notes
14       or (y) Utility Short-Term Senior Notes.
15
                1.241 Utility Revolver Agent means Citibank, N.A., solely in its capacity as
16       administrative agent under the Utility Revolver Documents, its successors, assigns, or any
         replacement agent appointed pursuant to the terms of the Utility Revolver Documents.
17
                1.242 Utility Revolver Credit Agreement means that certain Second Amended and
18       Restated Credit Agreement, dated as of April 27, 2015, by and among Utility, the Utility
         Revolver Agent, and the Utility Revolver Lenders, as amended, supplemented, restated, or
19
         otherwise modified from time to time.
20
                 1.243 Utility Revolver Documents means, collectively, the Utility Revolver Credit
21       Agreement and all other “Loan Documents” (as defined therein), including all other
         agreements, documents, and instruments delivered or entered into pursuant thereto or entered
22       into in connection therewith (in each case, as amended, supplemented, restated, or otherwise
         modified from time to time).
23
                1.244 Utility Revolver Lenders means the lenders under the Utility Revolver
24
         Credit Agreement and each other party that becomes a lender thereunder from time to time in
25       accordance with the terms of the Utility Revolver Credit Agreement.

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1               1.245 Utility Senior Note Claim means, collectively, Utility Impaired Senior Note
         Claims, Utility Reinstated Senior Note Claims, and Utility Short-Term Senior Note Claims.
2
                1.246 Utility Senior Notes means, collectively, the following series of notes issued
3        by the Utility pursuant to the Utility Senior Notes Indentures: (a) 3.50% Senior Notes due
         October 1, 2020; (b) 4.25% Senior Notes due May 15, 2021; (c) 3.25% Senior Notes due
4
         September 15, 2021; (d) 2.45% Senior Notes due August 15, 2022; (e) 3.25% Senior Notes
5        due June 15, 2023; (f) 4.25% Senior Notes due August 1, 2023; (g) 3.85% Senior Notes due
         November 15, 2023; (h) 3.75% Senior Notes due February 15, 2024; (i) 3.40% Senior Notes
6        due August 15, 2024; (j) 3.50% Senior Notes due June 15, 2025, (k) 2.95% Senior Notes due
         March 1, 2026; (l) 3.30% Senior Notes due March 15, 2027; (m) 3.30% Senior Notes due
7        December 1, 2027; (n) 4.65% Senior Notes due August 1, 2028; (o) 6.05% Senior Notes
         due March 1, 2034; (p) 5.80% Senior Notes due March 1, 2037; (q) 6.35% Senior Notes due
8
         February 15, 2038; (r) 6.25% Senior Notes due March 1, 2039; (s) 5.40% Senior Notes due
9        January 15, 2040; (t) 4.50% Senior Notes due December 15, 2041; (u) 4.45% Senior Notes
         due April 15, 2042; (v) 3.75% Senior Notes due August 15, 2042; (w) 4.60% Senior Notes
10       due June 15, 2043; (x) 5.125% Senior Notes due November 15, 2043; (y) 4.75% Senior
         Notes due February 15, 2044; (z) 4.30% Senior Notes due March 15, 2045; (aa) 4.25%
11       Senior Notes due March 15, 2046; (bb) 4.00% Senior Notes due December 1, 2046; and (cc)
         3.95% Senior Notes due December 1, 2047.
12
13               1.247 Utility Senior Notes Documents means, collectively, the Utility Senior Notes
         Indentures, the Utility Senior Notes, and all other agreements, documents, and instruments
14       delivered or entered into pursuant thereto or entered into in connection therewith (in each
         case, as amended, restated, modified, or supplemented from time to time).
15
                 1.248 Utility Senior Notes Indentures means, the following senior notes
16       indentures and supplemental indentures, between the Utility, as issuer, and the Utility Senior
17       Notes Trustee, governing the Utility Senior Notes, including all agreements, notes,
         instruments, and any other documents delivered pursuant thereto or in connection therewith
18       (in each case, as amended, supplemented, restated, or otherwise modified from time to time):
         (a) Indenture, Dated as of April 22, 2005, Supplementing, Amending and Restating the
19       Indenture of Mortgage, dated as of March 11, 2004, as supplemented by a First Supplemental
         Indenture, dated as of March 23, 2004 and a Second Supplemental Indenture, dated as of
20       April 12, 2004 (“Amended and Restated Indenture, dated as of April 22, 2005”); (b) First
21       Supplemental Indenture, Dated as of March 13, 2007 – Supplement to the Amended and
         Restated Indenture Dated as of April 22, 2005; (c) Third Supplemental Indenture, Dated as
22       of March 3, 2008 – Supplement to the Amended and Restated Indenture, Dated as of April
         22, 2005; (d) Sixth Supplemental Indenture, Dated as of March 6, 2009 – Supplement to the
23       Amended and Restated Indenture, Dated as of April 22, 2005; (e) Seventh Supplemental
         Indenture, Dated as of June 11, 2009 – Supplement to the Amended and Restated Indenture,
24       Dated as of April 22, 2005 (f) Eighth Supplemental Indenture Dated as of November 18,
25       2009 – Supplement to the Amended and Restated Indenture Dated as of April 22, 2005; (g)
         Ninth Supplemental Indenture, Dated as of April 1, 2010 – Supplement to the Amended and
26       Restated Indenture, Dated as of April 22, 2005; (h) Tenth Supplemental Indenture, Dated as

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1        of September 15, 2010 – Supplement to the Amended and Restated Indenture, Dated as of
         April 22, 2005; (i) Twelfth Supplemental Indenture, Dated as of November 18, 2010 –
2        Supplement to the Amended and Restated Indenture, Dated as of April 22, 2005; (j)
         Thirteenth Supplemental Indenture Dated as of May 13, 2011 – Supplement to the Amended
3        and Restated Indenture Dated as of April 22, 2005; (k) Fourteenth Supplemental Indenture
4        Dated as of September 12, 2011 – Supplement to the Amended and Restated Indenture Dated
         as of April 22, 2005; (l) Sixteenth Supplemental Indenture, Dated as of December 1, 2011 –
5        Supplement to the Amended and Restated Indenture, Dated as of April 22, 2005; (m)
         Seventeenth Supplemental Indenture, Dated as of April 16, 2012 – Supplement to the
6        Amended and Restated Indenture, Dated as of April 22, 2005; (n) Eighteenth Supplemental
         Indenture, Dated as of August 16, 2012 – Supplement to the Amended and Restated
7        Indenture, Dated as of April 22, 2005; (o) Nineteenth Supplemental Indenture, Dated as of
8        June 14, 2013 – Supplement to the Amended and Restated Indenture, Dated as of April 22,
         2005; (p) Twentieth Supplemental Indenture, Dated as of November 12, 2013 – Supplement
9        to the Amended and Restated Indenture, Dated as of April 22, 2005; (q) Twenty-First
         Supplemental Indenture, Dated as of February 21, 2014 – Supplement to the Amended and
10       Restated Indenture, Dated as of April 22, 2005; (r) Twenty-Third Supplemental Indenture,
         Dated as of August 18, 2014 – Supplement to the Amended and Restated Indenture, Dated as
11       of April 22, 2005; (s) Twenty-Fourth Supplemental Indenture, Dated as of November 6, 2014
12       – Supplement to the Amended and Restated Indenture, Dated as of April 22, 2005; (t)
         Twenty-Fifth Supplemental Indenture, Dated as of June 12, 2015 – Supplement to the
13       Amended and Restated Indenture, Dated as of April 22, 2005; (u) Twenty-Sixth
         Supplemental Indenture, Dated as of November 5, 2015 – Supplement to the Amended and
14       Restated Indenture, Dated as of April 22, 2005; (v) Twenty-Seventh Supplemental
         Indenture, Dated as of March 1, 2016 – Supplement to the Amended and Restated Indenture,
15
         Dated as of April 22, 2005; (w) Twenty-Eighth Supplemental Indenture, Dated as of
16       December 1, 2016 – Supplement to the Amended and Restated Indenture, Dated as of April
         22, 2005; (x) Twenty-Ninth Supplemental Indenture, Dated as of March 10, 2017 –
17       Supplement to the Amended and Restated Indenture, Dated as of April 22, 2005; (y)
         Indenture, Dated as of November 29, 2017; (z) Indenture, Dated as of August 6, 2018; and
18       (aa) First Supplemental Indenture Dated as of August 6, 2018, to Indenture, Dated as of
         August 6, 2018.
19

20               1.249 Utility Senior Notes Trustee means BOKF, N.A., as successor indenture
         trustee to The Bank of New York Mellon Trust Company solely in its capacity as indenture
21       trustee under the Utility Senior Notes Indentures for the applicable Utility Senior Notes, and
         their successors and assigns.
22
                 1.250 Utility Short-Term Senior Note Claims means any Claim arising under, or
23       related to, the Utility Short-Term Senior Note Documents.
24                1.251 Utility Short-Term Senior Note Claim Interest Amount means the sum of
25       (i) interest on the applicable Utility Short-Term Senior Note Claim Principal Amount that
         was accrued and unpaid prior to the Petition Date calculated using the applicable non-default
26       contract rate plus (ii) interest calculated using the Federal Judgment Rate on the sum of the

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1        applicable principal of an Utility Short-Term Senior Note Claim plus the amount in clause (i)
         of this definition for the period commencing on the day after the Petition Date and ending on
2        the Effective Date.
3                1.252 Utility Short-Term Senior Note Claim Principal Amount means the
         portion of an Utility Short-Term Senior Note Claim consisting of principal outstanding as of
4
         the Petition Date.
5
                1.253 Utility Short-Term Senior Note Documents means, collectively, the Utility
6        Senior Notes Indentures governing Utility Short-Term Senior Notes, including all
         agreements, notes, instruments, and any other documents delivered pursuant thereto or in
7        connection therewith (in each case, as amended, supplemented, restated, or otherwise
         modified from time to time).
8
                 1.254 Utility Short-Term Senior Notes means, collectively, the following series of
9
         notes issued by the Utility pursuant to the Utility Senior Notes Indentures: (a) 3.50% Senior
10       Notes due October 1, 2020; (b) 4.25% Senior Notes due May 15, 2021; (c) 3.25% Senior
         Notes due September 15, 2021; and (d) 2.45% Senior Notes due August 15, 2022.
11
                 1.255 Utility Subordinated Debt Claim means any Claim against the Utility that is
12       subject to subordination under section 510(b) of the Bankruptcy Code, including any Claim
         for reimbursement, indemnification or contribution.
13
                 1.256 Utility Subrogation Wildfire Claim means any Subrogation Wildfire Claim
14
         against the Utility.
15
                 1.257 Utility Term Loan Agent means The Bank of Tokyo- Mitsubishi UFJ, Ltd.,
16       solely in its capacity as administrative agent under the Utility Term Loan Documents, its
         successors, assigns, or any replacement agent appointed pursuant to the terms of the Utility
17       Term Loan Documents.
18               1.258 Utility Term Loan Credit Agreement means that certain Term Loan
19       Agreement, dated as of February 23, 2018, by and among the Utility as borrower, the Utility
         Term Loan Agent, and the Utility Term Loan Lenders, as amended, supplemented, restated,
20       or otherwise modified from time to time.

21               1.259 Utility Term Loan Documents means, collectively, the Utility Term Loan
         Credit Agreement and all other “Loan Documents” (as defined therein), including all other
22       agreements, documents, and instruments delivered or entered into pursuant thereto or entered
         into in connection therewith (in each case, as amended, supplemented, restated, or otherwise
23
         modified from time to time).
24
                1.260 Utility Term Loan Lenders means the lenders under the Utility Term Loan
25       Credit Agreement and each other party that becomes a lender thereunder from time to time in
         accordance with the terms of the Utility Term Loan Credit Agreement.
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1               1.261 Utility Workers’ Compensation Claim means any Workers’ Compensation
         Claim against the Utility.
2
                1.262 Voting Deadline means May 15, 2020 at 4:00 p.m. (Prevailing Pacific Time)
3        or such other date set by the Bankruptcy Court by which all completed Ballots must be
         received.
4
5                1.263 Wildfire Assistance Program means the Wildfire Assistance Program
         established and administered pursuant to the Wildfire Assistance Program Orders.
6
                1.264 Wildfire Assistance Program Orders means, collectively, the Order
7        Authorizing Debtors to Establish and Fund Program to Assist Wildfire Claimants with
         Alternative Living Expenses and Other Urgent Needs and (b) Granting Related Relief, dated
8        May 24, 2019 [Docket No. 2223], the Supplemental Order (a) Approving Appointment of
         Administrator and Establishing Guidelines for the Wildfire Assistance Program and (b)
9
         Granting Related Relief, dated June 5, 2019 [Docket No. 2409], and the Order (a)
10       Establishing Qualified Settlement Fund for the Wildfire Assistance Program and (b)
         Authorizing QSF Administrator, dated July 17, 2019 [Docket No. 3026].
11
                1.265 Wildfire Insurance Policy means any Insurance Policy that was issued or
12       allegedly issued that does or may afford the Debtors rights, benefits, indemnity, or insurance
         coverage with respect to any Fire Claim.
13
                1.266 Wildfire Insurance Proceeds means any proceeds received by the Debtors
14
         under a Wildfire Insurance Policy.
15
                  1.267 Wildfire Legislation (A.B. 1054) means A.B. 1054, 2019 Assemb. (Cal.
16       2019).

17              1.268 Wildfire Trust Agreements means, collectively, the Subrogation Wildfire
         Trust Agreement and the Fire Victim Trust Agreement.
18
                1.269 Wildfire Trusts means, collectively, the Subrogation Wildfire Trust and the
19
         Fire Victim Trust.
20
               1.270 Workers’ Compensation Claims means any Claim against the Debtors by an
21       employee of the Debtors for the payment of workers’ compensation benefits under applicable
         law.
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1
               INTERPRETATION; APPLICATION OF DEFINITIONS AND RULES OF CONSTRUCTION.
2
             For purposes herein: (a) the words “herein,” “hereof,” “hereto,” “hereunder,” and other
3    words of similar import refer to the Plan as a whole and not to any particular section, subsection, or
     clause contained therein; (b) in the appropriate context, each term, whether stated in the singular or
4
     the plural, shall include both the singular and the plural, and pronouns stated in the masculine,
5    feminine, or neuter gender shall include the masculine, feminine, and the neuter gender; (c) except
     as otherwise provided, any reference herein to a contract, lease, instrument, release, indenture, or
6    other agreement or document being in a particular form or on particular terms and conditions means
     that the referenced document shall be substantially in that form or substantially on those terms and
7    conditions; (d) the words “include” and “including,” and variations thereof, shall not be deemed to
     be terms of limitation, and shall be deemed to be followed by the words “without limitation;” (e) a
8
     term used herein that is not defined herein or by cross reference shall have the meaning assigned to
9    that term in the Bankruptcy Code; (f) the rules of construction contained in section 102 of the
     Bankruptcy Code shall apply to the Plan; (g) the headings in the Plan are for convenience of
10   reference only and shall not limit or otherwise affect the provisions hereof; (h) in the event that a
     particular term of the Plan (including any exhibits or schedules hereto) conflicts with a particular
11   term of the definitive documentation required to be implemented pursuant to the terms of the Plan or
     any settlement or other agreement contemplated hereunder, the Plan shall control; provided, for the
12
     avoidance of doubt, to the extent the Confirmation Order conflicts with the Plan, the Confirmation
13   Order shall control for all purposes; (i) except as otherwise provided, any reference herein to an
     existing document or exhibit having been filed or to be filed shall mean that document or exhibit, as
14   it may thereafter be amended, restated, supplemented, or otherwise modified in accordance with the
     terms of the Plan; (j) any effectuating provisions may be interpreted by the Reorganized Debtors in a
15   manner consistent with the overall purpose and intent of the Plan, all without further notice to or
16   action, order, or approval of the court or any other entity, and such interpretation shall control in all
     respects to the extent permitted by Section 12.6 hereof; (k) any effectuating provisions relating to
17   the Fire Victim Claims, Fire Victim Trust, Subrogation Wildfire Claims, or Subrogation Wildfire
     Trust may be interpreted by the Fire Victim Trustee or the Subrogation Wildfire Trustee, as
18   applicable, in a manner consistent with the overall purpose and intent of the Plan, all without further
     notice to or action, order, or approval of the court or any other entity, and such interpretation shall
19   control in all respects to the extent permitted by the Fire Victim Trust Agreement, Fire Victim
20   Claims Resolution Procedures, Subrogation Wildfire Trust Agreement, and Subrogation Wildfire
     Claim Allocation Agreement, as applicable; (l) except as otherwise provided, any reference to the
21   Effective Date shall mean the Effective Date or as soon as reasonably practicable thereafter; and (m)
     any docket number references in the Plan shall refer to the docket number of any document filed
22   with the Bankruptcy Court in the Chapter 11 Cases.
23                                         CERTAIN CONSENT RIGHTS.
24
             Notwithstanding anything in the Plan to the contrary, and without limiting the Debtors’
25   fiduciary duties, any and all consent rights of any party set forth in the Public Entities Plan Support
     Agreements, the Backstop Commitment Letters, the Subrogation Claims RSA, the Tort Claimants
26   RSA, the Noteholder RSA, or any other plan support agreement that the Debtors hereafter enter into

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1    with any other parties with respect to the form and substance of this Plan, the Plan Supplement, the
     Plan Documents, including any amendments, restatements, supplements, or other modifications to
2    such documents, and any consents, waivers, or other deviations under or from any such documents,
     shall be incorporated herein by this reference (including to the applicable definitions in Article I
3    hereof) and fully enforceable as if stated in full herein until such time as the Public Entities Plan
4    Support Agreements, the Backstop Commitment Letters, the Subrogation Claims RSA, the Tort
     Claimants RSA, the Noteholder RSA, or, as applicable, such other plan support agreements, are
5    terminated in accordance with their terms.

6                                                ARTICLE II.

7         ADMINISTRATIVE EXPENSE CLAIMS, PRIORITY TAX CLAIMS AND OTHER
                              UNCLASSIFIED CLAIMS
8

9                    2.1    Administrative Expense Claims. In full and final satisfaction, settlement,
     release, and discharge of any Allowed Administrative Expense Claim against a Debtor, except to the
10   extent the Debtors or Reorganized Debtors, as applicable, and a holder of an Allowed
     Administrative Expense Claim against a Debtor agrees to a less favorable treatment of such
11   Administrative Expense Claim, on the Effective Date or as soon as reasonably practicable thereafter,
     each holder of an Allowed Administrative Expense Claim shall receive, in full and final satisfaction,
12
     settlement, and discharge of such Allowed Administrative Expense Claim, an amount in Cash equal
13   to the Allowed amount of such Administrative Expense Claim; provided that any Allowed
     Administrative Expense Claim that is not due and payable prior to the Effective Date, shall be paid
14   by the Debtors or the Reorganized Debtors, as applicable, in the ordinary course of business,
     consistent with past practice and in accordance with the terms and subject to the conditions of any
15   orders or agreements governing, instruments evidencing, or other documents establishing, such
     liabilities. For the avoidance of doubt, no Administrative Expense Claims shall be discharged
16
     pursuant to the Plan, other than Allowed Administrative Expense Claims that have been paid in
17   Cash or otherwise satisfied in the ordinary course in an amount equal to the Allowed amount of such
     Claim on or prior to the Effective Date.
18
                    2.2     Professional Fee Claims.
19
                     (a)     All final requests for the payment of Professional Fee Claims against a
20   Debtor, including any Professional Fee Claim incurred during the period from the Petition Date
21   through and including the Effective Date, must be filed and served on the Reorganized Debtors no
     later than sixty (60) days after the Effective Date. All such final requests will be subject to approval
22   by the Bankruptcy Court after notice and a hearing in accordance with the procedures established by
     the Bankruptcy Code, the Interim Compensation Order, and any other prior orders of the Bankruptcy
23   Court regarding the payment of Professionals in the Chapter 11 Cases, and once approved by the
     Bankruptcy Court, promptly paid in Cash in the Allowed amount from the Professional Fee Escrow
24   Account. If the Professional Fee Escrow Account is insufficient to fund the full Allowed amount of
25   all Professional Fee Claims, remaining unpaid Allowed Professional Fee Claims will be allocated
     among and paid in full in Cash directly by the Reorganized Debtors.
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1                   (b)     Prior to the Effective Date, the Debtors shall establish and fund the
     Professional Fee Escrow Account with Cash equal to the Professional Fee Reserve Amount. Such
2    funds shall not be considered property of the estates of the Debtors or the Reorganized Debtors.
     Any amounts remaining in the Professional Fee Escrow Account after payment in full of all Allowed
3    Professional Fee Claims shall promptly be paid to the Reorganized Debtors without any further
4    action or order of the Bankruptcy Court.

5                    (c)     No later than ten (10) Business Days prior to the Effective Date, each
     Professional shall provide the restructuring advisors for the Debtors with an estimate of its unpaid
6    Professional Fee Claims incurred in rendering services to the Debtors or their estates before and as
     of the Effective Date; provided, that such estimate shall not be deemed to limit the amount of fees
7    and expenses that are the subject of the Professional’s final request for payment of its Professional
     Fee Claims whether from the Professional Fee Escrow Account or, if insufficient, from the
8
     Reorganized Debtors. If a Professional does not timely provide an estimate as set forth above, the
9    Debtors or Reorganized Debtors shall estimate the unpaid and unbilled fees and expenses of such
     Professional for purposes of funding the Professional Fee Escrow Account. The total amount of
10   Professional Fee Claims estimated pursuant to this Section shall comprise the Professional Fee
     Reserve Amount. The Professional Fee Reserve Amount, as well as the return of any excess funds
11   in the Professional Fee Escrow Account after all Allowed Professional Fee Claims have been paid in
     full, shall be allocated to the applicable Debtor for whose benefit such Professional Fees Claims
12
     were incurred.
13
                     (d)    Except as otherwise specifically provided in the Plan, from and after the
14   Effective Date, the Reorganized Debtors shall, in the ordinary course of business and without any
     further notice to or action, order, or approval of the Bankruptcy Court, pay in Cash the reasonable
15   and documented legal, professional, or other fees and expenses incurred by the Reorganized
     Debtors. Upon the Effective Date, any requirement that Professionals comply with sections 327
16
     through 331, 363, and 1103 of the Bankruptcy Code in seeking retention or compensation for
17   services rendered after such date shall terminate, and the Reorganized Debtors may employ and pay
     any professional in the ordinary course of business without any further notice to or action, order, or
18   approval of the Bankruptcy Court.

19                  2.3    DIP Facility Claims. In full and final satisfaction, settlement, release, and
     discharge of the Allowed DIP Facility Claims against the Debtors (subject to the last sentence of this
20   Section 2.3), on the Effective Date, such Allowed DIP Facility Claims shall be paid in full in Cash
21   by the Debtors in the Allowed amount of such DIP Facility Claims and all commitments under the
     DIP Facility Documents shall terminate. On the Effective Date, any DIP Letters of Credit
22   outstanding shall be replaced or canceled and returned to the issuing DIP Facility Lender in
     accordance with the terms of the applicable DIP Letter of Credit and the DIP Facility Documents.
23   Upon the indefeasible payment or satisfaction in full in Cash of the DIP Facility Claims (other than
     any DIP Facility Claims based on the Debtors’ contingent obligations under the DIP Facility
24   Documents not yet due and payable), the termination of all commitments thereunder, and the
25   replacement, return, collateralization or backstop of all outstanding DIP Letters of Credit in

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1    accordance with the terms of this Plan, on the Effective Date, all Liens granted to secure such
     obligations automatically shall be terminated and of no further force and effect.
2
                    2.4     Priority Tax Claims. In full and final satisfaction, settlement, release, and
3    discharge of any Allowed Priority Tax Claim against a Debtor, except to the extent that the Debtors
     or Reorganized Debtors, as applicable, and a holder of an Allowed Priority Tax Claim agree to a less
4
     favorable treatment of such Claim, each holder of an Allowed Priority Tax Claim shall receive, at
5    the option of the Debtors or Reorganized Debtors, (a) Cash in an amount equal to such Allowed
     Priority Tax Claim on the Effective Date or as soon as reasonably practicable thereafter, or (b) Cash,
6    in equal semi-annual installments and continuing over a period not exceeding five (5) years from
     and after the Petition Date, together with interest accrued thereon at the applicable nonbankruptcy
7    rate, which as to any Allowed Priority Tax Claim of the Internal Revenue Service on behalf of the
     United States shall be the applicable rate specified by the Tax Code, as of the Confirmation Date,
8
     applied pursuant to section 511 of the Bankruptcy Code, subject to the sole option of the
9    Reorganized Debtors to prepay the entire amount of the Allowed Priority Tax Claim. Any Allowed
     Priority Tax Claim that is not due and payable on or before the Effective Date shall be paid in the
10   ordinary course of business as such obligation becomes due, together with any interest due at the
     applicable nonbankruptcy rate.
11
                                                 ARTICLE III.
12
13                         CLASSIFICATION OF CLAIMS AND INTERESTS

14                  3.1      Classification in General. A Claim or Interest is placed in a particular Class
     for all purposes, including voting, confirmation, and distribution under the Plan and under sections
15   1122 and 1123(a)(1) of the Bankruptcy Code; provided that a Claim or Interest is placed in a
     particular Class for the purpose of receiving distributions pursuant to the Plan only to the extent that
16   such Claim or Interest is an Allowed Claim or Allowed Interest in that Class and such Allowed
17   Claim or Allowed Interest has not been satisfied, released, or otherwise settled prior to the Effective
     Date.
18
                    3.2     Summary of Classification.
19
                      (a)     The following table designates the Classes of Claims against, and Interests in,
20   the Debtors and specifies which of those Classes are (i) Impaired or Unimpaired by the Plan,
     (ii) entitled to vote to accept or reject the Plan in accordance with section 1126 of the Bankruptcy
21
     Code, and (iii) presumed to accept or deemed to reject the Plan. In accordance with section
22   1123(a)(1) of the Bankruptcy Code, Administrative Expense Claims and Priority Tax Claims have
     not been classified.
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1         Class                             Designation                       Impairment       Entitled to Vote
                                           Claims Against and Interests in HoldCo
2        Class 1A                HoldCo Other Secured Claims                   Unimpaired   No (presumed to accept)
        Class 2A                HoldCo Priority Non-Tax Claims                 Unimpaired   No (presumed to accept)
3        Class 3A                 HoldCo Funded Debt Claims                    Unimpaired   No (presumed to accept)
         Class 4A              HoldCo General Unsecured Claims                 Unimpaired   No (presumed to accept)
4       Class 5A-I         HoldCo Public Entities Wildfire Claims               Impaired             Yes
       Class 5A-II           HoldCo Subrogation Wildfire Claims                 Impaired             Yes
5
       Class 5A-III                HoldCo Fire Victim Claims                    Impaired             Yes
6      Class 5A-IV              HoldCo Ghost Ship Fire Claims                  Unimpaired   No (presumed to accept)
         Class 6A          HoldCo Workers’ Compensation Claims                 Unimpaired   No (presumed to accept)
7        Class 7A                HoldCo Environmental Claims                   Unimpaired   No (presumed to accept)
         Class 8A                HoldCo Intercompany Claims                    Unimpaired   No (presumed to accept)
8        Class 9A              HoldCo Subordinated Debt Claims                 Unimpaired   No (presumed to accept)
       Class 10A-I                 HoldCo Common Interests                      Impaired             Yes
9
       Class 10A-II         HoldCo Rescission or Damage Claims                  Impaired             Yes
10      Class 11A                     HoldCo Other Interests                   Unimpaired   No (presumed to accept)
                                          Claims Against and Interests in the Utility
11        Class 1B                Utility Other Secured Claims                 Unimpaired   No (presumed to accept)
          Class 2B              Utility Priority Non-Tax Claims                Unimpaired   No (presumed to accept)
12       Class 3B-I           Utility Impaired Senior Note Claims               Impaired             Yes
        Class 3B-II          Utility Reinstated Senior Note Claims             Unimpaired   No (presumed to accept)
13      Class 3B-III        Utility Short-Term Senior Note Claims               Impaired             Yes
       Class 3B-IV                 Utility Funded Debt Claims                   Impaired             Yes
14
        Class 3B-V       Utility PC Bond (2008 F and 2010 E) Claims            Unimpaired   No (presumed to accept)
15        Class 4B             Utility General Unsecured Claims                Unimpaired   No (presumed to accept)
         Class 5B-I         Utility Public Entities Wildfire Claims             Impaired             Yes
16      Class 5B-II           Utility Subrogation Wildfire Claims               Impaired             Yes
        Class 5B-III                Utility Fire Victim Claims                  Impaired             Yes
17     Class 5B-IV               Utility Ghost Ship Fire Claims                Unimpaired   No (presumed to accept)
          Class 6B          Utility Workers’ Compensation Claims               Unimpaired   No (presumed to accept)
18
          Class 7B               2001 Utility Exchange Claims                  Unimpaired   No (presumed to accept)
19        Class 8B                Utility Environmental Claims                 Unimpaired   No (presumed to accept)
          Class 9B                Utility Intercompany Claims                  Unimpaired   No (presumed to accept)
20       Class 10B              Utility Subordinated Debt Claims               Unimpaired   No (presumed to accept)
         Class 11B                  Utility Preferred Interests                Unimpaired   No (presumed to accept)
21       Class 12B                  Utility Common Interests                   Unimpaired   No (presumed to accept)

22
                    3.3     Separate Classification of Other Secured Claims. Each Other Secured
23   Claim, to the extent secured by a Lien on Collateral different from the Collateral securing another
     Other Secured Claim, shall be treated as being in a separate sub-Class for the purposes of receiving
24
     distributions under this Plan.
25
                     3.4    Nonconsensual Confirmation. In the event any Impaired Class of Claims or
26   Interests entitled to vote on the Plan does not accept the Plan by the requisite statutory majority

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1    under section 1126(c) of the Bankruptcy Code, then the Debtors reserve the right to undertake to
     have the Bankruptcy Court confirm the Plan under section 1129(b) of the Bankruptcy Code.
2
                    3.5     Debtors’ Rights in Respect of Unimpaired Claims. Except as otherwise
3    provided in this Plan, nothing under this Plan shall affect the rights of the Reorganized Debtors in
     respect of any Claim that is not “impaired” (within the meaning of such term in section 1124 of the
4
     Bankruptcy Code), including all rights in respect of legal and equitable defenses to, or setoffs or
5    recoupments against, any such Claim.

6                                               ARTICLE IV.

7                             TREATMENT OF CLAIMS AND INTERESTS
8                   4.1     Class 1A – HoldCo Other Secured Claims.
9
                     (a)    Treatment: In full and final satisfaction, settlement, release, and discharge of
10   any Allowed HoldCo Other Secured Claim, except to the extent that the Debtors or Reorganized
     Debtors, as applicable, and a holder of an Allowed HoldCo Other Secured Claim agree to a less
11   favorable treatment of such Claim, each holder of an Allowed HoldCo Other Secured Claim shall, at
     the option of the Debtors or Reorganized Debtors, (i) retain its HoldCo Other Secured Claim and the
12   Collateral securing such Claim; (ii) receive Cash in an amount equal to such Allowed Claim,
     including the payment of any interest due and payable under section 506(b) of the Bankruptcy Code,
13
     on the Effective Date or as soon as reasonably practicable thereafter; or (iii) receive treatment of
14   such Allowed HoldCo Other Secured Claim in any other manner that is necessary to satisfy the
     requirements of section 1124 of the Bankruptcy Code. In the event a HoldCo Other Secured Claim
15   is treated under clause (ii) of this Section 4.1(a), the Liens securing such Other Secured Claim shall
     be deemed released immediately upon payment.
16
                    (b)    Impairment and Voting: The HoldCo Other Secured Claims are Unimpaired,
17   and the holders of HoldCo Other Secured Claims are presumed to have accepted the Plan.
18
                    4.2     Class 2A – HoldCo Priority Non-Tax Claims.
19
                     (a)    Treatment: In full and final satisfaction, settlement, release, and discharge of
20   any Allowed HoldCo Priority Non-Tax Claim, except to the extent that the Debtors or Reorganized
     Debtors, as applicable, and a holder of an Allowed HoldCo Priority Non-Tax Claim agree to a less
21   favorable treatment of such Claim, each holder of an Allowed HoldCo Priority Non-Tax Claim shall
     receive, at the option of the Debtors or Reorganized Debtors, as applicable (i) Cash in an amount
22
     equal to such Allowed HoldCo Priority Non-Tax Claim, including interest through the Effective
23   Date calculated at the Federal Judgment Rate, payable on the Effective Date or as soon as
     reasonably practicable thereafter, or (ii) such other treatment consistent with the provisions of
24   section 1129(a)(9) of the Bankruptcy Code.

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1                  (b)    Impairment and Voting: The HoldCo Priority Non-Tax Claims are
     Unimpaired, and the holders of HoldCo Priority Non-Tax Claims are presumed to have accepted the
2    Plan.
3                   4.3     Class 3A: HoldCo Funded Debt Claims.
4                     (a)      Treatment: In full and final satisfaction, settlement, release, and discharge of
5    any Allowed HoldCo Funded Debt Claim, except to the extent that the Debtors or Reorganized
     Debtors, as applicable, and a holder of an Allowed HoldCo Funded Debt Claim agree to a less
6    favorable treatment of such Claim, on the Effective Date or as soon as reasonably practicable
     thereafter, each holder of an Allowed HoldCo Funded Debt Claim shall receive Cash in an amount
7    equal to (i) the principal amount outstanding as of the Petition Date of such holder’s HoldCo Funded
     Debt Claim plus all accrued and unpaid interest owed as of the Petition Date at the non-default
8    contract rate; (ii) all interest accrued from the Petition Date through the Effective Date at the Federal
9    Judgment Rate; and (iii) fees and charges and other obligations owed through the Effective Date,
     solely to the extent provided for under the HoldCo Term Loan Documents or the HoldCo Revolver
10   Documents, as applicable.

11                  (b)    Impairment and Voting: The HoldCo Funded Debt Claims are Unimpaired,
     and the holders of HoldCo Funded Debt Claims are presumed to have accepted the Plan.
12
                    4.4     Class 4A: HoldCo General Unsecured Claims.
13
                     (a)     Treatment: In full and final satisfaction, settlement, release, and discharge of
14
     any Allowed HoldCo General Unsecured Claim, except to the extent that the Debtors or the
15   Reorganized Debtors, as applicable, and a holder of an Allowed HoldCo General Unsecured Claim
     agree to a less favorable treatment of such Claim, on the Effective Date or as soon as reasonably
16   practicable thereafter, but in no event later than thirty (30) days after the later to occur of (i) the
     Effective Date and (ii) the date such Claim becomes an Allowed Claim, each holder of an Allowed
17   HoldCo General Unsecured Claim shall receive Cash in an amount equal to such holder’s Allowed
18   HoldCo General Unsecured Claim. The Allowed amount of any HoldCo General Unsecured Claim
     shall include all interest accrued from the Petition Date through the Effective Ddate of distribution at
19   the Federal Judgment Rate.

20                (b)    Impairment and Voting: The HoldCo General Unsecured Claims are
     Unimpaired, and holders of HoldCo General Unsecured Claims are presumed to have accepted the
21   Plan.
22                  4.5     Class 5A-I – HoldCo Public Entities Wildfire Claims.
23
                    (a)     Treatment: On the Effective Date, all HoldCo Public Entities Wildfire Claims
24   shall be deemed satisfied, settled, released and discharged through the treatment provided to Utility
     Public Entities Wildfire Claims. HoldCo Public Entities Wildfire Claims shall be satisfied solely
25   from the Cash amount of $1.0 billion and the Public Entities Segregated Defense Fund, as described
     in Section 4.24(a) of the Plan.
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1                     (b) Impairment and Voting: The HoldCo Public Entities Wildfire Claims are
     Impaired, and holders of HoldCo Public Entities Wildfire Claims are entitled to vote to accept or
2    reject the Plan.
3                   4.6    Class 5A-II – HoldCo Subrogation Wildfire Claims.
4                   (a)     Treatment: On the Effective Date, all HoldCo Subrogation Wildfire Claims
5    shall be deemed satisfied, settled, released and discharged through the treatment provided to Utility
     Subrogation Wildfire Claims. Pursuant to the Channeling Injunction, each holder of a HoldCo
6    Subrogation Wildfire Claim shall have its Claim permanently channeled to the Subrogation Wildfire
     Trust, and such Claim shall be asserted exclusively against the Subrogation Wildfire Trust in
7    accordance with its terms, with no recourse to the Debtors, the Reorganized Debtors, or their
     respective assets and properties.
8
                   (b)     Impairment and Voting: The HoldCo Subrogation Wildfire Claims are
9
     Impaired, and holders of HoldCo Subrogation Wildfire Claims are entitled to vote to accept or reject
10   the Plan.

11                  4.7    Class 5A-III – HoldCo Fire Victim Claims.

12                  (a)    Treatment: On the Effective Date, all HoldCo Fire Victim Claims shall be
     deemed satisfied, settled, released and discharged through the treatment provided to Utility Fire
13   Victim Claims. Pursuant to the Channeling Injunction, each holder of a HoldCo Fire Victim Claim
     shall have its Claim permanently channeled to the Fire Victim Trust, and such Claim shall be
14
     asserted exclusively against the Fire Victim Trust in accordance with its terms, with no recourse to
15   the Debtors, the Reorganized Debtors, or their respective assets and properties.

16                 (b)    Impairment and Voting: The HoldCo Fire Victim Claims are Impaired, and
     holders of HoldCo Fire Victim Claims are entitled to vote to accept or reject the Plan.
17
                    4.8    Class 5A-IV – HoldCo Ghost Ship Fire Claims.
18
                     (a)     Treatment: On and after the Effective Date, each holder of a HoldCo Ghost
19
     Ship Fire Claim shall be entitled to pursue its Claim against Reorganized HoldCo as if the Chapter
20   11 Cases had not been commenced, provided that as provided in the Bankruptcy Court’s Order Re:
     Motion for Relief From Automatic Stay to Permit the Courts of the State of California to Conduct a
21   Jury Trial and Related Pretrial and Post Trial Matters in Connection with the Ghost Ship Fire
     Cases [Docket No. 5280] any recovery or payment with respect to the HoldCo Ghost Ship Fire
22   Claims shall be limited solely to amounts available under the Debtors’ Insurance (as such term is
     defined in such Order, including any remaining Self Insured Retention that may still be available at
23
     the time of any settlement or final judgment). Under no circumstances shall any holder of a HoldCo
24   Ghost Ship Fire Claim be entitled to receive any recovery from the Debtors or Reorganized Debtors,
     or their respective assets or properties other than as provided in the immediately preceding sentence.
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1                   (b)    Impairment and Voting: The HoldCo Ghost Ship Fire Claims are Unimpaired,
     and the holders of HoldCo Ghost Ship Fire Claims are presumed to have accepted the Plan.
2
                    4.9    Class 6A – HoldCo Workers’ Compensation Claims.
3
                    (a)    Treatment: On and after the Effective Date, each holder of a HoldCo
4    Workers’ Compensation Claim shall be entitled to pursue its Claim against Reorganized HoldCo as
5    if the Chapter 11 Cases had not been commenced.

6                  (b)    Impairment and Voting: The HoldCo Workers’ Compensation Claims are
     Unimpaired, and holders of HoldCo Workers’ Compensation Claims are presumed to have accepted
7    the Plan.

8                   4.10   Class 7A – HoldCo Environmental Claims.
9                 (a)    Treatment: On and after the Effective Date, each holder of a HoldCo
     Environmental Claim shall be entitled to pursue its Claim against Reorganized HoldCo as if the
10
     Chapter 11 Cases had not been commenced, and each Environmental Performance Obligation
11   against HoldCo shall also survive the Effective Date as if the Chapter 11 Cases had not been
     commenced.
12
                    (b)   Impairment and Voting: The HoldCo Environmental Claims are Unimpaired,
13   and holders of HoldCo Environmental Claims are presumed to have accepted the Plan.
14                  4.11   Class 8A – HoldCo Intercompany Claims.
15
                     (a)     Treatment: On the Effective Date, all Allowed HoldCo Intercompany Claims
16   shall either be (i) cancelled (or otherwise eliminated) and receive no distribution under the Plan or
     (ii) Reinstated, in each case as determined in the sole discretion of the Debtors or the Reorganized
17   Debtors, as applicable.

18                  (b)    Impairment and Voting: The HoldCo Intercompany Claims are Unimpaired,
     and the holders of HoldCo Intercompany Claims are presumed to have accepted the Plan.
19
                    4.12   Class 9A – HoldCo Subordinated Debt Claims.
20

21                  (a)    Treatment: In full and final satisfaction, settlement, release, and discharge of
     any HoldCo Subordinated Debt Claim, except to the extent that the Debtors or the Reorganized
22   Debtors, as applicable, and a holder of an Allowed HoldCo Subordinated Debt Claim agree to a less
     favorable treatment of such Claim, on the Effective Date or as soon as reasonably practicable
23   thereafter, each holder of an Allowed HoldCo Subordinated Debt Claim shall receive Cash in an
     amount equal to such holder’s Allowed HoldCo Subordinated Debt Claim.
24
                  (b)     Impairment and Voting: The HoldCo Subordinated Debt Claims are
25
     Unimpaired, and the holders of HoldCo Subordinated Debt Claims are presumed to have accepted
26   the Plan.

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1                   4.13    Class 10A-I – HoldCo Common Interests.

2                    (a)     Treatment: On the Effective Date, subject to the New Organizational
     Documents, each holder of a HoldCo Common Interest shall retain such Interest subject to dilution
3    from any New HoldCo Common Stock, or securities linked to New HoldCo Common Stock, issued
     pursuant to the Plan and, if applicable, shall receive a pro rata distribution of any subscription rights
4
     to be distributed to holders of HoldCo Common Interests in connection with a Rights Offering.
5
                    (b)   Impairment and Voting: The HoldCo Common Interests are Impaired, and
6    the holders of HoldCo Common Interests are entitled to vote to accept or reject the Plan.

7                   4.14    Class 10A-II – HoldCo Rescission or Damage Claims.

8                    (a)    Treatment: In full and final satisfaction, settlement, release, and discharge of
     any HoldCo Rescission or Damage Claim, except to the extent that the Debtors or the Reorganized
9    Debtors, as applicable, and a holder of an Allowed HoldCo Rescission or Damage Claim agree to a
10   less favorable treatment of such Claim, on the Effective Date or as soon as reasonably practicable
     thereafter, each holder of an Allowed HoldCo Rescission or Damage Claim shall receive a number
11   of shares of New HoldCo Common Stock equal to such holder’s HoldCo Rescission or Damage
     Claim Share of the outstanding number of common stock of HoldCo as of the Petition Date
12   (526,118,408).
13                    (b)  Impairment and Voting: The HoldCo Rescission or Damage Claims are
     Impaired, and the holders of HoldCo Rescission or Damage Claims are entitled to vote to accept or
14
     reject the Plan.
15
                    4.15    Class 11A – HoldCo Other Interests.
16
                    (a)    Treatment: On the Effective Date, each holder of a HoldCo Other Interest
17   shall have such holder’s HoldCo Other Interest Reinstated.
18                 (b)    Impairment and Voting: The HoldCo Other Interests are Unimpaired, and the
     holders of HoldCo Other Interests are presumed to have accepted the Plan.
19

20                  4.16    Class 1B – Utility Other Secured Claims.

21                   (a)   Treatment: In full and final satisfaction, settlement, release, and discharge of
     any Allowed Utility Other Secured Claim, except to the extent that the Debtors or Reorganized
22   Debtors, as applicable, and a holder of an Allowed Utility Other Secured Claim agree to a less
     favorable treatment of such Claim, each holder of an Allowed Utility Other Secured Claim shall, at
23   the option of the Debtors or Reorganized Debtors, (i) retain its Utility Other Secured Claim and the
     Collateral securing such Claim; (ii) receive Cash in an amount equal to such Allowed Claim,
24
     including the payment of any interest due and payable under section 506(b) of the Bankruptcy Code,
25   on the Effective Date or as soon as reasonably practicable thereafter; or (iii) receive treatment of
     such Allowed Utility Other Secured Claim in any other manner that is necessary to satisfy the
26   requirements of section 1124 of the Bankruptcy Code. In the event a Utility Other Secured Claim is
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1    treated under clause (ii) of this Section 4.16(a), the Liens securing such Other Secured Claim shall
     be deemed released immediately upon payment.
2
                    (b)     Impairment and Voting: The Utility Other Secured Claims are Unimpaired,
3    and the holders of Utility Other Secured Claims are presumed to have accepted the Plan.
4                   4.17    Class 2B – Utility Priority Non-Tax Claims.
5
                     (a)     Treatment: In full and final satisfaction, settlement, release, and discharge of
6    any Allowed Utility Priority Non-Tax Claim, except to the extent that the Debtors or Reorganized
     Debtors, as applicable, and a holder of an Allowed Utility Priority Non-Tax Claim agree to a less
7    favorable treatment of such Claim, each holder of an Allowed Utility Priority Non-Tax Claim shall
     receive, at the option of the Debtors or the Reorganized Debtors, as applicable (i) Cash in an amount
8    equal to such Allowed Utility Priority Non-Tax Claim, including interest through the Effective Date
     calculated at the Federal Judgment Rate, payable on the Effective Date or as soon as reasonably
9
     practicable thereafter, or (ii) such other treatment consistent with the provisions of section
10   1129(a)(9) of the Bankruptcy Code.

11                (b)     Impairment and Voting:         The Utility Priority Non-Tax Claims are
     Unimpaired, and the holders of Utility Priority Non-Tax Claims are presumed to have accepted the
12   Plan.
13                  4.18    Class 3B-I – Utility Impaired Senior Note Claims.
14                  (a)     Treatment: On the Effective Date, holders of Utility Impaired Senior Note
15   Claims shall receive Cash equal to their Utility Impaired Senior Note Claim Interest Amount and
     equal amounts of each issue of the New Utility Long-Term Notes in an aggregate amount equal to
16   such holder’s Utility Impaired Senior Note Claim Principal Amount.

17                 (b)     Impairment and Voting: The Utility Impaired Senior Note Claims are
     Impaired, and holders of Utility Impaired Senior Note Claims are entitled to vote to accept or reject
18   the Plan.
19
                    4.19    Class 3B-II – Utility Reinstated Senior Note Claims.
20
                   (a)    Treatment: On the Effective Date, each holder of a Utility Reinstated Senior
21   Note Claim shall have such holder’s Utility Reinstated Senior Note Claim Reinstated.

22                (b)    Impairment and Voting: The Utility Reinstated Senior Note Claims are
     Unimpaired, and holders of Utility Reinstated Senior Note Claims are presumed to have accepted
23   the Plan.
24                  4.20    Class 3B-III – Utility Short-Term Senior Note Claims.
25
                    (a)    Treatment: On the Effective Date, holders of Utility Short-Term Senior Note
26   Claims shall receive Cash equal to their Utility Short-Term Senior Note Claim Interest Amount and

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1    equal amounts of each issue of New Utility Short-Term Notes in an aggregate amount equal to such
     holder’s Utility Short-Term Senior Note Claim Principal Amount.
2
                      (b)  Impairment and Voting: The Utility Short-Term Senior Note Claims are
3    Impaired, and the holders of Utility Short-Term Senior Note Claims are entitled to vote to accept or
     reject the Plan.
4
5                   4.21    Class 3B-IV: Utility Funded Debt Claims.

6                    (a)    Treatment: On the Effective Date, holders of Utility Funded Debt Claims
     shall receive Cash equal to their Utility Funded Debt Claim Interest and Charges Amount and equal
7    amounts of each issue of the New Utility Funded Debt Exchange Notes in an aggregate amount
     equal to such holder’s Utility Funded Debt Claim Principal Amount. On the Effective Date, any
8    Utility Letters of Credit outstanding shall be replaced or canceled and returned to the issuing Utility
     Revolver Lender in accordance with the terms of the applicable Utility Letter of Credit and the
9
     Utility Revolver Documents.
10
                     (b)    Impairment and Voting: The Utility Funded Debt Claims are Impaired, and
11   holders of Utility Funded Debt Claims are entitled to vote to accept or reject the Plan.

12                  4.22    Class 3B-V: Utility PC Bond (2008 F and 2010 E) Claims.
13                  (a)    Treatment: In full and final satisfaction, settlement, release, and discharge of
     any Allowed Utility PC Bond (2008 F and 2010 E) Claim, except to the extent that the Debtors or
14   Reorganized Debtors, as applicable, and a holder of an Allowed Utility PC Bond (2008 F and 2010
15   E) Claim agree to a less favorable treatment of such Claim, on the Effective Date or as soon as
     reasonably practicable thereafter, each holder of an Allowed Utility PC Bond (2008 F and 2010 E)
16   Claim shall receive Cash in an amount equal to (i) the principal amount outstanding as of the
     Petition Date of such holder’s Utility PC Bond (2008 F and 2010 E) Claim plus all accrued and
17   unpaid interest owed as of the Petition Date at the non-default contract rate; (ii) all interest accrued
     from the Petition Date through the Effective Date at the Federal Judgment Rate; and (iii) fees and
18
     charges and other obligations owed through the Effective Date, solely to the extent provided for
19   under the applicable PC Bond (2008 F and 2010 E) Documents.

20                 (b)     Impairment and Voting: The Utility PC Bond (2008 F and 2010 E) Claims
     are Unimpaired, and the holders of Utility PC Bond (2008 F and 2010 E) Claims are presumed to
21   have accepted the Plan.
22                  4.23    Class 4B: Utility General Unsecured Claims.
23                   (a)     Treatment: In full and final satisfaction, settlement, release, and discharge of
24   any Allowed Utility General Unsecured Claim, except to the extent that the Debtors or Reorganized
     Debtors, as applicable, and a holder of an Allowed Utility General Unsecured Claim agree to a less
25   favorable treatment of such Claim, on the Effective Date or as soon as reasonably practicable
     thereafter, but in no event later than thirty (30) days after the later to occur of (i) the Effective Date
26   and (ii) the date such Claim becomes an Allowed Claim, each holder of an Allowed Utility General
27

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1    Unsecured Claim shall receive Cash in an amount equal to such holder’s Allowed Utility General
     Unsecured Claim. The Allowed amount of any Utility General Unsecured Claim shall reflect all
2    interest accrued from the Petition Date through the Effective Ddate of distribution at the Federal
     Judgment Rate.
3
                   (b)    Impairment and Voting: The Utility General Unsecured Claims are
4
     Unimpaired, and the holders of Utility General Unsecured Claims are presumed to have accepted the
5    Plan.

6                   4.24    Class 5B-I – Utility Public Entities Wildfire Claims.

7                    (a)     Treatment: In full and final satisfaction, settlement, release, and discharge of
     all Allowed Utility Public Entities Wildfire Claims, on the Effective Date, or as soon as reasonably
8    practicable thereafter, but in no event later than thirty (30) days after the Effective Date, the Public
     Entities shall receive an aggregate Cash amount of $1.0 billion, as provided in the Public Entities
9
     Plan Support Agreements, to be distributed in accordance with the Public Entities Settlement
10   Distribution Protocol. The Reorganized Debtors shall also establish the Public Entities Segregated
     Defense Fund, in accordance with the terms of the Public Entities Plan Support Agreements. Utility
11   Public Entities Wildfire Claims shall be satisfied solely from the Cash amount of $1.0 billion and the
     Public Entities Segregated Defense Fund, as described above.
12
                      (b)  Impairment and Voting: The Utility Public Entities Wildfire Claims are
13   Impaired, and holders of the Utility Public Entities Wildfire Claims are entitled to vote to accept or
14   reject the Plan.

15                  4.25    Class 5B-II – Utility Subrogation Wildfire Claims.

16          The Utility Subrogation Wildfire Claims shall be treated as follows:

17                  (a)   Allowance: For purposes of this Plan, and in accordance with the Subrogation
     Claims RSA Approval Order, the Utility Subrogation Wildfire Claims shall be settled and Allowed
18   in the aggregate amount of $11 billion.
19
                     (b)   Treatment: On the Effective Date or as soon as reasonably practicable
20   thereafter, the Reorganized Debtors shall fund the Subrogation Wildfire Trust with Cash in the
     amount of $11 billion. No postpetition, and pre-Effective Date, interest shall be paid with respect to
21   the Utility Subrogation Wildfire Claims as Allowed pursuant to the immediately preceding clause
     (a). All Utility Subrogation Wildfire Claims shall be satisfied solely from the assets funded to the
22   Subrogation Wildfire Trust. The Plan may be amended prior to the entry of the Disclosure
     Statement Order in accordance with the Subrogation Claims RSA to replace a portion of the Cash
23
     consideration with Non-cash Recovery.
24
                     (c)    Professional Fees: On the Effective Date, the Reorganized Debtors shall pay
25   the reasonable, documented, and contractual professional fees of the Ad Hoc Professionals (as such
     term is defined in the Subrogation Claims RSA) up to an aggregate amount of $55 million (inclusive
26   of all such fees and expenses paid by the Debtors prior to the Effective Date, and which shall include
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1    success fees, transaction fees or other similar fees). The Reorganized Debtors are authorized to pay
     the professional fees and expenses of Rothschild & Co US Inc., Kekst and Company Incorporated
2    d/b/a Kekst CNC, and Wilson Public Affairs, in each case subject to, and in accordance with, the
     Subrogation Claims RSA without the necessity of filing formal fee applications. Solely with respect
3    to fees and expenses for professional services rendered by Willkie Farr & Gallagher LLP and
4    Diemer & Wei LLP, the Reorganized Debtors are authorized to pay such fees and expenses ten (10)
     business after the receipt by the Debtors and the U.S. Trustee (the “Review Period”) of invoices
5    therefor (the “Invoiced Fees”) and without the necessity of filing formal fee applications. The
     invoices for such Invoiced Fees shall include the number of hours billed and the aggregate expenses
6    incurred by the applicable professional firm; provided, however, that any such invoice (i) may be
     limited and/or redacted to protect privileged, confidential, or proprietary information and (ii) shall
7    not be required to contain individual time detail (provided that such invoice shall contain summary
8    data regarding hours worked by each timekeeper for the applicable professional and such
     timekeepers’ hourly rates). The Reorganized Debtors and the U.S. Trustee may object to any portion
9    of the Invoiced Fees (the “Disputed Invoiced Fees”) within the Review Period by filing with the
     Court a motion or other pleading, on at least ten days’ prior written notice (but no more than 30
10   days’ notice) of any hearing on such motion or other pleading, setting forth the specific objections to
     the Disputed Invoiced Fees in reasonable narrative detail and the bases for such objections; provided
11   that the Reorganized Debtors shall pay all amounts that are not the subject of such objection upon
12   the expiration of the Review Period and shall pay the balance following resolution of any such
     objection or upon an order of the Bankruptcy Court.
13
                    (d)     Distributions and Discharge: Funding of the Subrogation Wildfire Trust as
14   provided above shall be in restitution and in full and final satisfaction, release, and discharge of all
     Subrogation Wildfire Claims. Each holder of a Subrogation Wildfire Claim that is party to the
15   Subrogation Wildfire Claim Allocation Agreement shall receive payment as determined in
16   accordance with the Subrogation Wildfire Claim Allocation Agreement. Holders of Disputed
     Subrogation Wildfire Claims as of the Effective Date shall not receive any payment unless and until
17   such claims either are resolved consensually as between such holders and the Subrogation Wildfire
     Trustee or become Allowed Claims.
18
                    (e)     Channeling Injunction: On the Effective Date, the Debtors’ liability for all
19   Utility Subrogation Wildfire Claims shall be fully assumed by, and be the sole responsibility of, the
     Subrogation Wildfire Trust, and all such Claims shall be satisfied solely from the assets of the
20
     Subrogation Wildfire Trust. Pursuant to the Channeling Injunction, each holder of a Utility
21   Subrogation Wildfire Claim shall have its Claim permanently channeled to the Subrogation Wildfire
     Trust, and such Claim shall be asserted exclusively against the Subrogation Wildfire Trust in
22   accordance with its terms, with no recourse to the Debtors, the Reorganized Debtors, or their
     respective assets and properties.
23
                   (f)    In accordance with the provisions of the Subrogation Claims RSA, the
24   Confirmation Order shall contain the following findings and order:
25
                            (i)    the resolution of the Debtors’ insolvency proceeding provides funding
26          or establishes reserves for, provides for assumption of, or otherwise provides for satisfying

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1           any prepetition wildfire claims asserted against the Debtors in the insolvency proceeding in
            the amounts agreed upon in any pre-insolvency proceeding settlement agreements or any
2           post-insolvency settlement agreements, authorized by the court through an estimation
            process or otherwise allowed by the court, and
3
                           (ii)    except with respect to any settlement or other agreement regarding the
4
            Fire Victim Claims asserted by Adventist Health System/West and Feather River Hospital
5           d/b/a Adventist Health Feather River, any settlement or other agreement with any holder or
            holders of a Fire Victim Claim that fixes the amount or terms for satisfaction of such Claim,
6           including by a post-Effective Date trust established for the resolution and payment of such
            Claim, shall contain as a condition to such settlement or other agreement that the holder or
7           holders of such Claim contemporaneously execute and deliver a release and waiver of any
            potential made-whole claims against present and former holders of Subrogation Wildfire
8
            Claims, which release shall be substantially in the form attached hereto as Exhibit C.
9
                   (g)     Impairment and Voting: The Utility Subrogation Wildfire Claims are
10   Impaired, and holders of Utility Subrogation Wildfire Claims are entitled to vote to accept or reject
     the Plan.
11
                    4.26    Class 5B-III – Utility Fire Victim Claims.
12
                    (a)   Treatment: In accordance with the requirements of section 3292 of the
13   Wildfire Legislation (A.B. 1054), on the Effective Date or as soon as reasonably practicable
14   thereafter, the Reorganized Debtors shall establish and fund the Fire Victim Trust with the
     Aggregate Fire Victim Consideration. Utility Fire Victim Claims shall be satisfied solely from the
15   Fire Victim Trust.

16                   (b)     Funding of the Fire Victim Trust as provided above shall be in restitution and
     full and final satisfaction, release, and discharge of all Fire Victim Claims. Each holder of a Fire
17   Victim Claim shall receive payment as determined in accordance with the Fire Victim Claims
18   Resolution Procedures.

19                  (c)     On the Effective Date, the Debtors’ liability for all Utility Fire Victim Claims
     shall be fully assumed by, and be the sole responsibility of the Fire Victim Trust, and all such
20   Claims shall be satisfied solely from the assets of the Fire Victim Trust. Pursuant to the Channeling
     Injunction, each holder of a Utility Fire Victim Claim shall have its Claim permanently channeled to
21   the Fire Victim Trust, and such Claim shall be asserted exclusively against the Fire Victim Trust in
     accordance with its terms, with no recourse to the Debtors, the Reorganized Debtors, or their
22
     respective assets and properties.
23
                     (d)     Impairment and Voting: The Utility Fire Victim Claims are Impaired, and
24   holders of Utility Fire Victim Claims are entitled to vote to accept or reject the Plan.

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1                   4.27   Class 5B-IV – Utility Ghost Ship Fire Claims.

2                    (a)     Treatment: On and after the Effective Date, each holder of a Utility Ghost
     Ship Fire Claim shall be entitled to pursue its Claim against the Reorganized Utility as if the Chapter
3    11 Cases had not been commenced, provided that as provided in the Bankruptcy Court’s Order Re:
     Motion for Relief From Automatic Stay to Permit the Courts of the State of California to Conduct a
4
     Jury Trial and Related Pretrial and Post Trial Matters in Connection with the Ghost Ship Fire
5    Cases [Docket No. 5280] any recovery or payment with respect to the Utility Ghost Ship Fire
     Claims shall be limited solely to amounts available under the Debtors’ Insurance (as such term is
6    defined in such Order, including any remaining Self Insured Retention that may still be available at
     the time of any settlement or final judgment). Under no circumstances shall any holder of a Utility
7    Ghost Ship Fire Claim be entitled to receive any recovery from the Debtors or Reorganized Debtors,
     or their respective assets or properties other than as provided in the immediately preceding sentence.
8

9                   (b)     Impairment and Voting: The Utility Ghost Ship Fire Claims are Unimpaired,
     and the holders of Utility Ghost Ship Fire Claims are presumed to have accepted the Plan.
10
                    4.28   Class 6B – Utility Workers’ Compensation Claims.
11
                   (a)    Treatment: On and after the Effective Date, each holder of a Utility Workers’
12   Compensation Claim shall be entitled to pursue its Claim against the Reorganized Utility as if the
     Chapter 11 Cases had not been commenced.
13
                  (b)    Impairment and Voting: The Utility Workers’ Compensation Claims are
14
     Unimpaired, and holders of Utility Workers’ Compensation Claims are presumed to have accepted
15   the Plan.

16                  4.29   Class 7B – 2001 Utility Exchange Claims.

17                 (a)    Treatment: On and after the Effective Date, each holder of a 2001 Utility
     Exchange Claim shall be entitled to pursue its Claim against the Reorganized Utility as if the
18   Chapter 11 Cases had not been commenced.
19
                    (b)   Impairment and Voting: The 2001 Utility Exchange Claims are Unimpaired,
20   and holders of 2001 Utility Exchange Claims are presumed to have accepted the Plan.

21                  4.30   Class 8B – Utility Environmental Claims.

22                  (a)     Treatment: On and after the Effective Date, each holder of a Utility
     Environmental Claim shall be entitled to pursue its Claim against the Reorganized Utility as if the
23   Chapter 11 Cases had not been commenced, and each Environmental Performance Obligation
     against the Utility shall also survive the Effective Date as if the Chapter 11 Cases had not been
24
     commenced.
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1                   (b)     Impairment and Voting: The Utility Environmental Claims are Unimpaired,
     and holders of Utility Environmental Claims are presumed to have accepted the Plan.
2
                    4.31   Class 9B – Utility Intercompany Claims.
3
                     (a)     Treatment: On the Effective Date, all Allowed Utility Intercompany Claims
4    shall either be (i) cancelled (or otherwise eliminated) and receive no distribution under the Plan or
5    (ii) Reinstated, in each case as determined in the sole discretion of the Debtors or the Reorganized
     Debtors, as applicable.
6
                    (b)     Impairment and Voting: The Utility Intercompany Claims are Unimpaired,
7    and holders of Utility Intercompany Claims are presumed to have accepted the Plan.

8                   4.32   Class 10B – Utility Subordinated Debt Claims.
9                   (a)    Treatment: In full and final satisfaction, settlement, release, and discharge of
     any Utility Subordinated Debt Claim, except to the extent that the Debtors or the Reorganized
10
     Debtors, as applicable, and a holder of an Allowed Utility Subordinated Debt Claim agree to a less
11   favorable treatment of such Claim, on the Effective Date or as soon as reasonably practicable
     thereafter, each holder of an Allowed Utility Subordinated Debt Claim shall receive Cash in an
12   amount equal to such holder’s Allowed Utility Subordinated Debt Claim.
13                 (b)    Impairment and Voting: The Utility Subordinated Debt Claims are
     Unimpaired, and the holders of Utility Subordinated Debt Claims are presumed to have accepted the
14   Plan.
15
                    4.33   Class 11B – Utility Preferred Interests.
16
                    (a)    Treatment: On the Effective Date, all Utility Preferred Interests shall be
17   Reinstated.

18                   (b)    Impairment and Voting: The Utility Preferred Interests are Unimpaired, and
     holders of Utility Preferred Interests are presumed to have accepted the Plan.
19
                    4.34   Class 12B – Utility Common Interests.
20

21                  (a)    Treatment: On the Effective Date, all Utility Common Interests shall be
     Reinstated.
22
                    (b)      Impairment and Voting: The Utility Common Interests are Unimpaired, and
23   the holders of Utility Common Interests are presumed to have accepted the Plan.
24                                               ARTICLE V.
25
                             PROVISIONS GOVERNING DISTRIBUTIONS
26
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1                    5.1     Distributions Generally. Except as otherwise provided in the Plan, the
     Wildfire Trust Agreements, or the Claims Resolution Procedures the Disbursing Agent shall make
2    all distributions to the appropriate holders of Allowed Claims, or such other persons designated by
     this Plan, in accordance with the terms of this Plan.
3
                     5.2     Plan Funding. Except as otherwise provided in the Plan, the Wildfire Trust
4
     Agreements, or the Claims Resolution Procedures, distributions of Cash shall be funded from the
5    proceeds of the Plan Funding or the Wildfire Insurance Proceeds as of the applicable date of such
     distribution as set forth herein.
6
                     5.3     No Postpetition or Default Interest on Claims. Except as otherwise
7    specifically provided for in this Plan or the Confirmation Order, or another order of the Bankruptcy
     Court or required by the Bankruptcy Code, postpetition and/or default interest shall not accrue or be
8    paid on any Claims, and no holder of a Claim shall be entitled to interest accruing on such Claim on
9    or after the Petition Date.

10                   5.4     Date of Distributions. Unless otherwise provided in this Plan, the Wildfire
     Trust Agreements, or the Claims Resolution Procedures, any distributions and deliveries to be made
11   under this Plan shall be made on the Effective Date or as soon as reasonably practicable thereafter;
     provided, that the Reorganized Debtors may implement periodic distribution dates to the extent they
12   determine appropriate. Holders of Fire Claims subject to the Claims Resolution Procedures shall
13   receive distributions in accordance with the applicable Claims Resolution Procedures.

14                  5.5    Distribution Record Date. Except as otherwise provided in the Wildfire
     Trust Agreements or the Claims Resolution Procedures, as of the close of business on the
15   Distribution Record Date, the various lists of holders of Claims and Interests in each Class, as
     maintained by the Debtors or their agents, shall be deemed closed, and there shall be no further
16   changes in the record holders of any Claims or Interests after the Distribution Record Date. None of
     the Debtors, the Reorganized Debtors, or the Disbursing Agent shall have any obligation to
17
     recognize any transfer of a Claim or Interest occurring after the close of business on the Distribution
18   Record Date. In addition, with respect to paymentthe reconciliation of any Cure Amounts or
     disputes over any Cure Amounts, none of the Debtors, the Reorganized Debtors, or the Disbursing
19   Agent shall have any obligation to recognize or deal with any party other than the non-Debtor party
     to the applicable executory contract or unexpired lease, even if such non-Debtor party has sold,
20   assigned, or otherwise transferred its Claim for a Cure Amount.; provided, however that a
21   distribution on account of any Claim for a Cure Amount that has been duly and properly sold,
     assigned, or otherwise transferred prior to the Distribution Record Date (on appropriate notice and
22   otherwise in accordance with applicable Bankruptcy and non-Bankruptcy law) shall be made to the
     purchaser, assignee, or transferee of such Claim for a Cure Amount as set forth in the Official
23   Claims Register for these Chapter 11 Cases.
24                  5.6     Disbursing Agent. Except as otherwise provided in the Plan or the Wildfire
     Trust Agreements, all distributions under this Plan shall be made by the Disbursing Agent, on behalf
25
     of the applicable Debtor, on and after the Effective Date as provided herein. The Disbursing Agent
26   shall not be required to give any bond or surety or other security for the performance of its duties.

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1    The Debtors or the Reorganized Debtors, as applicable, shall use commercially reasonable efforts to
     provide the Disbursing Agent (if other than the Reorganized Debtors) with the amounts of Claims
2    and the identities and addresses of holders of Claims, in each case, as set forth in the Debtors’ or
     Reorganized Debtors’ books and records. The Debtors or the Reorganized Debtors, as applicable,
3    shall cooperate in good faith with the Disbursing Agent (if other than the Reorganized Debtors) to
4    comply with the reporting and withholding requirements outlined in Section 5.15 of this Plan.
     Wildfire Claims subject to the Channeling Injunction shall not be administered by the Disbursing
5    Agent and shall instead be administered by the Wildfire Trusts. Notwithstanding any provision of
     the Plan to the contrary, distributions to holders of Allowed Funded Debt Claims and Allowed
6    Utility Senior Note Claims shall be made to or at the direction of the applicable Funded Debt
     Trustee, which shall, to the extent directed by the applicable Funded Debt Trustee, act as Disbursing
7    Agent for distributions to the respective Holders of Allowed Funded Debt Claims and Allowed
8    Utility Senior Note Claims under the applicable Funded Debt Documents. The Funded Debt
     Trustees, as applicable, may transfer such distributions or direct the transfer of such distributions by
9    the Debtors or through the facilities of DTC (whether by means of book-entry exchange, free
     delivery, or otherwise) and will be entitled to recognize and deal for all purposes under the Plan with
10   holders of Allowed Funded Debt Claims or Allowed Utility Senior Note Claims to the extent
     consistent with the customary practices of DTC or the customary practices for administrative agents
11   under syndicated credit facilities (as applicable). Distributions in respect of Allowed Funded Debt
12   Claims and Allowed Utility Senior Notes Claims shall be subject in all respects to the right of the
     applicable Funded Debt Trustee to assert its Charging Lien, if any, against such distributions. All
13   distributions to be made to holders of Allowed Utility Senior Note Claims shall be eligible to be
     distributed through the facilities of DTC and as provided for under the applicable Funded Debt
14   Documents.
15                  5.7     Delivery of Distributions.
16
                      (a)    Except as otherwise provided in the Plan, the Wildfire Trust Agreements, or
17   the Claims Resolution Procedures, the Disbursing Agent will make the applicable distribution under
     this Plan and, subject to Bankruptcy Rule 9010, will make all distributions to any holder of an
18   Allowed Claim as and when required by this Plan at: (i) the address of such holder on the books and
     records of the Debtors or their agents, (ii) the address in the most recent proof of claim filed by such
19   holder, or (iii) the address in any written notice of address change delivered to the Debtors or the
     Disbursing Agent, including any addresses included on any transfers of Claim filed pursuant to
20
     Bankruptcy Rule 3001. In the event that any distribution to any holder is returned as undeliverable,
21   no distribution or payment to such holder shall be made unless and until the Disbursing Agent has
     been notified of the then current address of such holder, at which time or as soon thereafter as
22   reasonably practicable, such distribution shall be made to such holder without interest.
23                  (b)    The Disbursing Agent, with the Funded Debt Trustees’ cooperation and
     consistent with Section 5.6 of this Plan, shall make any distributions on account of the Allowed
24   Funded Debt Claims and Utility Senior Note Claims. At the request of the Debtors or Reorganized
25   Debtors, each Funded Debt Trustee shall provide a copy of any registry or list of beneficial owners
     maintained by the Funded Debt Trustees to the Debtors or Reorganized Debtors, as applicable, as
26   soon as reasonably practicable following such request and, to the extent specifically requested by the

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1    Debtors or Reorganized Debtors, such Funded Debt Trustee shall freeze such registry on a date
     specified by the Debtors or Reorganized Debtors for purposes of permitting distributions to be made
2    pursuant to this Plan. If the applicable Funded Debt Document so provides, the Disbursing Agent
     may make distributions on account of the Allowed Funded Debt Claims, Utility Senior Note Claims,
3    or Utility PC Bond (2008 F and 2010 E) Claims to the applicable Funded Debt Trustee. The Funded
4    Debt Trustees shall have no duties or responsibility relating to any form of distribution that is not
     DTC eligible and the Disbursing Agent, the Debtors, or the Reorganized Debtors, as applicable,
5    shall seek the cooperation of DTC so that any distribution on account of an Allowed Funded Debt
     Claim, Utility Senior Note Claim, or Utility PC Bond (2008 F and 2010 E) Claim that is held in the
6    name of, or by a nominee of, DTC, shall be made through the facilities of DTC on the Effective Date
     or as soon as practicable thereafter. The Reorganized Debtors shall reimburse the Funded Debt
7    Trustees for any reasonable and documented fees and expenses (including the reasonable and
8    documented fees and expenses of its counsel and agents) incurred after the Effective Date solely in
     connection with actions explicitly requested by the Reorganized Debtors necessary for
9    implementation of the Plan; provided, that, for the avoidance of doubt, nothing in the Plan or
     Confirmation Order shall be considered or construed as an explicit request by the Reorganized
10   Debtors authorizing the incurrence of fees and expenses by the Funded Debt Trustees.
11                   5.8     Unclaimed Property. For distributions other than from the Wildfire Trusts,
     all distributions payable on account of Claims or Interests that are not deliverable, or have not
12
     responded to a request for information to make such delivery, and remain unclaimed shall be
13   deemed unclaimed property under section 347(b) of the Bankruptcy Code and shall revert to the
     Reorganized Debtors or their successors or assigns one year from the later of (a) the Effective Date
14   and (b) the date that is ten (10) Business Days after the date a Claim is first Allowed, and all claims
     of any other Entity (including the holder of a Claim in the same Class) to such distribution shall be
15   discharged and forever barred. The Reorganized Debtors and the Disbursing Agent shall have no
16   obligation to attempt to locate any holder of an Allowed Claim other than by reviewing the Debtors’
     books and records and filings with the Bankruptcy Court.
17
                      5.9     Satisfaction of Claims. Unless otherwise provided herein, any distributions
18   and deliveries to be made on account of Allowed Claims under this Plan shall be in complete and
     final satisfaction, settlement, and discharge of and exchange for such Allowed Claims.
19
                     5.10 Fractional Stock. No fractional shares or Interests of New HoldCo Common
20   Stock shall be distributed. If any distributions of New HoldCo Common Stock pursuant to the Plan
21   or the Plan Documents would result in the issuance of a fractional share or Interest of New HoldCo
     Common Stock, then the number of shares or Interests of New HoldCo Common Stock to be issued
22   in respect of such distribution shall be calculated to one decimal place and rounded up or down to
     the closest whole share or Interest (with a half share or Interest or greater rounded up and less than a
23   half share or Interest rounded down). The total number of shares or Interests of New HoldCo
     Common Stock, as applicable, to be distributed in connection with the Plan shall be adjusted as
24
     necessary to account for the rounding provided for in this Section 5.10. No consideration shall be
25   provided in lieu of fractional shares or Interests that are rounded down. Neither the Reorganized
     Debtors nor the Disbursing Agent shall have any obligation to make a distribution that is less than
26   (1) share or Interest of New HoldCo Common Stock. Any New HoldCo Common Stock that is not

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1    distributed in accordance with this Section 5.10 shall be returned to, and ownership thereof shall
     vest in, Reorganized HoldCo.
2
                    5.11 Manner of Payment under Plan. Except as specifically provided herein, at
3    the option of the Debtors or the Reorganized Debtors, as applicable, any Cash payment to be made
     under this Plan may be made by check, ACH, wire transfer, or any other method agreed between the
4
     Debtors or Reorganized Debtors and the holder of the Claim.
5
                    5.12 No Distribution in Excess of Amount of Allowed Claim. Notwithstanding
6    anything to the contrary in this Plan, no holder of an Allowed Claim shall receive, on account of
     such Allowed Claim, distributions in excess of the Allowed amount of such Claim, except to the
7    extent that payment of postpetition interest on such Claim is specifically provided for by the Plan,
     the Confirmation Order, or another order of the Bankruptcy Court or required by the Bankruptcy
8    Code.
9
                     5.13 Setoffs and Recoupments. Each Debtor or Reorganized Debtor, as
10   applicable, or such Entity’s successor or designee, may, pursuant to section 553 of the Bankruptcy
     Code or applicable nonbankruptcy law, offset or recoup against any Allowed Claim and the
11   distributions to be made pursuant to this Plan on account of such Allowed Claim any and all Claims,
     rights, and Causes of Action that such Debtor or Reorganized Debtor or its successors may hold
12   against the holder of such Allowed Claim; provided, that neither the failure to effect a setoff or
13   recoupment nor the allowance of any Claim hereunder will constitute a waiver or release by a
     Debtor or Reorganized Debtor or its successor of any Claims, rights, or Causes of Action that any
14   such entity or it successor or designee may possess against such holder.

15                  5.14   Rights and Powers of Disbursing Agent.

16                   (a)     The Disbursing Agent shall be empowered to: (i) effect all actions and
     execute all agreements, instruments, and other documents necessary to perform its duties under this
17   Plan; (ii) make all applicable distributions or payments provided for under this Plan; (iii) employ
18   professionals to represent it with respect to its responsibilities; and (iv) exercise such other powers
     (A) as may be vested in the Disbursing Agent by order of the Bankruptcy Court (including any order
19   issued after the Effective Date) or pursuant to this Plan or (B) as deemed by the Disbursing Agent to
     be necessary and proper to implement the provisions of this Plan.
20
                     (b)    To the extent the Disbursing Agent is an Entity other than a Debtor or
21   Reorganized Debtor, except as otherwise ordered by the Bankruptcy Court, the amount of any
     reasonable fees and expenses incurred by the Disbursing Agent on or after the Effective Date
22
     (including taxes) and any reasonable compensation and expense reimbursement Claims (including
23   for reasonable attorneys’ and other professional fees and expenses) made by the Disbursing Agent
     shall be paid in Cash by the Reorganized Debtors.
24
                    5.15   Withholding and Reporting Requirements.
25
                  (a)    In connection with this Plan and all distributions made hereunder, the
26   Reorganized Debtors and the Disbursing Agent shall comply with all applicable withholding and
27

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1    reporting requirements imposed by any federal, state, local, or foreign taxing authority, and all
     distributions under this Plan shall be subject to any such withholding or reporting requirements. In
2    the case of a non-Cash distribution that is subject to withholding, the distributing party may
     withhold an appropriate portion of such distributed property and sell such withheld property to
3    generate Cash necessary to pay over the withholding tax. Any amounts withheld pursuant to the
4    preceding sentence shall be deemed to have been distributed to and received by the applicable
     recipient for all purposes of this Plan.
5
                     (b)    Notwithstanding the above, each holder of an Allowed Claim that is to receive
6    a distribution under this Plan shall have the sole and exclusive responsibility for the satisfaction and
     payment of any tax obligations imposed on such holder by any federal, state, local, or foreign taxing
7    authority, including income, withholding, and other tax obligations, on account of such distribution.
     The Reorganized Debtors and the Disbursing Agent have the right, but not the obligation, to not
8
     make a distribution until such holder has made arrangements satisfactory to any issuing or
9    disbursing party for payment of any such tax obligations.

10                  (c)      The Reorganized Debtors and the Disbursing Agent may require, as a
     condition to receipt of a distribution, that the holder of an Allowed Claim provide any information
11   necessary to allow the distributing party to comply with any such withholding and reporting
     requirements imposed by any federal, state, local, or foreign taxing authority. If the Reorganized
12   Debtors or the Disbursing Agent make such a request and the holder fails to comply before the date
13   that is 180 days after the request is made, the amount of such distribution shall irrevocably revert to
     the applicable Reorganized Debtor and any Claim in respect of such distribution shall be discharged
14   and forever barred from assertion against such Reorganized Debtor or its respective property.

15                 5.16 Credit for Distributions under Wildfire Assistance Program. If a holder
     of an Allowed Fire Claim has received or will receive any distribution from the Wildfire Assistance
16   Program, such distribution shall be credited against any distribution to be made on account of such
17   holder’s Fire Claim under this Plan and in accordance with the terms of the Wildfire Trust
     Agreements.
18
                                                 ARTICLE VI.
19
                MEANS FOR IMPLEMENTATION AND EXECUTION OF THE PLAN
20
                     6.1 General Settlement of Claims and Interests. The Plan shall be deemed a
21
     motion to approve a good-faith compromise and settlement pursuant to which the Debtors and the
22   holders of Claims against and/or Interests in the Debtors settle all Claims, Interests, and Causes of
     Action pursuant to section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, and in
23   consideration for the classification, distributions, releases, and other benefits provided under the
     Plan, on the Effective Date, the provisions of the Plan shall constitute a good faith compromise and
24   settlement of all Claims and Interests and controversies resolved pursuant to the Plan. The
     Confirmation Order shall constitute the Court’s approval of the compromise, settlement, and release
25
     of all such Claims, Interests, and Causes of Action, as well as a finding by the Bankruptcy Court that
26   all such compromises, settlements, and releases are mutual and bi-directional and are in the best

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1    interests of the Debtors, their estates, and the holders of Claims, Interests, and Causes of Action, and
     is fair, equitable, and reasonable. Except as otherwise provided in the Wildfire Trust Agreements
2    and the Claims Resolution Procedures, in accordance with the provisions of the Plan, pursuant to
     section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, without any further notice to or
3    action, order, or approval of the Bankruptcy Court, after the Effective Date, the Reorganized
4    Debtors, may compromise and settle all Claims and Causes of Action against, and Interests in, the
     Debtors and their estates. The compromises, settlements, and releases described herein shall be
5    deemed nonseverable from each other and from all other terms of the Plan.

6                   6.1     [Reserved]

7                   6.2     Restructuring Transactions; Effectuating Documents.
8                    (a)    Following the Confirmation Date or as soon as reasonably practicable
     thereafter, the Debtors or the Reorganized Debtors, as applicable, may take all actions as may be
9
     necessary or appropriate to effectuate any transaction described in, approved by, contemplated by, or
10   necessary to effectuate the Plan or to obtain any of the Plan Funding (collectively, the
     “Restructuring Transactions”), including (i) the execution and delivery of appropriate agreements
11   or other documents of merger, amalgamation, consolidation, restructuring, conversion, disposition,
     transfer, arrangement, continuance, dissolution, sale, purchase, or liquidation containing terms that
12   are consistent with the terms of the Plan, (ii) the execution and delivery of appropriate instruments
     of transfer, assignment, assumption, or delegation of any asset, property, right, liability, debt, or
13
     obligation on terms consistent with the terms of the Plan, (iii) the filing of appropriate certificates or
14   articles of incorporation, reincorporation, merger, consolidation, conversion, amalgamation,
     arrangement, continuance, or dissolution pursuant to applicable state or federal law, (iv) the
15   execution and delivery of the Plan Documents, (v) the issuance of securities, all of which shall be
     authorized and approved in all respects in each case without further action being required under
16   applicable law, regulation, order, or rule (except such filings, approvals and authorizations as may
17   be required, necessary or desirable for offerings of securities not exempt from the Securities Act
     pursuant to section 1145 of the Bankruptcy Code), (vi) such other transactions that are necessary or
18   appropriate to implement the Plan in the most tax efficient manner, (vii) the cancellation of existing
     securities, and (viii) all other actions that the applicable Entities determine to be necessary or
19   appropriate, including making filings or recordings that may be required by applicable law.
20                  (b)       Each officer, or member of the board of directors, of the Debtors is (and each
     officer, or member of the board of directors of the Reorganized Debtors shall be) authorized to issue,
21
     execute, deliver, file, or record such contracts, securities, instruments, releases, indentures, and other
22   agreements or documents and take such actions as may be necessary or appropriate to effectuate,
     implement, and further evidence the terms and conditions of the Plan and the securities issued
23   pursuant to the Plan in the name of and on behalf of the Reorganized Debtors, all of which shall be
     authorized and approved in all respects, in each case, without the need for any approvals,
24   authorization, consents, or any further action required under applicable law, regulation, order, or rule
     (including any action by the stockholders or directors of the Debtors or the Reorganized Debtors)
25
     except for those expressly required pursuant to the Plan.
26
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1                   (c)    All matters provided for herein involving the corporate structure of the
     Debtors or Reorganized Debtors, or any corporate action required by the Debtors or Reorganized
2    Debtors in connection herewith shall be deemed to have occurred and shall be in effect, without any
     requirement of further action by the stockholders or directors of the Debtors or Reorganized
3    Debtors, and with like effect as though such action had been taken unanimously by the stockholders
4    of the Debtors or Reorganized Debtors.

5                    6.3     Continued Corporate Existence. Except as otherwise provided in this Plan
     (including pursuant to the Restructuring Transactions), the Debtors shall continue to exist after the
6    Effective Date as Reorganized Debtors in accordance with the applicable laws of the respective
     jurisdictions in which they are incorporated or organized. On and after the Effective Date, without
7    prejudice to the rights of any party to a contract or other agreement with any Debtor, each
     Reorganized Debtor may, in its sole discretion, take such action as permitted by applicable law and
8
     such Reorganized Debtor’s organizational documents, as such Reorganized Debtor may determine is
9    reasonable and appropriate, including: (i) changing the legal name of a Reorganized Debtor; (ii)
     closing the applicable Chapter 11 Case; and (iii) amending its charter so as to prevent the
10   acquisition, sale, or other transaction of any class or classes of stock of Reorganized HoldCo, other
     than pursuant to the Plan, for the purpose of preserving the tax benefits of the Reorganized Debtors
11   if such acquisition, sale, or other transaction would result in an increase in the amount of stock of
     Reorganized HoldCo beneficially owned (as determined for applicable tax purposes) by any person
12
     or group of persons that owns, or as a result of such acquisition, sale, or other transaction would
13   own, at least 4.75% of any class or classes of stock of Reorganized HoldCo.

14                  6.4     The Subrogation Wildfire Trust.

15                  (a)      On or before the Effective Date, the Subrogation Wildfire Trust shall be
     established by the Subrogation Wildfire Trustee and on the Effective Date or as soon as reasonably
16   practicable thereafter, the Debtors shall fund the Subrogation Wildfire Trust as provided in Section
17   4.25(b) hereof. In accordance with the Subrogation Wildfire Trust Agreement and the Subrogation
     Wildfire Claim Allocation Agreement, each of which shall become effective as of the Effective
18   Date, the Subrogation Wildfire Trust shall administer, process, settle, resolve, liquidate, satisfy, and
     pay all Subrogation Wildfire Claims. All Subrogation Wildfire Claims shall be channeled to the
19   Subrogation Wildfire Trust and shall be subject to the Channeling Injunction.
20                  (b)     Each trust comprising the Subrogation Wildfire Trust is intended to be treated,
     and shall be reported, as a “qualified settlement fund” for U.S. federal income tax purposes and shall
21
     be treated consistently for state and local tax purposes, to the extent applicable; provided, however,
22   that the Reorganized Debtors may elect to treat any trust comprising the Subrogation Wildfire Trust
     as a “grantor trust” for U.S. federal income tax purposes, in which case each such trust shall be
23   treated consistently for state and local tax purposes, to the extent applicable. The Subrogation
     Wildfire Trustee and all holders of Subrogation Wildfire Claims shall report consistently with the
24   foregoing. The Subrogation Wildfire Trustee shall be the “administrator,” within the meaning of
     Treasury Regulations Section 1.468B-2(k)(3), of the Subrogation Wildfire Trust and, in such
25
     capacity, the Subrogation Wildfire Trustee shall be responsible for filing all tax returns of the
26   Subrogation Wildfire Trust and, out of the assets of the Subrogation Wildfire Trust, the payment of

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1    any taxes due with respect to trust assets or otherwise imposed on the Subrogation Wildfire Trust
     (including any tax liability arising in connection with the distribution of trust assets), and shall be
2    permitted to sell any assets of the Subrogation Wildfire Trust to the extent necessary to satisfy such
     tax liability (including any tax liability arising in connection with such sale).
3
                     (c)     Except as otherwise provided in the Subrogation Wildfire Trust Agreement,
4
     or the Subrogation Wildfire Claim Allocation Agreement, the Subrogation Wildfire Trustee will
5    make the applicable distribution under the Subrogation Wildfire Trust Agreement and, subject to
     Bankruptcy Rule 2002, at: (i) the address of such holder on the books and records of the Debtors or
6    their agents; (ii) the address provided by such holder on its most recent proof of claim, or (iii) the
     address in any written notice of address change delivered to the Debtors prior to the Effective Date,
7    or the Subrogation Wildfire Trustee after the Effective Date, including any addresses included on
     any transfers of Claim filed pursuant to Bankruptcy Rule 3001. In the event that any distribution to
8
     any holder is returned as undeliverable, no distribution or payment to such holder shall be made
9    unless and until the Subrogation Wildfire Trustee has been notified of the then-current address of
     such holder, at which time or as soon as reasonably practicable thereafter, such distribution shall be
10   made to such holder without interest.
11                 (d)     The Subrogation Wildfire Trustee may request an expedited determination of
     taxes under section 505(b) of the Bankruptcy Code for all tax returns filed by or on behalf of the
12   Subrogation Wildfire Trust through the termination of the Subrogation Wildfire Trust.
13
                    6.5     Subrogation Wildfire Trustee.
14
                     (a)   Powers and Duties of Trustee. The powers and duties of the Subrogation
15   Wildfire Trustee shall include, but shall not be limited to, those responsibilities vested in the
     Subrogation Wildfire Trustee pursuant to the terms of the Subrogation Wildfire Trust Agreement, or
16   as may be otherwise necessary and proper to (i) make distributions to holders of Subrogation
     Wildfire Claims in accordance with the terms of the Plan, Subrogation Wildfire Trust Agreement,
17
     and Subrogation Wildfire Claim Allocation Agreement and (ii) carry out the provisions of the Plan
18   relating to the Subrogation Wildfire Trust and the Subrogation Wildfire Claims. The Subrogation
     Wildfire Trustee shall maintain good and sufficient books and records relating to each Subrogation
19   Wildfire Claim, including the identity of the owner of each Subrogation Wildfire Claim and the
     amount and date of all Distributions made on account of each such Subrogation Wildfire Claim.
20
                      (b)     The Subrogation Wildfire Trustee shall cooperate fully with the Reorganized
21   Debtors in connection with the preparation and filing by the Reorganized Debtors of any tax returns,
22   claims for refunds, or other tax filings, and any tax proceedings, to the extent relating to any
     transfers to, distributions by, or the operations of the Subrogation Wildfire Trust.
23
                    6.6     Subrogation Wildfire Trust Advisory Board.
24
                  (a)     Appointment of Subrogation Wildfire Trust Advisory Board.               The
25   Subrogation Wildfire Trust Advisory Board shall consist of three (3) initial members selected by
26
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1    holders of Subrogation Wildfire Claims in accordance with the Subrogation Wildfire Trust
     Agreement and the Subrogation Wildfire Claim Allocation Agreement.
2
                    (b)      Powers and Duties of Subrogation Trust Advisory Board. The Subrogation
3    Trust Advisory Board shall, as and when requested by the Subrogation Wildfire Trustee, or as is
     otherwise either (i) required under the Plan, the Confirmation Order, the Subrogation Wildfire Trust
4
     Agreement or (ii) contemplated by the Subrogation Wildfire Claim Allocation Agreement, consult
5    with and advise the Subrogation Wildfire Trustee as to the administration and management of the
     Subrogation Wildfire Trust in accordance with the terms of this Plan, the Confirmation Order, and/or
6    the Subrogation Trust Agreement.

7                    (c)      The Subrogation Wildfire Trust Advisory Board shall be appointed on the
     Effective Date. The rights and responsibilities of the Subrogation Wildfire Trust Advisory Board
8    shall be set forth in the Subrogation Wildfire Trust Agreement.
9
                    6.7     The Fire Victim Trust.
10
                     (a)    On or before the Effective Date, the Fire Victim Trust shall be established. In
11   accordance with the Plan, the Confirmation Order, the Fire Victim Trust Agreement and the Fire
     Victim Claims Resolution Procedures, the Fire Victim Trust shall, among other tasks described in
12   this Plan or the Fire Victim Trust Agreement, administer, process, settle, resolve, liquidate, satisfy,
     and pay all Fire Victim Claims, and prosecute or settle all Assigned Rights and Causes of Action.
13   All Fire Victim Claims shall be channeled to the Fire Victim Trust and shall be subject to the
14   Channeling Injunction. The Fire Victim Trust shall be funded with the Aggregate Fire Victim
     Consideration. To the extent, if any, a holder of a Fire Victim Claim asserts damages against the
15   Debtors or the Fire Victim Trust for amounts covered by a policy of insurance, the Fire Victim Trust
     may receive a credit against the Fire Victim Claim of any such holder, its predecessor, successor, or
16   assignee, for insurance coverage amounts as provided in the Fire Victim Trust Agreement. In
     addition, coverage provisions of any insurance policy for losses resulting from a Fire and any funds
17
     received by any holder of a Fire Victim Claim, net of attorney’s fees, shall satisfy, to the extent
18   applicable, any amounts of restitution the Debtors or Reorganized Debtors might be subject to under
     Cal. Penal Code § 1202.4
19
                      (b)     Each trust comprising the Fire Victim Trust is intended to be treated, and shall
20   be reported, as a “qualified settlement fund” for U.S. federal income tax purposes and shall be
     treated consistently for state and local tax purposes, to the extent applicable; provided, however, that
21   the Reorganized Debtors may elect to treat any trust comprising the Fire Victim Trust as a “grantor
22   trust” for U.S. federal income tax purposes, in which case each such trust shall be treated
     consistently for state and local tax purposes, to the extent applicable. The Fire Victim Trustee and
23   all holders of Fire Victim Claims shall report consistently with the foregoing. The Fire Victim
     Trustee shall be the “administrator,” within the meaning of Treasury Regulations Section 1.468B-
24   2(k)(3), of the Fire Victim Trust and, in such capacity, the Fire Victim Trustee shall be responsible
     for filing all tax returns of the Fire Victim Trust and, out of the assets of the Fire Victim Trust, the
25   payment of any taxes due with respect to trust assets or otherwise imposed on the Fire Victim Trust
26   (including any tax liability arising in connection with the distribution of trust assets), shall be

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1    permitted to sell any assets of the Fire Victim Trust to the extent necessary to satisfy such tax
     liability (including any tax liability arising in connection with such sale).
2
                   (c)     On the Effective Date, the Fire Victim Claims Resolution Procedures shall
3    become effective.
4                    (d)    No parties other than holders of Fire Victim Claims shall have a right, or
5    involvement in, the Fire Victim Claims Resolution Procedures, the Fire Victim Trust Agreement, the
     administration of the Fire Victims Trust, the selection of a Fire Victim Trustee, settlement fund
6    administrator, claims administrator, or the Fire Victim Trust Oversight Committee. The Fire Victim
     Claims shall be administered by a Fire Victim Trust and the Fire Victim Trust Oversight Committee
7    independent of the Debtors. The Fire Victim Claims shall be administered, allocated and distributed
     in accordance with applicable ethical rules and subject to adequate informed consent procedures.
8    The Fire Victim Trustee shall receive settlement allocations consistent with Rule 1.8(g) of the
9    Model Rules of Professional Conduct. The rules and procedures governing the administration and
     allocation of the funds from the Fire Victim Trust shall be objectively applied and transparent. No
10   party other than holders of Fire Victim Claims, including but not limited to the Debtors, the
     Reorganized Debtors, and any holders of Claims or Interests other than holders of Fire Victim
11   Claims, shall have any rights to any of the proceeds in the Fire Victim Trust, or any clawback or
     reversionary interest of any of the consideration (whether Cash or otherwise) allocated to any of the
12   holders of Fire Victim Claims generally or in the total amount funded to the Fire Victim Trust.
13
                    6.8    Fire Victim Trustee
14
                      (a)    Powers and Duties of Trustee. The powers and duties of the Fire Victim
15   Trustee shall include, but shall not be limited to, those responsibilities vested in the Fire Victim
     Trustee pursuant to the terms of the Fire Victim Trust Agreement, or as may be otherwise necessary
16   and proper to (i) make distributions to holders of Fire Victim Claims in accordance with the terms of
     the Plan and the Fire Victim Trust Agreement and (ii) carry out the provisions of the Plan relating to
17
     the Fire Victim Trust and the Fire Victim Claims, including but not limited to prosecuting or settling
18   all Assigned Rights and Causes of Action in his or her capacity as a trustee for the benefit of Fire
     Victims. On the Effective Date, pursuant to this Plan and sections 1123, 1141, and 1146(a) of the
19   Bankruptcy Code, the Debtors, on behalf of their estates, and the Fire Victim Trustee, will be
     authorized and directed to, and will execute the Fire Victim Trust Agreement in substantially the
20   form that will be attached to the Plan Supplement, and will be further authorized and directed to, and
     will, take all such actions as required to transfer the Assigned Rights and Causes of Action from the
21
     Debtors to the Fire Victim Trust. The Fire Victim Trustee shall maintain good and sufficient books
22   and records relating to each Fire Victim Claim, including the identity of the owner of each Fire
     Victim Claim and the amount and date of all Distributions made on account of each such Fire
23   Victim Claim. In addition to all powers enumerated in the Fire Victim Trust Agreement, in this
     Plan, and in the Confirmation Order, from and after the Effective Date, the Fire Victim Trust shall
24   succeed to all of the rights and standing of the Debtors with respect to the Assigned Rights and
     Causes of Action in its capacity as a trust administering assets for the benefit of Fire Victims.
25

26                  (b)    The Fire Victim Trustee will be appointed as the representative of each of the
     Debtors’ estates pursuant to sections 1123(a)(5), (a)(7), and (b)(3)(B) of the Bankruptcy Code and as
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1    such will be vested with the authority and power (subject to the Fire Victim Trust Agreement and
     the Plan) to, among other things: (i) administer, object to or settle Fire Victim Claims; (ii) make
2    distributions to holders of Fire Victim Claims in accordance with the terms of the Plan and the Fire
     Victim Trust Agreement, and (iii) carry out the provisions of the Plan related to the Fire Victim
3    Trust and the Fire Victim Claims, including but not limited to prosecuting or settling all Assigned
4    Rights and Causes of Action in his or her capacity as a trustee for the benefit of holders of Fire
     Victim Claims. As the representative of the Debtors’ estates, in his or her capacity as a trustee for
5    the benefit of Fire Victims, the Fire Victim Trustee will succeed to all of the rights and powers of
     the Debtors and their estates with respect to all Assigned Rights and Causes of Action assigned and
6    transferred to the Fire Victim Trust, and the Fire Victim Trustee will be substituted and will replace
     the Debtors, their estates, any official committee appointed in these cases if applicable, in all such
7    Assigned Rights and Causes of Action, whether or not such claims are pending in filed litigation.
8
                    (c)      The Fire Victim Trustee shall cooperate fully with the Reorganized Debtors in
9    connection with the preparation and filing by the Reorganized Debtors of any tax returns, claims for
     refunds, or other tax filings, and any tax proceedings, to the extent relating to any transfers to,
10   distributions by, or the operations of the Fire Victim Trust.
11                  (d)      Except as otherwise provided in the Fire Victim Trust Agreement, or the Fire
     Victim Claims Resolution Procedures, the Fire Victim Trustee will make the applicable distribution
12   under the Fire Victim Trust Agreement and, subject to Bankruptcy Rule 2002, at: (i) the address of
13   such holder on the books and records of the Debtors or their agents; (ii) the address provided by
     such holder on its most recent proof of claim, or (iii) the address in any written notice of address
14   change delivered to the Debtors prior to the Effective Date, or the Fire Victim Trustee after the
     Effective Date, including any addresses included on any transfers of Claim filed pursuant to
15   Bankruptcy Rule 3001. In the event that any distribution to any holder is returned as undeliverable,
     no distribution or payment to such holder shall be made unless and until the Fire Victim Trustee has
16
     been notified of the then-current address of such holder, at which time or as soon as reasonably
17   practicable thereafter, such distribution shall be made to such holder without interest.

18                  (e)     The Fire Victim Trust Oversight Committee shall be appointed on the
     Effective Date. The Fire Victim Trust Oversight Committee shall consist of members selected and
19   appointed by the Consenting Fire Claimant Professionals and the Tort Claimants Committee. The
     rights and responsibilities of the Fire Victim Trust Oversight Committee shall be set forth in the Fire
20   Victim Trust Agreement.
21
                    (f)     Unless otherwise expressly provided under this Plan, on the Effective Date,
22   all Assigned Rights and Causes of Action will vest in the Fire Victim Trust. On and after the
     Effective Date, the transfer of the Assigned Rights and Causes of Action to the Fire Victim Trust
23   will be deemed final and irrevocable and distributions may be made from the Fire Victim Trust. The
     Confirmation Order will provide the Fire Victim Trustee with express authority and standing
24   necessary to take all actions to prosecute or settle any and all Assigned Rights and Causes of Action.
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1                   (g)    The Fire Victim Trustee may request an expedited determination of taxes
     under section 505(b) of the Bankruptcy Code for all tax returns filed by or on behalf of the Fire
2    Victim Trust through the termination of the Fire Victim Trust.
3                   6.9     Public Entities Segregated Defense Fund.
4                 (a)   On the Effective Date, the Reorganized Debtors shall fund the Public Entities
5    Segregated Defense Fund in accordance with the terms of the Public Entities Plan Support
     Agreements.
6
                    (b)     The Public Entities Segregated Defense Fund shall be maintained by the
7    Reorganized Debtors until the later of (i) the expiration of the applicable statute of limitations period
     for any and all Public Entities Third Party Claims and (ii) the conclusion of all litigation, including
8    appeals, involving all Public Entities Third Party Claims.
9                   6.10    Go-Forward Wildfire Fund.
10
                     (a)    On the Effective Date, the Debtors shall contribute, in accordance with the
11   Wildfire Legislation (A.B. 1054), an initial contribution of approximately $4.8 billion and first
     annual contribution of approximately $193 million, to the Go-Forward Wildfire Fund in order to
12   secure the participation of the Reorganized Debtors therein.
13                  (b)    The Reorganized Debtors shall also be responsible for ongoing funding
     commitments to the Go-Forward Wildfire Fund as required by the terms thereof and the Wildfire
14   Legislation (A.B. 1054).
15
                    6.11    Officers and Board of Directors.
16
                    (a)    The New Boards for HoldCo and the Utility will, among other things, satisfy
17   the requirements of the Wildfire Legislation (A.B. 1054) and other applicable law, including with
     respect to directors having appropriate experience in safety, finance and utility operations. The
18   composition of the New Boards shall be disclosed in accordance with section 1129(a)(5) of the
     Bankruptcy Code.
19

20                   (b)     Except as otherwise provided in the Plan Supplement, the officers of the
     respective Debtors immediately before the Effective Date, as applicable, shall serve as the initial
21   officers of each of the respective Reorganized Debtors on and after the Effective Date.

22                  (c)     Except to the extent that a member of the board of directors of a Debtor
     continues to serve as a director of the respective Reorganized Debtor on and after the Effective Date,
23   the members of the board of directors of each Debtor prior to the Effective Date, in their capacities
     as such, shall have no continuing obligations to the Reorganized Debtors on or after the Effective
24
     Date and each such director will be deemed to have resigned or shall otherwise cease to be a director
25   of the applicable Debtor on the Effective Date.

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1                   (d)     Commencing on the Effective Date, the directors of each of the Reorganized
     Debtors shall be elected and serve pursuant to the terms of the applicable organizational documents
2    of such Reorganized Debtor and may be replaced or removed in accordance with such
     organizational documents.
3
                   6.12 Management Incentive Plan. On or after the Effective Date, the
4
     Management Incentive Plan may be established and implemented at the discretion of the New Board
5    and in compliance with the Wildfire Legislation (A.B. 1054).

6                   6.13   Cancellation of Existing Securities and Agreements.

7                     (a)     Except for the purpose of enabling holders of Allowed Claims to receive a
     distribution under the Plan as provided herein and except as otherwise set forth in this Plan, the Plan
8    Supplement or the Confirmation Order, on the Effective Date, all agreements, instruments, and other
     documents evidencing any prepetition Claim or any rights of any holder in respect thereof shall be
9
     deemed cancelled, discharged, and of no force or effect. For the avoidance of doubt, in accordance
10   with Sections 4.13, 4.15, 4.19, 4.33, and 4.34 of the Plan, none of the HoldCo Common Interests, the
     HoldCo Other Interests, the Utility Reinstated Senior Note Documents, the Utility Preferred
11   Interests, or the Utility Common Interests shall be cancelled pursuant to the Plan. The holders of, or
     parties to, such cancelled instruments, Securities, and other documentation shall have no rights
12   arising from or related to such instruments, Securities, or other documentation or the cancellation
     thereof, except the rights provided for pursuant to this Plan.
13

14                  (b)     Except as otherwise set forth in the Plan, the Funded Debt Trustees shall be
     released and discharged from all duties and responsibilities under the applicable Funded Debt
15   Documents; provided that; notwithstanding the releases in Article X of the Plan, entry of the
     Confirmation Order or the occurrence of the Effective Date, each of the Funded Debt Documents or
16   agreement that governs the rights of the holder of a Claim shall continue in effect to the extent
     necessary to: (i) enforce the rights, Claims, and interests of the Funded Debt Trustees thereto vis-a-
17
     vis any parties other than the Released Parties; (ii) allow the holders of Allowed Funded Debt
18   Claims, Utility Senior Note Claims, or Utility PC Bond (2008 F and 2010 E) Claim, as applicable, to
     receive distributions under the Plan, to the extent provided for under the Plan; (iii) appear to be
19   heard in the Chapter 11 Cases or in any proceedings in this Court or any other court; (iv) preserve
     any rights of the Funded Debt Trustees to payment of fees, expenses, and indemnification
20   obligations from or on any money or property to be distributed in respect of the Allowed Funded
     Debt Claims, Utility Senior Note Claims and Utility PC Bond (2008 F and 2010 E) Claims, solely to
21
     the extent provided in the Plan, including permitting the Funded Debt Trustees to maintain, enforce,
22   and exercise a Charging Lien against such distributions; and (v) enforce any obligation owed to the
     Funded Debt Trustees under the Plan. For the avoidance of doubt, on and after the Effective Date,
23   the Utility Senior Notes Trustee shall not be released from any duty or responsibility under or
     arising from the Utility Reinstated Senior Note Documents.
24
                    6.14 Cancellation of Certain Existing Security Agreements.                  Promptly
25
     following the payment in full or other satisfaction of an Allowed Other Secured Claim, the holder of
26   such Allowed Other Secured Claim shall deliver to the Debtors or Reorganized Debtors, as

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1    applicable, any Collateral or other property of a Debtor held by such holder, together with any
     termination statements, instruments of satisfaction, or releases of all security interests with respect to
2    its Allowed Other Secured Claim that may be reasonably required to terminate any related financing
     statements, mortgages, mechanics’ or other statutory Liens, or lis pendens, or similar interests or
3    documents.
4
                     6.15 Issuance of Equity and Equity-Linked Securities. On and after the
5    Confirmation Date, HoldCo and Reorganized HoldCo, as applicable, shall be authorized to offer,
     sell, distribute, and issue, or cause to be offered, sold, distributed and issued, subject to or
6    substantially concurrent with the occurrence of the Effective Date, any equity securities, equity
     forward contracts or other equity-linked securities that are issued to obtain Plan Funding, all without
7    the need for any further corporate, limited liability company, or shareholder action, and to authorize
     and reserve for issuance New HoldCo Common Stock to be issued pursuant to any such transaction
8
     or upon the exercise, conversion or settlement of any such equity forward contracts or other equity-
9    linked securities. All of the New HoldCo Common Stock distributable under the Plan or pursuant to
     any instrument or document entered into in connection with the Plan Funding shall be duly
10   authorized, validly issued, and fully paid and non-assessable.
11                  6.16 Exit Financing. On the Effective Date, the Exit Financing Documents shall
     be executed and delivered. The Reorganized Debtors shall be authorized to execute, deliver, and
12   enter into and perform under the Exit Financing Documents and to consummate the Exit Financing
13   without the need for any further corporate action and without further action by the holders of Claims
     or Interests.
14
                     6.17 Rights Offering. If applicable, following approval by the Bankruptcy Court
15   of the Rights Offering Procedures and, if the offer, issuance and distribution of Securities pursuant
     to the Rights Offering is to be registered under the Securities Act, effectiveness of an appropriate
16   registration statement registering such offer, issuance and distribution under the Securities Act, the
17   Debtors shall, if they determine to implement the same, commence and consummate the Rights
     Offering in accordance therewith. New HoldCo Common Stock shall be issued to each Eligible
18   Offeree that exercises its respective subscription rights pursuant to the Rights Offering Procedures
     and the Plan. The consummation of the Rights Offering shall be conditioned on the occurrence of
19   the Effective Date, and any other condition specified in the Backstop Commitment Letters.
     Amounts held by the subscription agent with respect to the Rights Offering prior to the Effective
20   Date shall not be entitled to any interest on account of such amounts and no Eligible Offeree
21   participating in the Rights Offering shall have any rights in New HoldCo Common Stock until the
     Rights Offering is consummated.
22
                    6.18 Plan Proponent Reimbursement. On the Effective Date, the Reorganized
23   Debtors shall reimburse the Shareholder Proponents for their out‐of‐pocket expenses (excluding any
     professional fees) incurred in connection with the furtherance of the Debtors’ reorganization, which
24   in the aggregate shall not exceed $150,000.
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1                   6.19    Securities Act Registrations or Exemptions.

2                    (a)    The offer, issuance and distribution of the New HoldCo Common Stock and
     other Securities as provided hereunder may be exempt from registration under (i) the Securities Act
3    of 1933 and all rules and regulations promulgated thereunder and (ii) any state or local law requiring
     registration for the offer, issuance, or distribution of Securities, pursuant to section 1145 of the
4
     Bankruptcy Code, without further act or action by any Entity, pursuant to another available
5    exemption from registration, such as section 4(a)(2) of the Securities Act and/or Regulation D
     promulgated thereunder, or pursuant to Article III of the Securities Act, or such offer, issuance and
6    distribution may be registered under the Securities Act pursuant to an appropriate registration
     statement. Any offer, issuance and distribution of Securities pursuant to any Backstop Commitment
7    Letter may be exempt from registration pursuant to section 4(a)(2) of the Securities Act and/or
     Regulation D promulgated thereunder.
8

9                    (b)    Under section 1145 of the Bankruptcy Code, any securities issued under the
     Plan that are exempt from such registration pursuant to section 1145(a) of the Bankruptcy Code will
10   be freely tradable by the recipients thereof, subject to (i) the provisions of section 1145(b)(1) of the
     Bankruptcy Code relating to the definition of an underwriter in section 2(a)(11) of the Securities Act
11   of 1933, (ii) compliance with any rules and regulations of the Securities and Exchange Commission,
     if any, applicable at the time of any future transfer of such securities or instruments, (iii) the
12   restrictions, if any, on the transferability of such securities and instruments, including any
13   restrictions on the transferability under the terms of the New Organizational Documents, (iv) any
     applicable procedures of DTC, and (v) applicable regulatory approval.
14
                                                ARTICLE VII.
15
                                 PROCEDURES FOR DISPUTED CLAIMS
16
                     7.1    Objections to Claims. Except as otherwise provided herein, in the Claims
17
     Resolution Procedures, the Subrogation Claims RSA, and in the Wildfire Trust Agreements, the
18   Reorganized Debtors shall be entitled to object to Claims. The Subrogation Wildfire Trustee shall
     be entitled to object to Subrogation Wildfire Claims. The Fire Victim Trustee shall be entitled to
19   object to Fire Victim Claims. Except as otherwise set forth in the Plan, any objections to Claims
     shall be served and filed on or before the later of (i) one-hundred and eighty (180) days after the
20   Effective Date and (ii) such later date as may be fixed by the Bankruptcy Court (as the same may be
21   extended by the Bankruptcy Court for cause shown). Fire Victim Claims, other than those Claims
     arising out of the 2015 Butte fires that were the subject of fully executed prepetition settlement
22   agreements with the Debtor(s) and any other Fire Victim Claim that is settled or Allowed by order of
     the Bankruptcy Court prior to the Effective Date, are treated as unliquidated Disputed Claims for
23   purposes of the Fire Victim Trust and shall be subject to resolution by the Fire Victim Trust in
     accordance with the Fire Victim Claims Resolution Procedures.
24
                   7.2   Resolution of Disputed Administrative Expense Claims and Disputed
25
     Claims. Except as otherwise provided for in the Plan, in the Claims Resolution Procedures, the
26   Subrogation Claims RSA, or in the Wildfire Trust Agreements, on and after the Effective Date, the

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1    Reorganized Debtors shall have the authority to compromise, settle, otherwise resolve, or withdraw
     any objections to Disputed Administrative Expense Claims or Disputed Claims and to compromise,
2    settle, or otherwise resolve any Disputed Administrative Expense Claims and Disputed Claims
     without approval of the Bankruptcy Court, other than with respect to any Professional Fee Claims.
3    On and after the Effective Date, the Subrogation Wildfire Trustee shall have the authority to
4    compromise, settle, otherwise resolve, or withdraw any objections to Disputed Subrogation Wildfire
     Claims without approval of the Bankruptcy Court. On and after the Effective Date, the Fire Victim
5    Trustee shall have the authority to compromise, settle, otherwise resolve, or withdraw any objections
     to Disputed Fire Victim Claims without approval of the Bankruptcy Court. Notwithstanding the
6    foregoing, and for the avoidance of doubt, Subrogation Wildfire Claims and Fire Victim Claims may
     only be compromised, settled, or resolved pursuant to the applicable Claims Resolution Procedures
7    and Wildfire Trust Agreement.
8
                    7.3    Payments and Distributions with Respect to Disputed Claims.
9    Notwithstanding anything herein to the contrary, if any portion of a Claim is a Disputed Claim, no
     payment or distribution provided hereunder shall be made on account of such Claim (including on
10   account of the non-Disputed portion of such Claim) unless and until such Disputed Claim becomes
     an Allowed Claim.
11
                     7.4     Distributions After Allowance. After such time as a Disputed Claim
12   becomes, in whole but not in part, an Allowed Claim, the holder thereof shall be entitled to
13   distributions, if any, to which such holder is then entitled as provided in this Plan, including any
     interest accrued in respect of such Allowed Claim from the Petition Date through the date of such
14   distributions on account of such Allowed Claim, at the applicable rate provided for in such Claim’s
     treatment pursuant to this Plan. Such distributions shall be made as soon as practicable after the date
15   that the order or judgment of the Bankruptcy Court allowing such Disputed Claim (or portion
     thereof) becomes a Final Order.
16

17                   7.5    Disallowance of Claims. Any Claims held by an Entity from which property
     is recoverable under sections 542, 543, 550, or 553 of the Bankruptcy Code or that is a transferee of
18   a transfer avoidable under section 522(f), 522(h), 544, 545, 547, 548, 549, or 724(a) of the
     Bankruptcy Code, as determined by a Final Order, shall be deemed disallowed pursuant to section
19   502(d) of the Bankruptcy Code, and holders of such Claims may not receive any distributions on
     account of such Claims until such time as such Causes of Action against that Entity have been
20   settled or a Final Order with respect thereto has been entered and all sums due, if any, to the Debtors
21   by that Entity have been turned over or paid to the Debtors or the Reorganized Debtors. Except as
     otherwise provided herein or by an order of the Bankruptcy Court, all proofs of Claim filed after the
22   Effective Date shall be disallowed and forever barred, estopped, and enjoined from assertion, and
     shall not be enforceable against any Reorganized Debtor, without the need for any objection by the
23   Reorganized Debtors or any further notice to or action, order, or approval of the Bankruptcy Court,
     other than a claim for damages arising from the rejection of an executory contract or unexpired
24
     lease.
25
                   7.6    Estimation. Except as otherwise provided in the Plan, the Claims Resolution
26   Procedures, the Subrogation Claims RSA, and the Wildfire Trust Agreements, the Debtors or the

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1    Reorganized Debtors (or the Subrogation Wildfire Trustee solely with respect to Disputed
     Subrogation Wildfire Claims and the Fire Victim Trustee solely with respect to Disputed Fire
2    Victim Claims) may determine, resolve and otherwise adjudicate all contingent Claims or
     unliquidated Claims in the Bankruptcy Court or such other court of the Debtors’, Reorganized
3    Debtors’, the Subrogation Wildfire Trustee’s or the Fire Victim Trustee’s choice having jurisdiction
4    over the validity, nature or amount thereof. The Debtors or the Reorganized Debtors (or the
     Subrogation Wildfire Trustee solely with respect to Disputed Subrogation Wildfire Claims and the
5    Fire Victim Trustee solely with respect to Disputed Fire Victim Claims) may at any time request that
     the Bankruptcy Court estimate any contingent Claims or unliquidated Claims pursuant to section
6    502(c) of the Bankruptcy Code for any reason or purpose, regardless of whether any of the Debtors
     or the Reorganized Debtors (or the Subrogation Wildfire Trustee solely with respect to Disputed
7    Subrogation Wildfire Claims and the Fire Victim Trustee solely with respect to Disputed Fire
8    Victim Claims) have previously objected to such Claim or whether the Bankruptcy Court has ruled
     on any such objection. The Bankruptcy Court shall retain jurisdiction to estimate any Claim at any
9    time during litigation concerning any objection to any Claim, including, during the pendency of any
     appeal relating to any such objection. If the Bankruptcy Court estimates any contingent Claim or
10   unliquidated Claim, that estimated amount shall constitute the maximum limitation on such Claim,
     and the Debtors or the Reorganized Debtors (or the Subrogation Wildfire Trustee solely with respect
11   to Disputed Subrogation Wildfire Claims and the Fire Victim Trustee solely with respect to
12   Disputed Fire Victim Claims) may pursue supplementary proceedings to object to the ultimate
     allowance of such Claim; provided, that such limitation shall not apply to Claims requested by the
13   Debtors to be estimated for voting purposes only. All of the aforementioned objection, estimation
     and resolution procedures are cumulative and not exclusive of one another. Claims may be
14   estimated and subsequently compromised, settled, withdrawn, or resolved by any mechanism
     approved by the Bankruptcy Court. Notwithstanding section 502(j) of the Bankruptcy Code, in no
15
     event shall any holder of a Claim that has been estimated pursuant to section 502(c) of the
16   Bankruptcy Code or otherwise be entitled to seek reconsideration of such Claim unless the holder of
     such Claim has filed a motion requesting the right to seek such reconsideration on or before twenty
17   (20) calendar days after the date such Claim is estimated by the Bankruptcy Court. Notwithstanding
     the foregoing, and for the avoidance of doubt, Subrogation Wildfire Claims and Fire Victim Claims
18   may only be compromised, settled, or resolved pursuant to terms of the applicable Wildfire Trust
     Agreement.
19

20                                             ARTICLE VIII.

21                        EXECUTORY CONTRACTS AND UNEXPIRED LEASES

22                  8.1     General Treatment.
23                  (a)    As of, and subject to, the occurrence of the Effective Date and the payment of
     any applicable Cure Amount, all executory contracts and unexpired leases of the Reorganized
24
     Debtors shall be deemed assumed, unless such executory contract or unexpired lease (i) was
25   previously assumed or rejected by the Debtors, pursuant to a Final Order, (ii) previously expired or
     terminated pursuant to its own terms or by agreement of the parties thereto, (iii) is the subject of a
26   motion to assume, assume and assign, or reject filed by the Debtors on or before the Confirmation

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1    Date, or (iv) is specifically designated as an executory contract or unexpired lease to be rejected on
     the Schedule of Rejected Contracts.
2
                   (b)    Notwithstanding the foregoing, as of and subject to the occurrence of the
3    Effective Date and the payment of any applicable Cure Amount, all power purchase agreements,
     renewable energy power purchase agreements, and Community Choice Aggregation servicing
4
     agreements of the Debtors shall be deemed assumed.
5
                     (c)     Subject to the occurrence of the Effective Date, entry of the Confirmation
6    Order by the Bankruptcy Court shall constitute approval of the assumptions, assumptions and
     assignments, or rejections provided for in this Plan pursuant to sections 365(a) and 1123 of the
7    Bankruptcy Code. Each executory contract and unexpired lease assumed pursuant to this Plan shall
     vest in, and be fully enforceable by, the applicable Reorganized Debtor in accordance with its terms,
8    except as modified by the provisions of this Plan, any order of the Bankruptcy Court authorizing and
9    providing for its assumption or assumption and assignment, or applicable law.

10                  8.2    Determination of Cure Disputes and Deemed Consent.

11                  (a)     Any monetary defaults under an assumed or assumed and assigned executory
     contract or unexpired lease, shall be satisfied, pursuant to section 365(b)(1) of the Bankruptcy Code,
12   by payment of the default amount, as reflected in the applicable cure notice, in Cash on the Effective
     Date, subject to the limitations described below, or on such other terms as the parties to such
13   executory contracts or unexpired leases and the Debtors may otherwise agree.
14
                     (b)    At least fourteen (14) days before the deadline set to file objections to
15   confirmation of the Plan, the Debtors shall distribute, or cause to be distributed, assumption and cure
     notices to the applicable third parties. Any objection by a counterparty to an executory contract
16   or unexpired lease to the proposed assumption, assumption and assignment, or related Cure
     Amount must be filed, served, and actually received by the Debtors before the deadline set to
17   file objections to confirmation of the Plan. Any counterparty to an executory contract or
18   unexpired lease that fails to object timely to the proposed assumption, assumption and assignment,
     or Cure Amount will be deemed to have assented to such assumption, assumption and assignment,
19   or Cure Amount. Notwithstanding anything herein to the contrary, in the event that any executory
     contract or unexpired lease is removed from the Schedule of Rejected Contracts after such fourteen
20   (14)-day deadline, a cure notice with respect to such executory contract or unexpired lease will be
     sent promptly to the counterparty thereof and a noticed hearing set to consider whether such
21   executory contract or unexpired lease can be assumed or assumed and assigned, as applicable.
22
                    (c)    In the event of an unresolved dispute regarding (i) any Cure Amount, (ii) the
23   ability of the Reorganized Debtors or any assignee to provide “adequate assurance of future
     performance” (within the meaning of section 365 of the Bankruptcy Code) under the executory
24   contract or unexpired lease to be assumed, or (iii) any other matter pertaining to assumption,
     assumption and assignment, or the Cure Amounts required by section 365(b)(1) of the Bankruptcy
25   Code, such dispute shall be resolved by a Final Order (which order may be the Confirmation Order).
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1                    (d)    If the Bankruptcy Court makes a determination regarding any of the matters
     set forth in Section 8.2(c) above with respect to any executory contract or unexpired lease
2    (including, without limitation that the Cure Amount is greater than the amount set forth in the
     applicable cure notice), as set forth in Section 8.8(a) below, the Debtors or Reorganized Debtors, as
3    applicable, shall have the right to alter the treatment of such executory contract or unexpired lease,
4    including, without limitation, to add such executory contract or unexpired lease to the Schedule of
     Rejected Contracts, in which case such executory contract or unexpired lease shall be deemed
5    rejected as of the Effective Date.

6                   (e)     Assumption or assumption and assignment of any executory contract or
     unexpired lease pursuant to the Plan or otherwise shall result in the full release and satisfaction of
7    any Claims and Causes of Action against any Debtor or defaults by any Debtor arising under any
     assumed executory contract or unexpired lease at any time before the date that the Debtors assume
8
     or assume and assign such executory contract or unexpired lease, whether monetary or nonmonetary,
9    including all Claims arising under sections 503(b)(9) or 546(c) of the Bankruptcy Code, any defaults
     of provisions restricting the change in control or ownership interest composition, or any other
10   bankruptcy-related defaults. Any proofs of Claim filed with respect to an executory contract or
     unexpired lease that has been assumed or assumed and assigned shall be deemed disallowed and
11   expunged, without further notice to or action, order, or approval of the Bankruptcy Court.
12                   8.3     Rejection Damages Claims. In the event that the rejection of an executory
13   contract or unexpired lease hereunder results in damages to the other party or parties to such contract
     or lease, any Claim for such damages, if not heretofore evidenced by a timely filed proof of Claim,
14   shall be forever barred and shall not be enforceable against the Debtors or the Reorganized Debtors,
     or their respective estates, properties or interests in property, unless a proof of Claim is filed with the
15   Bankruptcy Court and served upon the Debtors or the Reorganized Debtors, as applicable, no later
     than thirty (30) days after the later of (i) the Confirmation Date or (ii) the effective date of the
16
     rejection of such executory contract or unexpired lease, as set forth on the Schedule of Rejected
17   Contracts or order of the Bankruptcy Court. The Confirmation Order shall constitute the
     Bankruptcy Court’s approval of the rejection of all the leases and contracts identified in the
18   Schedule of Rejected Contracts.

19                   8.4     Survival of the Debtors’ Indemnification Obligations. Any and all
     obligations of the Debtors pursuant to their corporate charters, agreements, bylaws, limited liability
20   company agreements, memorandum and articles of association, or other organizational documents
21   (including all Indemnification Obligations) to indemnify current and former officers, directors,
     agents, or employees with respect to all present and future actions, suits, and proceedings against the
22   Debtors or such officers, directors, agents, or employees based upon any act or omission for or on
     behalf of the Debtors shall remain in full force and effect to the maximum extent permitted by
23   applicable law and shall not be discharged, impaired, or otherwise affected by this Plan. All such
     obligations shall be deemed and treated as executory contracts that are assumed by the Debtors
24   under this Plan and shall continue as obligations of the Reorganized Debtors. Any Claim based on
25   the Debtors’ obligations in this Section 8.4 herein shall not be a Disputed Claim or subject to any
     objection, in either case, by reason of section 502(e)(1)(B) of the Bankruptcy Code or otherwise.
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1                   8.5    Assumption of Employee Benefit Plans.

2                   (a)    On the Effective Date, all Employee Benefit Plans are deemed to be, and shall
     be treated as, executory contracts under this Plan and, on the Effective Date, shall be assumed
3    pursuant to sections 365 and 1123 of the Bankruptcy Code. All outstanding payments which are
     accrued and unpaid as of the Effective Date pursuant to the Employee Benefit Plans shall be made
4
     by the Reorganized Debtors on the Effective Date or as soon as practicable thereafter.
5
                    (b)    The deemed assumption of the Employee Benefit Plans pursuant to this
6    Section 8.5 shall result in the full release and satisfaction of any Claims and Causes of Action
     against any Debtor or defaults by any Debtor arising under any Employee Benefit Plan at any time
7    before the Effective Date. Any proofs of Claim filed with respect to an Employee Benefit Plan shall
     be deemed disallowed and expunged, without further notice to or action, order, or approval of the
8    Bankruptcy Court.
9
                   (c)     Notwithstanding anything to the contrary in the Plan, the Reorganized
10   Debtors shall continue and assume the Pacific Gas and Electric Company Retirement Plan
     (“Defined Benefit Plan”) subject to the Employee Retirement Income Securities Act, the Internal
11   Revenue Code, and any other applicable law, including (i) the minimum funding standards in 26
     U.S.C. §§ 412, 430, and 29 U.S.C. §§ 1082, 1083 and (ii) premiums under 29 U.S.C. §§ 1306 and
12   1307. All proofs of claim filed by the Pension Benefit Guaranty Corporation with respect to the
     Defined Benefit Plan are deemed withdrawn on the Effective Date.
13

14                  8.6    Collective Bargaining Agreements.

15                   (a)   On or prior to the Effective Date, and subject to the occurrence of the
     Effective Date, the Reorganized Debtors shall assume the Collective Bargaining Agreements. The
16   prepetition grievance claims set out in the letter from the Debtors to IBEW Local 1245 dated May
     15, 2020 shall be resolved in the ordinary course of business in accordance with the terms of the
17   Collective Bargaining Agreements, and all parties reserve their rights with respect thereto.
18
                    8.7    Insurance Policies.
19
                    (a)     All Insurance Policies (including all D&O Liability Insurance Policies and tail
20   coverage liability insurance), surety bonds, and indemnity agreements entered into in connection
     with surety bonds to which any Debtor is a party as of the Effective Date shall be deemed to be and
21   treated as executory contracts and shall be assumed by the applicable Debtors or Reorganized
     Debtor and shall continue in full force and effect thereafter in accordance with their respective
22   terms.
23
                    8.8    Reservation of Rights.
24
                     (a)     The Debtors may amend the Schedule of Rejected Contracts and any cure
25   notice until the later of (i) 4:00 p.m. (Pacific Time) on the Business Day immediately prior to the
     commencement of the Confirmation Hearing or (ii) if Section 8.2(d) is applicable, the Business Day
26   that is seven (7) Business Days following the determination by the Bankruptcy Court, in order to
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1    add, delete, or reclassify any executory contract or unexpired lease; provided, that if the
     Confirmation Hearing is adjourned for a period of more than two (2) consecutive calendar days, the
2    Debtors’ right to amend such schedules and notices shall be extended to 4:00 p.m. (Pacific Time) on
     the Business Day immediately prior to the adjourned date of the Confirmation Hearing, with such
3    extension applying in the case of any and all subsequent adjournments of the Confirmation Hearing.
4
                    (b)     Neither the exclusion nor the inclusion by the Debtors of any contract or lease
5    on any exhibit, schedule, or other annex to this Plan or in the Plan Supplement, nor anything
     contained in this Plan or in the Plan Documents, will constitute an admission by the Debtors that any
6    such contract or lease is or is not an executory contract or unexpired lease or that the Debtors or the
     Reorganized Debtors or their respective affiliates has any liability thereunder.
7
                    (c)     Except as explicitly provided in this Plan, nothing herein shall waive, excuse,
8    limit, diminish, or otherwise alter any of the defenses, claims, Causes of Action, or other rights of
9    the Debtors or the Reorganized Debtors under any executory or non-executory contract or unexpired
     or expired lease.
10
                     (d)    Nothing in this Plan will increase, augment, or add to any of the duties,
11   obligations, responsibilities, or liabilities of the Debtors or the Reorganized Debtors, as applicable,
     under any executory or non-executory contract or unexpired or expired lease.
12
                    8.9    Modifications, Amendments, Supplements, Restatements, or Other
13   Agreements. Unless otherwise provided in the Plan, each executory contract or unexpired lease that
14   is assumed shall include all modifications, amendments, supplements, restatements, or other
     agreements that in any manner affect such executory contract or unexpired lease, and executory
15   contracts and unexpired leases related thereto, if any, including easements, licenses, permits, rights,
     privileges, immunities, options, rights of first refusal, and any other interests, unless any of the
16   foregoing agreements has been previously rejected or repudiated or is rejected or repudiated under
     the Plan.
17

18                                              ARTICLE IX.

19                                   EFFECTIVENESS OF THE PLAN

20                  9.1    Conditions Precedent to Confirmation of the Plan. The following are
     conditions precedent to confirmation of the Plan:
21
                    (a)     The Disclosure Statement Order has been entered by the Bankruptcy Court;
22

23                 (b)     The Bankruptcy Court shall have entered the Confirmation Order in form and
     substance acceptable to the Debtors;
24
                     (c)     The Debtors have received the CPUC Approval, other than the approval
25   referred to in Section 1.38(c) of the Plan;

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1                   (d)     The Subrogation Claims RSA shall be in full force and effect;

2                   (e)     The Tort Claimants RSA shall be in full force and effect;

3                   (f)     The Noteholder RSA shall be in full force and effect; and
4                     (g)    The Backstop Commitment Letters, if necessary for the Plan Funding, shall be
     in full force and effect and binding on all parties thereto, and shall not have been terminated by the
5
     parties thereto.
6
                    9.2     Conditions Precedent to the Effective Date. The following are conditions
7    precedent to the Effective Date of the Plan:

8                    (a)     The Confirmation Order shall have been entered by the Bankruptcy Court no
     later than the June 30, 2020 date set forth in section 3292(b) of the Wildfire Legislation (A.B. 1054)
9    or any extension of such date and such order shall be in full force and effect, and no stay thereof
     shall be in effect;
10

11                  (b)     The Subrogation Claims RSA shall be in full force and effect;

12                  (c)     The Tort Claimants RSA shall be in full force and effect;

13                  (d)     The Noteholder RSA shall be in full force and effect;

14                  (e)    The adversary proceeding commenced by the Tort Claimants Committee
     against the Ad Hoc Group of Subrogation Claim Holders (Complaint for Declaratory Judgment
15   Subordinating and Disallowing Claims and For an Accounting, Official Comm. of Tort Claimants v.
     Ad Hoc Grp. of Subrogation Claim Holders, Adv. Pro. No. 19-3053 (N.D. Cal. Nov. 8, 2019), ECF.
16
     No. 1) shall have been dismissed with prejudice;
17
                    (f)    The Tax Benefits Payment Agreement shall be in full force and effect, and
18   shall have received any necessary approvals;

19                  (g)     The Debtors shall have implemented all transactions contemplated by this
     Plan;
20
                    (h)    All documents and agreements necessary to consummate the Plan shall have
21
     been effected or executed;
22
                 (i)     The Bankruptcy Court approval for the Debtors to participate in and fund the
23   Go-Forward Wildfire Fund shall be in full force and effect;

24                  (j)     The Debtors shall have obtained the Plan Funding;

25                 (k)     The Debtors shall have received all authorizations, consents, legal and
     regulatory approvals, rulings, letters, no-action letters, opinions, or documents that are necessary to
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1    implement and consummate the Plan and the Plan Funding and that are required by law, regulation,
     or order;
2
                    (l)    The CPUC Approval shall be in full force and effect;
3
                  (m)     The Subrogation Wildfire Trust shall have been established and the
4    Subrogation Wildfire Trustee shall have been appointed;
5
                    (n)    The Fire Victim Trust shall have been established, the Fire Victim Trustee
6    shall have been appointed and the Tax Benefits Payment Agreement shall have been fully executed;
     and
7
                   (o)     The Plan shall not have been materially amended, altered or modified from
8    the Plan as confirmed by the Confirmation Order, unless such material amendment, alteration or
     modification has been made in accordance with Section 12.6 of the Plan.
9
                    9.3    Satisfaction of Conditions. Except as otherwise provided herein, any actions
10
     required to be taken on the Effective Date shall take place and shall be deemed to have occurred
11   simultaneously, and no such action shall be deemed to have occurred prior to the taking of any other
     such action. If the Debtors determine that any of the conditions precedent set forth in Sections 9.1
12   or 9.2 hereof cannot be satisfied and the occurrence of such conditions is not waived pursuant to
     Section 9.4, then the Debtors shall file a notice of the failure of the Effective Date with the
13   Bankruptcy Court.
14                  9.4     Waiver of Conditions. The conditions set forth in Sections 9.1 or 9.2 may be
15   waived or modified only by the Plan Proponents with the consent of the Backstop Parties holding a
     majority of the Aggregate Backstop Commitment Amount (such consent not to be unreasonably
16   withheld, conditioned or delayed), without notice, leave, or order of the Bankruptcy Court or any
     formal action other than proceedings to confirm or consummate the Plan; provided that for Sections
17   9.1(d) and 9.2(b) of the Plan only, the consent of the Requisite Consenting Creditors shall also be
     required; provided further that for Sections 9.1(e) and 9.2(c) of the Plan only, the consent of the
18
     Requisite Consenting Fire Claimant Professionals (as such term is defined in the Tort Claimants
19   RSA) shall also be required.

20                  9.5     Effect of Non-Occurrence of Effective Date. If the Effective Date does not
     occur on or before December 31, 2020, then: (a) the Plan will be null and void in all respects; and
21   (b) nothing contained in the Plan or the Disclosure Statement shall: (i) constitute a waiver or release
     of any Claims, Interests, or Causes of Action by any Entity; (ii) prejudice in any manner the rights of
22   any Debtor or any other Entity; or (iii) constitute an admission, acknowledgment, offer, or
23   undertaking of any sort by any Debtor or any other Entity.

24                                               ARTICLE X.

25                                    EFFECT OF CONFIRMATION
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1                   10.1 Binding Effect. Except as otherwise provided in section 1141(d)(3) of the
     Bankruptcy Code, and subject to the occurrence of the Effective Date, on and after the entry of the
2    Confirmation Order, the provisions of this Plan shall bind every holder of a Claim against or Interest
     in any Debtor and inure to the benefit of and be binding on such holder’s respective successors and
3    assigns, regardless of whether the Claim or Interest of such holder is Impaired under this Plan and
4    whether such holder has accepted this Plan.

5                    10.2 Vesting of Assets. Upon the Effective Date, pursuant to sections 1141(b) and
     (c) of the Bankruptcy Code, all assets and property of the Debtors shall vest in the Reorganized
6    Debtors, as applicable, free and clear of all Claims, Liens, charges, and other interests, except as
     otherwise provided herein. The Reorganized Debtors may operate their businesses and use, acquire,
7    and dispose of property free of any restrictions of the Bankruptcy Code or the Bankruptcy Rules and
     in all respects as if there were no pending cases under any chapter or provision of the Bankruptcy
8
     Code, except as otherwise provided herein.
9
                      10.3 Release and Discharge of Debtors. Upon the Effective Date and in
10   consideration of the distributions to be made hereunder, except as otherwise expressly provided
     herein, each holder (as well as any representatives, trustees, or agents on behalf of each holder) of a
11   Claim or Interest and any affiliate of such holder shall be deemed to have forever waived, released,
     and discharged the Debtors, shall be discharged to the fullest extent permitted by section 1141 of the
12
     Bankruptcy Code, of and from any and all Claims, Interests, rights, and liabilities that arose prior to
13   the Effective Date; provided, however, that any liability of the Debtors arising from any fire or any
     other act or omission occurring after the Petition Date, including the Kincade Fire, that has not been
14   satisfied in full as of the Effective Date shall not be discharged, waived, or released. In addition, (a)
     from and after the Effective Date neither the automatic stay nor any other injunction entered by the
15   Bankruptcy Court shall restrain the enforcement or defense of any claims for fires occurring after the
     Petition Date, including the Kincade Fire or the Lafayette fire in any court that would otherwise
16
     have jurisdiction if the Chapter 11 Cases had not been filed and (b) no claims for fires or any other
17   act or omission or motions for allowance of claims for fires or any act or omission occurring after
     the Petition Date need to be filed in the Chapter 11 Cases. Upon the Effective Date, all such Persons
18   shall be forever precluded and enjoined, pursuant to section 524 of the Bankruptcy Code, from
     prosecuting or asserting any such discharged Claim against or Interest in the Debtors.
19
                    10.4 Term of Injunctions or Stays. Unless otherwise provided herein or in a
20   Final Order, all injunctions or stays arising under or entered during the Chapter 11 Cases under
21   section 105 or 362 of the Bankruptcy Code, or otherwise, and in existence on the Confirmation Date,
     shall remain in full force and effect until the later of the Effective Date and the date indicated in the
22   order providing for such injunction or stay. The Trading Order shall remain enforceable as to
     transfers through the Effective Date with respect to those persons having “beneficial ownership” of
23   “PG&E Stock” (as such terms are defined in Trading Order). Accordingly, the Trading Order has
     no applicability or effect with respect to the trading of stock of Reorganized HoldCo after the
24
     Effective Date.
25
                    10.5 Injunction Against Interference with Plan. Upon entry of the Confirmation
26   Order, all holders of Claims against and Interests in the Debtors and other parties in interest, along

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1    with their respective present or former employees, agents, officers, directors, principals, and
     affiliates, shall be enjoined from taking any actions to interfere with the implementation or
2    consummation of the Plan; provided, that nothing herein or in the Confirmation Order shall
     preclude, limit, restrict or prohibit any party in interest from seeking to enforce the terms of the Plan,
3    the Confirmation Order, or any other agreement or instrument entered into or effectuated in
4    connection with the consummation of the Plan.

5                   10.6    Injunction.

6                    (a)      Except as otherwise provided in this Plan or in the Confirmation Order, as of
     the entry of the Confirmation Order but subject to the occurrence of the Effective Date, all Persons
7    who have held, hold, or may hold Claims or Interests are, with respect to any such Claim or Interest,
     permanently enjoined after the entry of the Confirmation Order from: (i) commencing, conducting,
8    or continuing in any manner, directly or indirectly, any suit, action, or other proceeding of any kind
9    (including, any proceeding in a judicial, arbitral, administrative, or other forum) against or affecting,
     directly or indirectly, a Debtor, a Reorganized Debtor, or an estate or the property of any of the
10   foregoing, or any direct or indirect transferee of any property of, or direct or indirect successor in
     interest to, any of the foregoing Persons mentioned in this subsection (i) or any property of any such
11   transferee or successor; (ii) enforcing, levying, attaching (including any prejudgment attachment),
     collecting, or otherwise recovering in any manner or by any means, whether directly or indirectly,
12   any judgment, award, decree, or order against a Debtor, a Reorganized Debtor, or an estate or its
13   property, or any direct or indirect transferee of any property of, or direct or indirect successor in
     interest to, any of the foregoing Persons mentioned in this subsection (ii) or any property of any such
14   transferee or successor; (iii) creating, perfecting, or otherwise enforcing in any manner, directly or
     indirectly, any encumbrance of any kind against a Debtor, a Reorganized Debtor, or an estate or any
15   of its property, or any direct or indirect transferee of any property of, or successor in interest to, any
     of the foregoing Persons mentioned in this subsection (iii) or any property of any such transferee or
16
     successor; (iv) acting or proceeding in any manner, in any place whatsoever, that does not conform
17   to or comply with the provisions of this Plan to the full extent permitted by applicable law; and
     (v) commencing or continuing, in any manner or in any place, any action that does not comply with
18   or is inconsistent with the provisions of this Plan; provided, that nothing contained herein shall
     preclude such Persons who have held, hold, or may hold Claims against a Debtor or an estate from
19   exercising their rights, or obtaining benefits, pursuant to and consistent with the terms of this Plan,
     the Confirmation Order, or any other agreement or instrument entered into or effectuated in
20
     connection with the consummation of the Plan.
21
                     (b)    By accepting distributions pursuant to this Plan, each holder of an Allowed
22   Claim will be deemed to have affirmatively and specifically consented to be bound by this Plan,
     including, the injunctions set forth in this Section.
23
                    10.7    Channeling Injunction.
24
                  (a)    The sole source of recovery for holders of Subrogation Wildfire Claims
25   and Fire Victim Claims shall be from the Subrogation Wildfire Trust and the Fire Victim
26   Trust, as applicable. The holders of such Claims shall have no recourse to or Claims

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1    whatsoever against the Reorganized Debtors or their assets and properties. Consistent with
     the foregoing, all Persons that have held or asserted, or that hold or assert any Subrogation
2    Wildfire Claim or Fire Victim Claim shall be permanently and forever stayed, restrained, and
     enjoined from taking any action for the purpose of directly or indirectly collecting, recovering,
3    or receiving payments, satisfaction, or recovery from any Reorganized Debtor or its assets and
4    properties with respect to any Fire Claims, including all of the following actions:

5                         (i)     commencing, conducting, or continuing, in any manner, whether
            directly or indirectly, any suit, action, or other proceeding of any kind in any forum
6           with respect to any such Fire Claim, against or affecting any Reorganized Debtor, or
            any property or interests in property of any Reorganized Debtor with respect to any
7           such Fire Claim;
8                        (ii)   enforcing, levying, attaching, collecting or otherwise recovering,
9           by any manner or means, or in any manner, either directly or indirectly, any judgment,
            award, decree or other order against any Reorganized Debtor or against the property
10          of any Reorganized Debtor with respect to any such Fire Claim;

11                         (iii)  creating, perfecting, or enforcing in any manner, whether directly
            or indirectly, any Lien of any kind against any Reorganized Debtor or the property of
12          any Reorganized Debtor with respect to any such Fire Claims;
13                       (iv)    asserting or accomplishing any setoff, right of subrogation,
14          indemnity, contribution, or recoupment of any kind, whether directly or indirectly,
            against any obligation due to any Reorganized Debtor or against the property of any
15          Reorganized Debtor with respect to any such Fire Claim; and

16                        (v)    taking any act, in any manner, in any place whatsoever, that does
            not conform to, or comply with, the provisions of the Plan Documents, with respect to
17          any such Fire Claim.
18
                     (b)    Reservations. Notwithstanding anything to the contrary in this Section 10.7
19   of the Plan, this Channeling Injunction shall not enjoin:

20                        (i)     the rights of holders of Subrogation Wildfire Claims and Fire Victim
            Claims to the treatment afforded them under the Plan, including the right to assert such
21          Claims in accordance with the applicable Wildfire Trust Agreements solely against the
            applicable Wildfire Trust whether or not there are funds to pay such Fire Claims; and
22
                         (ii)     the Wildfire Trusts from enforcing their rights under the Wildfire
23
            Trust Agreements.
24
                   (c)    Modifications. There can be no modification, dissolution, or termination of
25   the Channeling Injunction, which shall be a permanent injunction.

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1                  (d)      No Limitation on Channeling Injunction. Nothing in the Plan, the
     Confirmation Order, or the Wildfire Trust Agreements shall be construed in any way to limit the
2    scope, enforceability, or effectiveness of the Channeling Injunction provided for herein and in the
     Confirmation Order.
3
                    (e)     Bankruptcy Rule 3016 Compliance. The Debtors’ compliance with the
4
     requirements of Bankruptcy Rule 3016 shall not constitute an admission that the Plan provides for
5    an injunction against conduct not otherwise enjoined under the Bankruptcy Code.

6                    10.8 Exculpation. Notwithstanding anything herein to the contrary, and to the
     maximum extent permitted by applicable law, and except for the Assigned Rights and Causes
7    of Action solely to the extent preserved by Section 10.9(g), no Exculpated Party shall have or
     incur, and each Exculpated Party is hereby released and exculpated from, any Claim, Interest,
8    obligation, suit, judgment, damage, demand, debt, right, Cause of Action, loss, remedy, or
9    liability for any claim (including, but not limited to, any claim for breach of any fiduciary duty
     or any similar duty) in connection with or arising out of the administration of the Chapter 11
10   Cases; the negotiation and pursuit of the Public Entities Plan Support Agreements, the
     Backstop Commitment Letters, the Subrogation Claims RSA, the Tort Claimants RSA, the
11   Noteholder RSA, the Exit Financing Documents, the Plan Funding, the DIP Facilities, the
     Disclosure Statement, the Plan, the Restructuring Transactions, the Wildfire Trusts (including
12   the Plan Documents, the Claims Resolution Procedures and the Wildfire Trust Agreements),
13   or any agreement, transaction, or document related to any of the foregoing, or the solicitation
     of votes for, or confirmation of, this Plan; the funding of this Plan; the occurrence of the
14   Effective Date; the administration of this Plan or the property to be distributed under this
     Plan; any membership in (including, but not limited to, on an ex officio basis), participation in,
15   or involvement with the Statutory Committees; the issuance of Securities under or in
     connection with this Plan; or the transactions in furtherance of any of the foregoing; except for
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     Claims related to any act or omission that is determined in a Final Order by a court of
17   competent jurisdiction to have constituted actual fraud or willful misconduct, but in all
     respects such Entities shall be entitled to reasonably rely upon the advice of counsel with
18   respect to their duties and responsibilities pursuant to this Plan. The Exculpated Parties and
     each of their respective affiliates, agents, directors, officers, employees, advisors, and attorneys
19   have acted in compliance with the applicable provisions of the Bankruptcy Code with regard
     to the solicitation and distributions pursuant to this Plan and, therefore, are not, and on
20
     account of such distributions shall not be, liable at any time for the violation of any applicable
21   law, rule, or regulation governing the solicitation of acceptances or rejections of this Plan or
     such distributions made pursuant to this Plan, including the issuance of Securities thereunder.
22   This exculpation shall be in addition to, and not in limitation of, all other releases, indemnities,
     exculpations, and any other applicable law or rules protecting such Exculpated Parties from
23   liability.
24                 10.9    Releases.
25
                   (a)    Releases by the Debtors. As of and subject to the occurrence of the
26   Effective Date, except for the rights that remain in effect from and after the Effective Date to

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1    enforce this Plan and the Plan Documents, and except for the Assigned Rights and Causes of
     Action solely to the extent preserved by Section 10.9(g), for good and valuable consideration,
2    the adequacy of which is hereby confirmed, including, the service of the Released Parties to
     facilitate the reorganization of the Debtors, the implementation of the Restructuring, and
3    except as otherwise provided in this Plan or in the Confirmation Order, the Released Parties
4    are deemed forever released and discharged, to the maximum extent permitted by law and
     unless barred by law, by the Debtors, the Reorganized Debtors, and the Debtors’ estates, in
5    each case on behalf of themselves and their respective successors, assigns, and representatives
     and any and all other Entities who may purport to assert any Cause of Action derivatively, by
6    or through the foregoing Entities, from any and all claims, interests, obligations, suits,
     judgments, damages, demands, debts, rights, Causes of Action, losses, remedies, or liabilities
7    whatsoever, including any derivative claims, asserted or assertable on behalf of the Debtors,
8    the Reorganized Debtors, or the Debtors’ estates, whether known or unknown, foreseen or
     unforeseen, existing or hereinafter arising, in law, equity, or otherwise, that the Debtors, the
9    Reorganized Debtors, or the Debtors’ estates would have been legally entitled to assert in
     their own right (whether individually or collectively) or on behalf of the holder of any Claim or
10   Interest or other Entity, based on or relating to, or in any manner arising from, in whole or in
     part, the Debtors, the Chapter 11 Cases, the Fires, the purchase, sale, or rescission of the
11   purchase or sale of any Security of the Debtors or the Reorganized Debtors, the subject matter
12   of, or the transactions or events giving rise to, any Claim or Interest that is treated in this
     Plan, the business or contractual arrangements between any Debtor and any Released Party,
13   the DIP Facilities, the Plan Funding, the Restructuring, the restructuring of any Claim or
     Interest before or during the Chapter 11 Cases, the Restructuring Transactions, the Public
14   Entities Plan Support Agreements, the Backstop Commitment Letters, the Subrogation
     Claims RSA, the Tort Claimants RSA, the Noteholder RSA, the Exit Financing Documents,
15
     the negotiation, formulation, or preparation of the Disclosure Statement and this Plan and
16   related agreements, instruments, and other documents (including the Plan Documents, the
     Claims Resolution Procedures, the Wildfire Trust Agreements, Public Entities Plan Support
17   Agreements, the Backstop Commitment Letters, the Subrogation Claims RSA, the Tort
     Claimants RSA, the Noteholder RSA, and the Exit Financing Documents), the solicitation of
18   votes with respect to this Plan, any membership (including, but not limited to, on an ex officio
     basis), participation in, or involvement with the Statutory Committees, or any other act or
19
     omission, transaction, agreement, event, or other occurrence, and in all respects such Entities
20   shall be entitled to reasonably rely upon the advice of counsel with respect to their duties and
     responsibilities pursuant to this Plan.
21
                   (b)     Releases by Holders of Claims and Interests. As of and subject to the
22   occurrence of the Effective Date, except for the rights that remain in effect from and after the
     Effective Date to enforce the Plan and the Plan Documents, and except for the Assigned Rights
23   and Causes of Action solely to the extent preserved by Section 10.9(g), for good and valuable
24   consideration, the adequacy of which is hereby confirmed, including, the service of the
     Released Parties to facilitate the reorganization of the Debtors and the implementation of the
25   Restructuring, and except as otherwise provided in the Plan or in the Confirmation Order, the
     Released Parties, are deemed forever released and discharged, to the maximum extent
26   permitted by law and unless barred by law, by the Releasing Parties from any and all claims,
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1    interests, obligations, suits, judgments, damages, demands, debts, rights, Causes of Action,
     losses, remedies, and liabilities whatsoever, including any derivative claims, asserted or
2    assertable on behalf of the Debtors, and any claims for breach of any fiduciary duty (or any
     similar duty), whether known or unknown, foreseen or unforeseen, existing or hereinafter
3    arising, in law, equity, or otherwise, that such holders or their affiliates (to the extent such
4    affiliates can be bound) would have been legally entitled to assert in their own right (whether
     individually or collectively) or on behalf of the holder of any Claim or Interest or other Entity,
5    based on or relating to, or in any manner arising from, in whole or in part, the Debtors, the
     Fires, the Chapter 11 Cases, the purchase, sale, or rescission of the purchase or sale of any
6    Security of the Debtors or the Reorganized Debtors, the subject matter of, or the transactions
     or events giving rise to, any Claim or Interest that is treated in the Plan, the business or
7    contractual arrangements between any Debtor and any Released Party, the DIP Facilities, the
8    Plan Funding, the Restructuring, the restructuring of any Claim or Interest before or during
     the Chapter 11 Cases, the Restructuring Transactions, the Public Entities Plan Support
9    Agreement, the Backstop Commitment Letters, the Subrogation Claims RSA, the Tort
     Claimants RSA, the Noteholder RSA, the Exit Financing Documents, the negotiation,
10   formulation, or preparation of the Disclosure Statement, the Plan and related agreements,
     instruments, and other documents (including the Plan Documents, the Claims Resolution
11   Procedures, the Wildfire Trust Agreements, Public Entities Plan Support Agreements, the
12   Backstop Commitment Letters, the Subrogation Claims RSA, the Tort Claimants RSA, the
     Noteholder RSA, and the Exit Financing Documents), the solicitation of votes with respect to
13   the Plan, any membership in (including, but not limited to, on an ex officio basis),
     participation in, or involvement with the Statutory Committees, or any other act or omission,
14   transaction, agreement, event, or other occurrence, and in all respects such Entities shall be
     entitled to reasonably rely upon the advice of counsel with respect to their duties and
15
     responsibilities pursuant to the Plan.           Notwithstanding the above, the holders of
16   Environmental Claims, Workers’ Compensation Claims and 2001 Utility Exchange Claims
     retain the right to assert such Claims against the Reorganized Debtors in accordance with the
17   terms of the Plan; and nothing herein shall be deemed to impose a release by holders of Fire
     Victim Claims of insurance claims arising under their insurance policies against holders of
18   Subrogation Wildfire Claims, other than any rights such holder may elect to release as part of
     any settlement as set forth in Section 4.25(f)(ii) hereof.
19

20                   (c)    Only Consensual Non-Debtor Releases. Except as set forth under Section
     4.25(f)(ii) hereof, for the avoidance of doubt, and notwithstanding any other provision of this
21   Plan, nothing in the Plan is intended to, nor shall the Plan be interpreted to, effect a
     nonconsensual release by, satisfaction, compromise, settlement or discharge of a holder of a
22   Claim or Cause of Action in favor of a party that is not a Debtor, it being acknowledged that
     such holder shall be deemed to have released, or to effectuate a satisfaction, compromise,
23   settlement or discharge of, a party that is not a Debtor under the Plan solely to the extent that
24   such holder consensually elects to provide such Plan release in accordance with the opt-in
     release procedures set forth herein or in any applicable Ballot. The holder of a Claim shall
25   receive the same amount of consideration under the Plan whether or not such holder elects to

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1    release a party that is not a Debtor in accordance with the opt-in release procedures set forth
     herein or in any applicable Ballot.
2
                    (d)      Release of Liens. Except as otherwise specifically provided in the Plan or
3    in any contract, instrument, release, or other agreement or document created pursuant to the
     Plan, including the Exit Financing Documents, on the Effective Date and concurrently with the
4
     applicable distributions made pursuant to the Plan and, in the case of a Secured Claim,
5    satisfaction in full of the portion of the Secured Claim that is Allowed as of the Effective Date,
     all mortgages, deeds of trust, Liens, pledges, or other security interests against any property of
6    the estates shall be fully released and discharged, and all of the right, title, and interest of any
     holder of such mortgages, deeds of trust, Liens, pledges, or other security interests shall revert
7    to the Reorganized Debtors and their successors and assigns, in each case, without any further
     approval or order of the Bankruptcy Court and without any action or filing being required to
8
     be made by the Debtors.
9
                    (e)    Waiver of Statutory Limitations on Releases. Each releasing party in any
10   general release contained in the Plan expressly acknowledges that although ordinarily a
     general release may not extend to claims which the releasing party does not know or suspect to
11   exist in his favor, which if known by it may have materially affected its settlement with the
     party released, each releasing party has carefully considered and taken into account in
12   determining to enter into the above releases the possible existence of such unknown losses or
13   claims. Without limiting the generality of the foregoing, and solely with respect to any general
     release under this Plan, each releasing party expressly waives any and all rights conferred
14   upon it by any statute or rule of law which provides that a release does not extend to claims
     which the claimant does not know or suspect to exist in its favor at the time of executing the
15   release, which if known by it may have materially affected its settlement with the released
     party, including the provisions of California Civil Code section 1542. The releases contained
16
     in this Article X of the Plan are effective regardless of whether those released matters are
17   presently known, unknown, suspected or unsuspected, foreseen or unforeseen.

18                    (f)    Injunction Related to Releases and Exculpation. The Confirmation Order
     shall permanently enjoin the commencement or prosecution by any Person or Entity, whether
19   directly, derivatively, or otherwise, of any Claims, obligations, suits, judgments, damages, demands,
     debts, rights, Causes of Action, losses, or liabilities released pursuant to this Plan, including, the
20   claims, obligations, suits, judgments, damages, demands, debts, rights, Causes of Action, and
21   liabilities released or exculpated in this Plan. For the avoidance of doubt, this injunction shall not
     apply to the rights of the Fire Victims Trust to prosecute and settle any Assigned Rights and Causes
22   of Action solely to the extent provided for in the Plan. Notwithstanding the above, the holders of
     Environmental Claims, Workers’ Compensation Claims and 2001 Utility Exchange Claims retain
23   the right to assert such Claims against the Reorganized Debtors in accordance with the terms of the
     Plan.
24
                   (g)    No Release or Exculpation of Assigned Rights and Causes of Action.
25
     Notwithstanding any other provision of the Plan, including anything in Section 10.8 and/or 10.9, the
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1    releases, discharges, and exculpations contained in this Plan shall not release, discharge, or
     exculpate any Person from the Assigned Rights and Causes of Action.
2
                    10.10 Subordination. The allowance, classification, and treatment of all Allowed
3    Claims and Interests and the respective distributions and treatments thereof under this Plan take into
     account and conform to the relative priority and rights of the Claims and Interests in each Class in
4
     connection with any contractual, legal, and equitable subordination rights relating thereto, whether
5    arising under general principles of equitable subordination, sections 510(a), 510(b), or 510(c) of the
     Bankruptcy Code, or otherwise. Pursuant to section 510 of the Bankruptcy Code, the Debtors
6    reserve the right to reclassify any Allowed Claim (other than any DIP Facility Claims) or Interest in
     accordance with any contractual, legal, or equitable subordination relating thereto.
7
                    10.11 Retention of Causes of Action/Reservation of Rights.
8
                     (a)     Except as otherwise provided in Section 10.9 hereof, nothing herein or in the
9
     Confirmation Order shall be deemed to be a waiver or the relinquishment of any rights or Causes of
10   Action that the Debtors or the Reorganized Debtors may have or which the Reorganized Debtors
     may choose to assert on behalf of their respective estates under any provision of the Bankruptcy
11   Code or any applicable nonbankruptcy law, including (i) any and all Claims against any Person or
     Entity, to the extent such Person or Entity asserts a crossclaim, counterclaim, and/or Claim for setoff
12   which seeks affirmative relief against the Debtors, the Reorganized Debtors, or their officers,
     directors, or representatives and (ii) for the turnover of any property of the Debtors’ estates.
13

14                   (b)     Nothing herein or in the Confirmation Order shall be deemed to be a waiver
     or relinquishment of any rights or Causes of Action, right of setoff, or other legal or equitable
15   defense that the Debtors had immediately prior to the Petition Date, against or with respect to any
     Claim left Unimpaired by the Plan. The Reorganized Debtors shall have, retain, reserve, and be
16   entitled to assert all such claims, Causes of Action, rights of setoff, and other legal or equitable
     defenses that they had immediately prior to the Petition Date fully as if the Chapter 11 Cases had not
17
     been commenced, and all of the Reorganized Debtors’ legal and equitable rights with respect to any
18   Claim left Unimpaired by the Plan may be asserted after the Confirmation Date to the same extent as
     if the Chapter 11 Cases had not been commenced.
19
                     (c)     The Reorganized Debtors reserve and shall retain the applicable Causes of
20   Action notwithstanding the rejection of any executory contract or unexpired lease during the
     Chapter 11 Cases or pursuant to the Plan. In accordance with section 1123(b)(3) of the Bankruptcy
21   Code, any Causes of Action that a Debtor may hold against any Entity shall vest in the Reorganized
22   Debtors in accordance with the terms hereof. The Reorganized Debtors shall have the exclusive
     right, authority, and discretion to determine and to initiate, file, prosecute, enforce, abandon, settle,
23   compromise, release, withdraw, or litigate to judgment any such Causes of Action and to decline to
     do any of the foregoing without the consent or approval of any third party or further notice to or
24   action, order, or approval of the Bankruptcy Court.
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1                    (d)     Notwithstanding anything to the contrary in the Plan, no claims shall be
     brought under Section 547 of the Bankruptcy Code to recover any payments made to any Person or
2    Entity as a result of damages caused by wildfires.
3                   10.12 Preservation of Causes of Action. No Entity may rely on the absence of a
     specific reference in the Plan, the Plan Supplement, or the Disclosure Statement to any Cause of
4
     Action against them as any indication that the Debtors or the Reorganized Debtors will not pursue
5    any and all available Causes of Action against them. The Debtors and the Reorganized Debtors
     expressly reserve all rights to prosecute any and all Causes of Action against any Entity, except as
6    otherwise expressly provided herein.

7                   10.13 Special Provisions for Governmental Units. Solely with respect to
     Governmental Units, nothing herein shall limit or expand the scope of discharge, release, or
8    injunction to which the Debtors or the Reorganized Debtors are entitled under the Bankruptcy Code.
9    Further, nothing herein, including Sections 10.8 and 10.9 hereof, shall discharge, release, enjoin, or
     otherwise bar (a) any liability of the Debtors or the Reorganized Debtors to a Governmental Unit
10   arising on or after the Confirmation Date with respect to events occurring on or after the
     Confirmation Date, (b) any liability to a Governmental Unit that is not a Claim, (c) any affirmative
11   defense, valid right of setoff or recoupment of a Governmental Unit, (d) any police or regulatory
     action by a Governmental Unit (except with respect to any monetary amount related to any conduct
12   or event arising prior to the Petition Date), (e) any exercise of the power of eminent domain by a
13   Governmental Unit, (f) any environmental liability to a Governmental Unit that the Debtors, the
     Reorganized Debtors, any successors thereto, or any other Person or Entity may have as an owner or
14   operator of real property after the Effective Date, or (fg) any liability to a Governmental Unit on the
     part of any Persons or Entities other than the Debtors or the Reorganized Debtors, provided,except
15   that nothing in this Section 10.13 shall affect the exculpation in Section 10.8 hereof or the Debtors’
     releases in Section 10.9 hereof, nor shall. anyNothing herein shall enjoin or otherwise bar any
16
     Governmental Unit from asserting or enforcing, outside the Bankruptcy Court, any of the matters
17   describedset forth in clauses (a) through (fg) above.

18                   10.14 Document Retention and Cooperation with the Fire Victim Trust. On and
     after the Effective Date, the Reorganized Debtors may maintain documents in accordance with the
19   Debtors’ standard document retention policy, as may be altered, amended, modified, or
     supplemented by the Reorganized Debtors. The Debtors and the Reorganized Debtors shall respond
20   to reasonable requests of the Fire Victim Trust for any non-privileged information and documents
21   related to the Assigned Rights and Causes of Action and the Fire Victim Claims or as reasonably
     necessary for the administration of the Fire Victim Trust.
22
                    10.15 Solicitation of Plan. As of the Confirmation Date: (a) the Debtors shall be
23   deemed to have solicited acceptances of the Plan in good faith and in compliance with the applicable
     provisions of the Bankruptcy Code, including sections 1125(a) and (e) of the Bankruptcy Code, and
24   any applicable non-bankruptcy law, rule, or regulation governing the adequacy of disclosure in
25   connection with such solicitation and (b) the Debtors and each of their respective directors, officers,
     employees, affiliates, agents, restructuring advisors, financial advisors, investment bankers,
26   professionals, accountants, and attorneys shall be deemed to have participated in good faith and in

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1    compliance with the applicable provisions of the Bankruptcy Code in the offer and issuance of any
     securities under the Plan, and therefore are not, and on account of such offer, issuance, and
2    solicitation shall not be, liable at any time for any violation of any applicable law, rule, or regulation
     governing the solicitation of acceptances or rejections of the Plan or the offer and issuance of any
3    securities under the Plan.
4
                                                  ARTICLE XI.
5
                                      RETENTION OF JURISDICTION
6
                     11.1 Jurisdiction of Bankruptcy Court. On and after the Effective Date, the
7    Bankruptcy Court shall retain exclusive jurisdiction of all matters arising under, arising out of, or
     related to the Chapter 11 Cases and the Plan pursuant to, and for the purposes of, sections 105(a) and
8    1142 of the Bankruptcy Code and for, among other things, the following purposes:
9
                   (a)    To hear and determine motions for and any disputes involving the assumption,
10   assumption and assignment, or rejection of executory contracts or unexpired leases and the
     allowance of Claims resulting therefrom, including the determination of any Cure Amount;
11
                    (b)     To determine any motion, adversary proceeding, application, contested
12   matter, and other litigated matter pending on or commenced before or after the Confirmation Date,
     including, any proceeding with respect to a Cause of Action or Avoidance Action;
13

14                 (c)      To ensure that distributions to holders of Allowed Claims are accomplished as
     provided herein;
15
                    (d)   To consider Claims or the allowance, classification, priority, compromise,
16   estimation, or payment of any Claim, including any Administrative Expense Claims;

17                 (e)    To enter, implement, or enforce such orders as may be appropriate in the
     event the Confirmation Order is for any reason stayed, reversed, revoked, modified, or vacated;
18
                    (f)    To issue injunctions, enter and implement other orders, and take such other
19
     actions as may be necessary or appropriate to restrain interference by any Person with the
20   consummation, implementation, or enforcement of the Plan, the Confirmation Order, or any other
     order, judgment or ruling of the Bankruptcy Court, including enforcement of the releases,
21   exculpations, and the Channeling Injunction;
22                  (g)     To hear and determine any application to modify the Plan in accordance with
     section 1127 of the Bankruptcy Code and to remedy any defect or omission or reconcile any
23   inconsistency in the Plan, the Disclosure Statement, or any order of the Bankruptcy Court, including
24   the Confirmation Order, in such a manner as may be necessary to carry out the purposes and effects
     thereof;
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1                  (h)     To hear and determine all applications under sections 330, 331, and 503(b) of
     the Bankruptcy Code for awards of compensation for services rendered and reimbursement of
2    expenses incurred prior to the Effective Date;
3                    (i)     To hear and determine disputes arising in connection with or related to the
     interpretation, implementation, or enforcement of the Plan, the Confirmation Order, any transactions
4
     or payments contemplated herein, or any agreement, instrument, or other document governing or
5    relating to any of the foregoing;

6                   (j)    To hear and determine disputes arising in connection with Disputed Claims;

7                  (k)    To take any action and issue such orders as may be necessary to construe,
     enforce, implement, execute, and consummate the Plan or to maintain the integrity of the Plan
8    following consummation;
9                  (l)     To recover all assets of the Debtors and property of the Debtors’ estates,
10   wherever located;

11                  (m)    To determine such other matters and for such other purposes as may be
     provided in the Confirmation Order;
12
                   (n)     To hear and determine matters concerning state, local, and federal taxes in
13   accordance with sections 346, 505, and 1146 of the Bankruptcy Code (including the expedited
     determination of taxes under section 505(b) of the Bankruptcy Code);
14
                    (o)    To enforce all orders previously entered by the Bankruptcy Court;
15

16                 (p)    To hear and determine any other matters related hereto and not inconsistent
     with the Bankruptcy Code and title 28 of the United States Code;
17
                    (q)      To resolve any disputes concerning whether a Person or entity had sufficient
18   notice of the Chapter 11 Cases, the Disclosure Statement, any solicitation conducted in connection
     with the Chapter 11 Cases, any bar date established in the Chapter 11 Cases, or any deadline for
19   responding or objecting to a Cure Amount, in each case, for the purpose for determining whether a
20   Claim or Interest is discharged hereunder or for any other purpose;

21                   (r)     To determine any other matters or adjudicate any disputes that may arise in
     connection with or are related to the Plan, the Disclosure Statement, the Confirmation Order, the
22   Plan Supplement, or any document related to the foregoing; provided, that the Bankruptcy Court
     shall not retain jurisdiction over disputes concerning documents contained in the Plan Supplement
23   that have a jurisdictional, forum selection or dispute resolution clause that refers disputes to a
     different court;
24

25                  (s)    To hear and determine all disputes involving the existence, nature, or scope of
     the Debtors’ discharge;
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1                  (t)   To hear and determine any rights, claims, or Causes of Action held by or
     accruing to the Debtors, the Reorganized Debtors, or the Fire Victim Trust pursuant to the
2    Bankruptcy Code or any federal or state statute or legal theory;
3                   (u)      To hear and determine any dispute involving the Wildfire Trusts, including
     but not limited to the interpretation of the Wildfire Trust Agreements;
4
5                   (v)     To hear any other matter not inconsistent with the Bankruptcy Code; and

6                   (w)     To enter a final decree closing the Chapter 11 Cases.

7            To the extent that the Bankruptcy Court is not permitted under applicable law to preside over
     any of the forgoing matters, the reference to the “Bankruptcy Court” in this Article XI shall be
8    deemed to be replaced by the “District Court.” Nothing in this Article XI shall expand the exclusive
     jurisdiction of the Bankruptcy Court beyond that provided by applicable law.
9
                                                ARTICLE XII.
10

11                                   MISCELLANEOUS PROVISIONS

12                   12.1 Dissolution of Statutory Committees. On the Effective Date, the Statutory
     Committees shall dissolve, the current and former members of the Statutory Committees, including
13   any ex officio members, and their respective officers, employees, counsel, advisors and agents, shall
     be released and discharged of and from all further authority, duties, responsibilities and obligations
14
     related to and arising from and in connection with the Chapter 11 Cases, except for the limited
15   purpose of (i) prosecuting requests for allowances of compensation and reimbursement of expenses
     incurred prior to the Effective Date and objecting to any such requests filed by other Professionals,
16   including any appeals in connection therewith, (ii) having standing and a right to be heard in
     connection with any pending litigation, including appeals, to which such committee is a party, or
17   (iii) prosecuting any appeals of the Confirmation Order.
18                 12.2 Substantial Consummation. On the Effective Date, the Plan shall be
19   deemed to be substantially consummated under sections 1101 and 1127(b) of the Bankruptcy Code.

20                   12.3 Exemption from Transfer Taxes. Pursuant to section 1146(a) of the
     Bankruptcy Code, the issuance, transfer, or exchange of any Security or property hereunder or in
21   connection with the transactions contemplated hereby, the creation, filing, or recording of any
     mortgage, deed of trust, or other security interest, the making, assignment, filing, or recording of any
22   lease or sublease, or the making or delivery of any deed, bill of sale, or other instrument of transfer
23   under, in furtherance of, or in connection with the Plan, or any agreements of consolidation, deeds,
     bills of sale, or assignments executed in connection with any of the transactions contemplated
24   herein, shall constitute a “transfer under a plan” within the purview of section 1146 of the
     Bankruptcy Code and shall not be subject to or taxed under any law imposing a stamp tax or similar
25   tax, to the maximum extent provided by section 1146(a) of the Bankruptcy Code. To the maximum
26
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1    extent provided by section 1146(a) of the Bankruptcy Code and applicable nonbankruptcy law, the
     Restructuring Transactions shall not be taxed under any law imposing a stamp tax or similar tax.
2
                    12.4 Expedited Tax Determination. The Reorganized Debtors may request an
3    expedited determination of taxes under section 505(b) of the Bankruptcy Code for all returns filed
     for or on behalf of the Debtors or the Reorganized Debtors for all taxable periods of the Debtors
4
     through the Effective Date.
5
                     12.5 Payment of Statutory Fees. On the Effective Date, and thereafter as may be
6    required, each of the Debtors shall pay all the respective fees payable pursuant to section 1930 of
     chapter 123 of title 28 of the United States Code, together with interest, if any, pursuant to section
7    3717 of title 31 of the United States Code, until the earliest to occur of the entry of (i) a final decree
     closing such Debtor’s Chapter 11 Case, (ii) a Final Order converting such Debtor’s Chapter 11 Case
8    to a case under chapter 7 of the Bankruptcy Code, or (iii) a Final Order dismissing such Debtor’s
9    Chapter 11 Case.

10                   12.6 Plan Modifications and Amendments. Subject to the Certain Consent
     Rights set forth in Article I of this Plan, the Plan may be amended, modified, or supplemented by the
11   Plan Proponents, in the manner provided for by section 1127 of the Bankruptcy Code or as
     otherwise permitted by law without additional disclosure pursuant to section 1125 of the Bankruptcy
12   Code, except as the Bankruptcy Court may otherwise direct, so long as such action does not
13   materially and adversely affect the treatment of holders of Claims or Interests hereunder. The Plan
     Proponents may institute proceedings in the Bankruptcy Court to remedy any defect or omission or
14   reconcile any inconsistencies in the Plan or the Confirmation Order with respect to such matters as
     may be necessary to carry out the purposes and effects of the Plan and any holder of a Claim or
15   Interest that has accepted the Plan shall be deemed to have accepted the Plan as so amended,
     modified, or supplemented. Prior to the Effective Date, the Plan Proponents may make appropriate
16   technical adjustments and modifications to the Plan without further order or approval of the
17   Bankruptcy Court; provided, that such technical adjustments and modifications do not materially
     and adversely affect the treatment of holders of Claims or Interests.
18
                     12.7 Revocation or Withdrawal of Plan. The Plan Proponents may revoke,
19   withdraw, or delay consideration of the Plan prior to the Confirmation Date, either entirely or with
     respect to one or more of the Debtors, and to file subsequent amended plans of reorganization. If the
20   Plan is revoked, withdrawn, or delayed with respect to fewer than all of the Debtors, such
     revocation, withdrawal, or delay shall not affect the enforceability of the Plan as it relates to the
21
     Debtors for which the Plan is not revoked, withdrawn, or delayed. If the Plan Proponents revoke the
22   Plan in its entirety, the Plan shall be deemed null and void. In such event, nothing herein shall be
     deemed to constitute a waiver or release of any Claim by or against the Debtors or any other Person
23   or to prejudice in any manner the rights of the Debtors or any other Person in any further
     proceedings involving the Debtors.
24
                     12.8 Courts of Competent Jurisdiction. If the Bankruptcy Court abstains from
25
     exercising, or declines to exercise, jurisdiction or is otherwise without jurisdiction over any matter
26   arising out of the Plan, such abstention, refusal, or failure of jurisdiction shall have no effect upon

27

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1    and shall not control, prohibit, or limit the exercise of jurisdiction by any other court having
     competent jurisdiction with respect to such matter.
2
                     12.9 Severability. If, prior to entry of the Confirmation Order, any term or
3    provision of the Plan is held by the Bankruptcy Court to be invalid, void, or unenforceable, the
     Bankruptcy Court, in each case at the election and request of the Debtors may alter and interpret
4
     such term or provision to make it valid or enforceable to the maximum extent practicable, consistent
5    with the original purpose of the term or provision held to be invalid, void, or unenforceable, and
     such term or provision shall then be applicable as altered or interpreted. Notwithstanding any such
6    holding, alteration, or interpretation, the remainder of the terms and provisions of the Plan shall
     remain in full force and effect and shall in no way be affected, impaired, or invalidated by such
7    holding, alteration, or interpretation. The Confirmation Order shall constitute a judicial
     determination and provide that each term and provision hereof, as it may have been altered or
8
     interpreted in accordance with the foregoing, is (a) valid and enforceable pursuant to its terms; (b)
9    integral to the Plan and may not be deleted or modified except in accordance with the terms of the
     Plan; and (c) nonseverable and mutually dependent.
10
                     12.10 Governing Law. Except to the extent the Bankruptcy Code or other U.S.
11   federal law is applicable, or to the extent a schedule hereto, or a schedule in the Plan Supplement
     expressly provides otherwise, the rights, duties, and obligations arising hereunder shall be governed
12   by, and construed and enforced in accordance with, the laws of the State of California, without
13   giving effect to the principles of conflicts of law thereof to the extent they would result in the
     application of the laws of any other jurisdiction.
14
                  12.11 Schedules and Exhibits. The schedules and exhibits to the Plan and the Plan
15   Supplement are incorporated into, and are part of, the Plan as if set forth herein.
16                 12.12 Successors and Assigns. All the rights, benefits, and obligations of any
     Person named or referred to herein shall be binding on, and inure to the benefit of, the heirs,
17
     executors, administrators, successors, and/or assigns of such Person.
18
                    12.13 Time. In computing any period of time prescribed or allowed herein, unless
19   otherwise set forth herein or determined by the Bankruptcy Court, the provisions of Bankruptcy
     Rule 9006 shall apply.
20
                    12.14 Notices. To be effective, all notices, requests, and demands to or upon the
21   Debtors shall be in writing (including by facsimile or electronic transmission) and, unless otherwise
22   expressly provided herein, shall be deemed to have been duly given or made when actually
     delivered, or in the case of notice by facsimile transmission, when received and telephonically
23   confirmed, addressed as follows:

24
       If to the Debtors, to:
25
       PG&E Corporation and Pacific Gas and             Cravath, Swaine & Moore LLP
26
       Electric Company                                 Worldwide Plaza
27

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                                                                                                    90



1    77 Beale Street                                 825 Eighth Avenue
     San Francisco, CA 94105                         New York, NY 10019-7475
2    Attn: Janet Loduca, Senior Vice President and   Attn: Kevin J. Orsini, Paul H. Zumbro
     General Counsel                                 Telephone: (212) 474-1000
3    E-mail: janet.loduca@pge.com                    Email: korsini@cravath.com,
4                                                    pzumbro@cravath.com
     Weil, Gotshal & Manges LLP
5    767 Fifth Avenue                                Keller Benvenutti Kim LLP
     New York, New York 10153                        650 California Street, Suite 1900
6    Attn: Stephen Karotkin, Ray C. Schrock,         San Francisco, CA 94108
     Jessica Liou and Matthew Goren                  Attn: Tobias S. Keller, Peter J. Benvenutti,
7    Telephone: (212) 310-8000                       Jane Kim
8    E-mail: stephen.karotkin@weil.com,              Telephone: (415) 496-6723
     ray.schrock@weil.com,                           Facsimile: (650) 636-9251
9    jessica.liou@weil.com,                          Email: tkeller@kbkllp.com,
     matthew.goren@weil.com                          pbenvenutti@kbkllp.com, jkim@kbkllp.com
10   If to the Shareholder Proponents, to:
11
     Jones Day
12   555 South Flower Street
     Fiftieth Floor
13   Los Angeles, CA 90071-2300
     Attn: Bruce S. Bennett, Joshua M. Mester
14   and James O. Johnston
     Telephone: (213) 489-3939
15
     E-mail: bbennett@jonesday.com,
16   jmester@jonesday.com,
     jjohnston@jonesday.com
17   If to the Creditors Committee, to:
18   Milbank LLP                                     Milbank LLP
19   55 Hudson Yards                                 2029 Century Park East, 33rd Floor
     New York, New York 10001-2163                   Los Angeles, CA US 90067-3019
20   Attn: Dennis F. Dunne                           Attn: Thomas A. Kreller
     Telephone: (212) 530-5000                       Telephone: (424) 386-4000
21   Email: ddunne@milbank.com                       Email: tkreller@milbank.com
     If to the Tort Claimants Committee, to:
22

23   Baker & Hostetler LLP                           Baker & Hostetler LLP
     600 Montgomery Street, Suite 3100               11601 Wilshire Boulevard, Suite 1400
24   San Francisco, CA 94111                         Los Angeles, CA 90025
     Attn: Robert Julian and Cecily A. Dumas         Attn: Eric E. Sagerman and Lauren T. Attard
25   Telephone: (628) 208 6434                       Telephone (310) 820 8800
     Email: rjulian@bakerlaw.com and                 Email: esagerman@bakerlaw.com,
26
     cdumas@bakerlaw.com                             lattard@bakerlaw.com
27

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                                                                                                          91



1      If to the U.S. Trustee, to:

2      United States Department of Justice
       Office of the U.S. Trustee
3      450 Golden Gate Avenue, Suite 05-0153
4      San Francisco, CA 94102
       Attn: Andrew R. Vara and Timothy S.
5      Laffredi
       Telephone: (415) 705-3333
6      Email: Andrew.R.Vara@usdoj.gov and
       Timothy.S.Laffredi@usdoj.gov
7

8                     After the occurrence of the Effective Date, the Reorganized Debtors have authority to
     send a notice to Entities that in order to continue to receive documents pursuant to Bankruptcy Rule
9    2002, such Entities must file a renewed request to receive documents pursuant to Bankruptcy Rule
     2002. After the occurrence of the Effective Date, the Reorganized Debtors are authorized to limit
10   the list of Entities receiving documents pursuant to Bankruptcy Rule 2002 to those Entities that have
     filed such renewed requests.
11

12                    12.15 Reservation of Rights. Except as otherwise provided herein, this Plan shall
     be of no force or effect unless the Bankruptcy Court enters the Confirmation Order. None of the
13   filing of this Plan, any statement or provision of this Plan, or the taking of any action by the Debtors
     with respect to this Plan shall be or shall be deemed to be an admission or waiver of any rights of the
14   Debtors with respect to any Claims or Interests prior to the Effective Date.
15

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                             1    Dated: May 22June [●], 2020
                                  San Francisco, California
                             2
                             3                                       Respectfully submitted,
                             4
                                                                     PG&E CORPORATION
                             5

                             6                                       By:
                             7                                             Name: Jason P. Wells
                                                                           Title: Executive Vice President and Chief Financial
                             8                                                    Officer

                             9
                                                                     PACIFIC GAS AND ELECTRIC COMPANY
                             10

                             11                                      By:
                                                                           Name: David S. Thomason
Weil, Gotshal & Manges LLP




                             12                                            Title: Vice President, Chief Financial Officer and
 New York, NY 10153-0119




                             13                                                   Controller
      767 Fifth Avenue




                             14                                      SHAREHOLDER PROPONENTS

                             15
                                                                     Abrams Capital Management, L.P.,
                             16                                      On behalf of certain funds and accounts it manages or
                                                                     advises
                             17                                      By: Abrams Capital Management LLC, its general partner
                             18

                             19                                      By:
                                                                           Name:
                             20                                            Title:
                             21
                                                                     Knighthead Capital Management, LLC
                             22                                      On behalf of certain funds and accounts it manages or
                                                                     advises
                             23
                             24                                      By:
                                                                           Name:
                             25
                                                                           Title:
                             26
                             27

                             28

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                                                 Exhibit A

                                                   Fires

      1. Butte Fire (2015)
      2. North Bay Wildfires (2017)
             a. LaPorte
             b. McCourtney
             c. Lobo
             d. Honey
             e. Redwood / Potter Valley
             f.   Sulphur
             g. Cherokee
             h. 37
             i.   Blue
             j.   Pocket
             k. Atlas
             l.   Cascade
             m. Nuns
             n. Adobe
             o. Norrbom
             p. Pressley
             q. Partrick
             r.   Pythian / Oakmont
             s.   Maacama
             t.   Tubbs
             u. Point
             v. Sullivan
      3. Camp Fire (2018)




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                                                 Exhibit B

                                             IBEW Agreement

  1.   The IBEW Collective Bargaining Agreements (as defined in the Plan) that were extended by
  Letter of Agreement 18-09 shall be further extended through and including 12/31/25.

  2.   In conjunction with the extension of the IBEW Collective Bargaining Agreements, a 3.75%
  General Wage Increase shall be applied on the January 1st of each year of the extension (i.e., 2022,
  2023, 2024 and 2025).

  3.   The Summary Plan Description (SPD), also referred to as the Summary of Benefits Handbook,
  and the Plan Document shall be extended through and including 12/31/25.2 The Reorganized
  Debtors and IBEW Local 1245 shall use the SPD to provide negotiated benefits information to
  IBEW Local 1245-represented employees and further agree that the Medical, Dental and Vision
  Benefit Agreement and Benefit Agreement covering Life Insurance, Long Term Disability,
  Retirement, Savings Fund Plan and TRASOP and PAYSOP Plans effective January 1, 1994; letter
  agreements negotiated between the parties; and items agreed to during general negotiations will
  provide the basis of bargaining history and in case of conflict, will prevail as the governing
  documents.

  4.   Health Reimbursement Accounts, deductibles, out of pocket maximums, co-payments, and
  employee premium contributions for all eligible IBEW Local 1245-represented employees pursuant
  to the Benefits Agreements remain at the 2020 amounts in dollar terms and are extended through and
  including 12/31/25.

  5.   The Reorganized Debtors shall not implement involuntary lay-offs of IBEW Local 1245-
  represented employees (except for cause) unless agreed to by IBEW Local 1245.




  2
    Per Letter of Agreement 01-25-PGE, there are three types of documents describing IBEW-
  represented employee benefits: 1) the Collective Bargaining Agreement (including all applicable
  letters of agreements) negotiated by the parties, 2) the Summary Plan Description (SPD), also
  referred to as the Summary of Benefits Handbook, and 3) the Plan Document (collectively, the
  “Benefits Agreements”).




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  6.   The Reorganized Debtors’ management and IBEW Local 1245 leadership agree to work
  together for the mutual benefit of all parties and will focus their attention and skills on improving
  safety and the safety culture at the Reorganized Debtors.

  7.   The Reorganized Debtors will continue to operate the Diablo Canyon Power Plant through the
  term of the current operating licenses.




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                                               Exhibit C


                               MUTUAL MADE WHOLE RELEASE

         The terms “Claimant” and “Insurer,” are defined in Paragraph G. below.

          ______, Trustee of the Fire Victim Trust, the undersigned party or personal representative
  (referred to herein as “Claimant”), individually and on behalf of the estate of the Claimant, and the
  Insurer (collectively, the “Parties” or “Releasees”) agree as follows:

     A. Whereas, the Debtors’ and Shareholder Proponents’ Joint Chapter 11 Plan of Reorganization
        dated ______________ (the “Plan”), was confirmed by an order of the United States
        Bankruptcy Court for the Northern District of California entered on ______________, 2020,
        and the Plan became effective on _________, 2020.


     B. Whereas the Plan provides for the treatment of all allowed Fire Victim Claims (as defined in
        the Plan) against the Debtors through the Fire Victim Trust (as defined in the Plan) and for
        the discharge of the Debtors from any further or other liability on account of all Fire Victim
        Claims.


     C. Whereas the Plan provides for the treatment of all allowed Subrogation Wildfire Claims (as
        defined in the Plan) against the Debtors through the Subrogation Wildfire Trust (as defined
        in the Plan) and for the discharge of the Debtors from any further or other liability on
        account of all Subrogation Wildfire Claims.


     D. Whereas, the Plan provides that the Fire Victim Claims are administered by a Fire Victim
        Trust and a Fire Victim Trustee who operates independent from the Debtors, holders of the
        Fire Subrogation Claims, and the Insurer. Neither the Debtors, holders of the Fire
        Subrogation Claims, nor the Insurer shall have any right to participate in the administration
        of the Fire Victim Trust, review any allocation or distribution decision of the Trustee or
        Trust Oversight Committee, including that of the Claimant, or make any claim for money
        against the Trust or the Trustee in any way or at any time.


     E. Whereas, the Trustee and Fire Victim Trust Oversight Committee have reviewed and advised
        the Claimant of (a) the total amount paid into the Fire Victim Trust available for
        compensation to the Fire Victims, (b) the total number of claims made against the Fire
        Victim Trust, (c) the process by which trust funds will be allocated and distributed, and (d)
        the total allocated amount from the Fire Victim Trust to the Claimant (“Total Allocation
        Award”).




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     F. Whereas, the Claimant has reviewed the Total Allocation Award.


     G. Whereas, the Plan provides the Claimant and the Insurer execute a mutual limited release
        after the Claimant has reviewed the Total Allocation Award wherein the Claimant agrees to
        release only their claim against the Insurer under the Made Whole Doctrine (see Paragraph
        1) and no other claim, cause of action, defense or remedy against the Insurer, and the Insurer
        agrees to release the Claimant as described herein in Paragraph 3. For the purpose of this
        Release, “Claimant” includes the Claimant’s heirs, legal representatives, successor or assigns
        and “Insurer” includes the Claimants’ insurance carriers, their past and present holders of
        insurance subrogation claims against the Debtors (and their direct and indirect assignors or
        assignees), and each of their directors, officers, agents, consultants, financial advisers,
        employees, attorneys, predecessors, successors and assigns.


     H. Whereas, nothing in this Release is an affirmation, representation, or an acknowledgment
        that the Claimant has in fact been fully compensated for their damages covered by the
        contract of insurance between the Insurer and the Claimant. The parties agree that Court’s
        approval of the Plan and the Claimants’ acceptance of the Total Allocation Award does not
        establish that the Claimant has been fully compensated under California law for their
        compensable damages as a result of the fire to the extent those damages are covered by
        insurance.


     I. Whereas, the Insurer has agreed to the terms, provisions, and agreements of this Mutual
        Release in a separate agreement dated _______, 20__, affirming, adopting, and attaching a
        copy of this Mutual Release (“Insurer Adoption Agreement”). This Mutual Release is
        conditioned upon the Insurer, or the Insurer’s successor on behalf of the Insurer, filing in the
        Chapter 11 case the Insurer Adoption Agreement, which states the Insurer releases, as to the
        Made Whole Doctrine only, each Claimant who signs and agrees to the terms of this Mutual
        Release. The terms, provisions, and agreements of the Insurer Adoption Agreement are
        incorporated herein by reference. Insurer’s consent and agreement to the terms, provisions,
        and agreements of this Mutual Release shall be effective upon the signature of the Claimant.

     J. Whereas, this release is not required for the Trustee to allocate and distribute preliminary
        awards to individuals on a case by case basis for humanitarian or urgent needs.

         NOW, THEREFORE, in consideration for the agreements described in this Release and
  other good and valuable consideration, the Claimant and the Insurer agree as follows:


           1.     By accepting the Total Allocation Award, the Claimant hereby waives and releases
  their rights, known or unknown, to assert the Made Whole Doctrine against the Insurer. Claimant is
  not waiving or releasing any other claim, cause of action, defense, or remedy against Insurer. Also,




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  by signing this agreement, the Claimant is not agreeing as a factual matter that the Claimant has
  been fully compensated for each and every category of their damages under California law.


          2.      The Claimant is not releasing any claims the Claimant may have against the Insurer
  other than the Claimant’s foregoing waiver set forth in Paragraph 1. The Parties to this Release
  further agree and acknowledge that the Claimant is not releasing any claims, except and only to the
  extent set forth above, they might have against the Insurer, including but not limited to those claims
  or causes of action related to: (1) the policy of insurance and what is still owed or to be paid under
  the policy terms and conditions; (2) the right to pursue claims already made or to make new or
  continued claims under the policy; (3) claims handling issues; (4) delay in paying claims under the
  policy; (5) inadequate or untimely communication relating to the claim; (6) unreasonable positions
  taken relating to coverage, payment of the claim, acknowledging coverage, or day-to-day claims
  decisions; (7) actions or inactions of insurance agents or brokers in underwriting, securing,
  adjusting, calculating or recommending coverage; (8) coverage issues over policy language; (9) any
  action for bad faith or breach of the covenant of good faith and fair dealing; (10) any claims to
  reform or modify the terms of any policy; (12) any rights to recover damages for breach of contract
  or tort (including punitive damages), penalties or equitable relief; (13) any claims of violations of
  statutory or regulatory obligations; or (14) any claim for unfair business acts or practices.


          3.     The Insurer agrees to release and waive any right to make claim for any amount paid
  to the Claimant pursuant to the Fire Victim Trust or to assert as a defense, offset or reduction, the
  money paid to the Claimant from the Fire Victim Trust, which belongs solely to the Claimant. The
  Claimant agrees to make no claim on the money paid to the Insurer from the Subrogation Wildfire
  Trust. In agreeing to this limited release, Insurer is not releasing any claim, cause of action, defense,
  or remedy it may have against the Claimant other than Claimant’s foregoing release of any Made
  Whole Doctrine claim.


          4.      The Insurer is not releasing any claims the Insurer may have against Claimant other
  than the Insurer’s foregoing waiver set forth in Paragraph 3. The Parties to this Release further
  agree and acknowledge that the Insurer is not releasing any claims, except and only to the extent set
  forth above, it might have against the Claimant, including but not limited to those claims related to:
  (1) the policy of insurance and what is still owed or to be paid under the policy terms and conditions;
  (2) defenses to garden variety claims handling issues unrelated to the Made Whole Doctrine; (3)
  defenses related to delay in paying claims under the policy; (4) defenses to alleged inadequate or
  untimely communication relating to the claim; (5) defenses to alleged unreasonable positions taken
  relating to coverage, payment of the claim, acknowledging coverage, or day-to-day claims decisions;
  (6) defenses to actions or inactions of insurance agents or brokers in securing coverage; (7) coverage
  issues over policy language unrelated to Made Whole Doctrine; or (8) defenses to any common law
  action for bad faith unrelated to Made Whole Doctrine.


         5.    The Insurer further agrees that the Total Allocation Award shall not be the subject of
  discovery or mentioned in any pleadings in any state or federal court action or admissible in




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  evidence in any state or federal court action for any of the causes of action or claims for relief
  identified in Paragraphs 2 or 4. Claimant agrees that the amount paid to Insurer from the
  Subrogation Wildfire Trust shall not be the subject of discovery or mentioned in any pleadings in
  any state or federal court action or admissible in evidence in any state or federal court action.

          6.     To the extent that the Claimant brings a claim for breach of contract, wrongful denial
  of coverage and/or bad faith against the Insurer, the Insurer shall not assert in any way or at any time
  that the Claimant should have or could have pursued that claim against the Debtors, the Fire Victim
  Trust, or any other party. The Insurer agrees that that it will not assert in any action or proceeding
  covered under Paragraph 2 or 4 that the Claimant has been compensated as a result of the Claimant’s
  settlement with the Debtors.


          7.      Both the Claimant and the Insurer agree that this Release gives the parties released
  the status of third-party beneficiary of the Release, and such Releasees may enforce this Release and
  any rights or remedies set forth herein.


          8.    This Release contains the entire agreement between the parties as to the subject
  matter hereof and is effective immediately upon signing. Likewise the release in Paragraph 1 is
  effective immediately upon signing. If there is a conflict between this Release and any other prior or
  contemporaneous agreement between the parties concerning the subject matter of the Release, the
  Release controls.


        9.     The law of the State of California shall govern the interpretation of this Release. The
  Bankruptcy Court has jurisdiction to resolve any disputes under this agreement.


          10.     Each Releasor states that he, she, or it is of legal age, with no mental disability of any
  kind, is fully and completely competent, and is duly authorized to execute this Release on Releasor’s
  own behalf. Releasor further states that this Release has been explained to Releasor and that
  Releasor knows the contents as well as the effect thereof. Releasor further acknowledges that
  Releasor executed this Release after consulting with Releasor’s attorney or the opportunity to
  consult with an attorney.


          11.     For avoidance of doubt, the Made Whole Doctrine is described herein. Subrogation
  is a doctrine that permits an insurance company, or its assignees, to assert the rights and remedies of
  an insured against a third party tortfeasor. The Made Whole Doctrine is a common law exception to
  insurer's right of subrogation. The Made Whole Doctrine, under certain circumstances, could
  preclude an insurer from recovering any third-party funds unless and until the insured has been made
  whole for the loss. Both the Claimant and Insurer agree that this Release does not modify, abrogate
  or affect any prior release or waiver between the Parties arising from the Fire.




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         12.     Consistent with the foregoing, it is expressly understood and agreed by claimant that
  claimant is waiving and releasing all known or unknown claims under the Made Whole Doctrine. It
  is expressly understood and agreed by insurer that insurer is waiving and releasing all known or
  unknown claims under the Made Whole Doctrine as to claimant.

         Executed on this [●] day of [●], 20[●].

  BY CLAIMANT [Add Name]:



  _________________________________
  Signature of Claimant or Representative



  _________________________________
  Printed Name of Signator



  _________________________________
  Capacity of Signator




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                                  Summary report:
       Litera® Change-Pro for Word 10.8.2.11 Document comparison done on
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     Style name: Default Style
     Intelligent Table Comparison: Active
     Original DMS: iw://WEILDMS/WEIL/97501590/1
     Modified DMS: iw://WEILDMS/WEIL/97501590/9
     Changes:
     Add                                                   55
     Delete                                                44
     Move From                                             0
     Move To                                               0
     Table Insert                                          0
     Table Delete                                          0
     Table moves to                                        0
     Table moves from                                      0
     Embedded Graphics (Visio, ChemDraw, Images etc.)      0
     Embedded Excel                                        0
     Format changes                                        0
     Total Changes:                                        99




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